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                    THE UNITED STATES DISTRICT COURT
                         DISTRICT OF MARYLAND

                                         )
CITY OF FROSTBURG                        )
59 East Main Street                      )
P.O. Box 440                             )
Frostburg, MD 21532
                                         )
                              Plaintiff, )
                                         )
v.                                       )   CIVIL ACTION NO.: 1:18-cv-01383
                                         )
AMERISOURCEBERGEN DRUG                   )
CORPORATION,                             )
1300 Morris Drive                        )
Chesterbrook, PA 19087                   )
                                         )
CARDINAL HEALTH, INC.                    )
700 Cardinal Place                       )               COMPLAINT
Dublin, OH 43017                         )
                                         )       Complaint for Public Nuisance;
McKESSON CORPORATION                     )    Violations of Racketeer Influenced and
One Post Street                          )    Corrupt Organizations Act (RICO) 18
San Francisco, CA 94104                  )
                                              U.S.C. § 1961 et seq.; Violations of 18
                                         )
PURDUE PHARMA L.P.                       )    U.S.C. § 1962 et seq.; Negligence and
One Stamford Forum                       )   Negligent Misrepresentation; Negligence
201 Tresser Boulevard                    )     Based on Statutory Violations; Civil
Stamford, CT 06901-3431                  )      Conspiracy; Fraud and Fraudulent
                                         )     Misrepresentation; and Constructive
PURDUE PHARMA, INC.                      )                    Fraud
One Stamford Forum                       )
201 Tresser Boulevard                    )
Stamford, CT 06901-3431                  )
                                         )
THE PURDUE FREDERICK COMPANY,            )
INC.                                     )
One Stamford Forum                       )
201 Tresser Boulevard                    )
Stamford, CT 06901-3431                  )
                                         )
TEVA PHARMACEUTICAL INDUSTRIES,          )
LTD.;                                    )
5 Basel Street                           )
Petach Tikva 49131, Israel               )
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                                      )
TEVA PHARMACEUTICALS USA, INC.        )
1090 Horsham Road                     )
North Wales, PA 19454                 )
                                      )
CEPHALON, INC.                        )
41 Moores Road                        )
Frazer, PA 19355-1113                 )
                                      )
JOHNSON & JOHNSON                     )
One Johnson & Johnson Plaza           )
New Brunswick, NJ 08901               )
                                      )
JANSSEN PHARMACEUTICALS, INC.         )
1125 Trenton Harbourton Road          )
Titusville, NJ 08560                  )
                                      )
ORTHO-MCNEIL-JANSSEN                  )
PHARMACEUTICALS, INC. n/k/a JANSSEN )
PHARMACEUTICALS, INC.                 )
1125 Trenton Harbourton Road          )
Titusville, NJ 08560                  )
                                      )
JANSSEN PHARMACEUTICA INC. n/k/a      )
JANSSEN PHARMACEUTICALS, INC.         )
1125 Trenton Harbourton Road          )
Titusville, NJ 08560                  )
                                      )
NORAMCO, INC.                         )
500 Swedes Landing Rd.                )
Wilmington, DE 19801                  )
                                      )
ENDO HEALTH SOLUTIONS INC.            )
1400 Atwater Drive                    )
Malvern, PA 19355-8701                )
                                      )
ENDO PHARMACEUTICALS, INC.            )
1400 Atwater Drive                    )
Malvern, PA 19355-8701                )
                                      )
ALLERGAN PLC f/k/a ACTAVIS PLS        )
Clonshaugh Business & Technology Park )
Coolock, Dublin                       )
Ireland                               )
D17 E400                              )
                                      )
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                                         )
WATSON PHARMACEUTICALS, INC. n/k/a )
ACTAVIS, INC.                            )
Morris Corporate Center III              )
400 Interpace Parkway                    )
Parsippany, NJ 07054                     )
                                         )
WATSON LABORATORIES, INC.                )
Morris Corporate Center III              )
400 Interpace Parkway                    )
Parsippany, NJ 07054                     )
                                         )
ACTAVIS LLC                              )
Morris Corporate Center III              )
400 Interpace Parkway                    )
Parsippany, NJ 07054                     )
                                         )
ACTAVIS PHARMA, INC. f/k/a WATSON        )
PHARMA, INC.                             )
Morris Corporate Center III              )
400 Interpace Parkway                    )
Parsippany, NJ 07054                     )
                                         )
MALLINCKRODT PLC                         )
3 Loftus Park                            )
The Causeway                             )
Staines-Upon-Thames                      )
Surrey                                   )
United Kingdom                           )
TW18 3AG                                 )
                                         )
and                                      )
                                         )
MALLINCKRODT LLC                         )
675 James S. McDonnell Blvd.             )
Hazelwood, MO 63042
                                         )
                             Defendants. )
                                         )
                                         )
                                         )   JURY TRIAL DEMANDED AND
                                         )   ENDORSED HEREON
                                         )
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           Plaintiff, City of Frostburg (“Plaintiff”), brings this Complaint against Defendants Purdue

Pharma L.P.; Purdue Pharma, Inc.; The Purdue Frederick Company, Inc.; Teva Pharmaceutical

Industries, LTD.; Teva Pharmaceuticals USA, Inc.; Cephalon, Inc.; Johnson & Johnson; Janssen

Pharmaceuticals,          Inc.;    Ortho-McNeil-Janssen           Pharmaceuticals,        Inc.     n/k/a     Janssen

Pharmaceuticals, Inc.; Janssen Pharmaceutica Inc. n/k/a Janssen Pharmaceuticals, Inc.; Noramco,

Inc.; Endo Health Solutions Inc.; Endo Pharmaceuticals, Inc.; Allergan PLC f/k/a Actavis PLS;

Watson Pharmaceuticals, Inc. n/k/a Actavis, Inc.; Watson Laboratories, Inc.; Actavis, LLC;

Actavis Pharma, Inc. f/k/a Watson Pharma, Inc.; Mallinckrodt plc; Mallinckrodt LLC; McKesson

Corporation; Cardinal Health, Inc.; and AmerisourceBergen Drug Corporation (collectively

“Defendants”) and alleges as follows:

                                              I. INTRODUCTION

           1.     Plaintiff brings this civil action to eliminate the hazard to public health and safety

caused by the opioid epidemic, to abate the nuisance caused thereby, and to recoup monies that

have been spent because of Defendants’ false, deceptive and unfair marketing and/or unlawful

diversion of prescription opioids. 1 Such economic damages were foreseeable to Defendants and

were sustained because of Defendants intentional and/or unlawful actions and omissions.

           2.     Opioid analgesics are widely diverted and improperly used, and the widespread

abuse of opioids has resulted in a national epidemic of opioid overdose deaths and addictions. 2

           3.     The opioid epidemic is “directly related to the increasingly widespread misuse of

powerful opioid pain medications.” 3


1
 As used herein, the term “opioid” refers to the entire family of opiate drugs including natural, synthetic and semi-
synthetic opiates.
2
 See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions and Mitigation
Strategies, 374 N. Eng. J. Med. 1253 (2016).
3
    See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480 (2016).

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         4.     Plaintiff brings this suit against the manufacturers of prescription opioids. The

manufacturers aggressively pushed highly addictive, dangerous opioids, falsely representing to

doctors that patients would only rarely succumb to drug addiction. These pharmaceutical

companies aggressively advertised to and persuaded doctors to prescribe highly addictive,

dangerous opioids, turned patients into drug addicts for their own corporate profit. Such actions

were intentional and/or unlawful.

         5.     Plaintiff also brings this suit against the wholesale distributors of these highly

addictive drugs. The distributors and manufacturers intentionally and/or unlawfully breached their

legal duties under federal and state law to monitor, detect, investigate, refuse and report suspicious

orders of prescription opiates.

         6.     Plaintiff does not bring product liability claims or claims otherwise arising from

allegations that a product was defective.

                                                 II. PARTIES

         A. PLAINTIFF.

         7.     Plaintiff is a municipal corporation and is authorized to bring the causes of action

brought herein. See, e.g., MD. CODE ANN., LOCAL GOV’T § 4-103(b)(2).

         8.     Plaintiff has declared, inter alia, that opioid 4 abuse, addiction, morbidity and

mortality has created a serious public health and safety crisis, and is a public nuisance, and that

the diversion of legally produced controlled substances into the illicit market causes or contributes

to this public nuisance.




4
 As used herein, the term “opioid” refers to the entire family of opiate drugs including natural, synthetic and semi-
synthetic opiates.

                                                          2
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          9.    The distribution and diversion of opioids into Maryland (“the State”), and into the

City of Frostburg (“the City”) and surrounding areas (collectively, “Plaintiff’s Community”),

created the foreseeable opioid crisis and opioid public nuisance for which Plaintiff here seeks

relief.

          10.   Plaintiff directly and foreseeably sustained all economic damages alleged herein.

Defendants’ conduct has exacted a financial burden for which the Plaintiff seeks relief. Categories

of past and continuing sustained damages include, inter alia,: (1) costs for providing medical care,

additional therapeutic, and prescription drug purchases, and other treatments for patients suffering

from opioid-related addiction or disease, including overdoses and deaths; (2) costs for providing

treatment, counseling, and rehabilitation services; (3) costs for providing treatment of infants born

with opioid-related medical conditions; (4) costs associated with law enforcement and public

safety relating to the opioid epidemic; (5) and costs associated with providing care for children

whose parents suffer from opioid-related disability or incapacitation. These damages have been

suffered, and continue to be suffered directly, by the Plaintiff.

          11.   Plaintiff also seeks the means to abate the epidemic created by Defendants’ wrongful

and/or unlawful conduct.

          12.   Plaintiff has standing to recover damages incurred as a result of Defendants’ actions

and omissions. Plaintiff has standing to bring all claims pled herein, including, inter alia, to bring

claims under the federal RICO statute, pursuant to 18 U.S.C. § 1961(3) (“persons” include entities

which can hold legal title to property) and 18 U.S.C. § 1964 (“persons” have standing).




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          B. DEFENDANTS.

                 1. Manufacturer Defendants.

          13.    The Manufacturer Defendants are defined below. At all relevant times, the

Manufacturer Defendants have packaged, distributed, supplied, sold, placed into the stream of

commerce, labeled, described, marketed, advertised, promoted and purported to warn or purported

to inform prescribers and users regarding the benefits and risks associated with the use of the

prescription opioid drugs. The Manufacturer Defendants, at all times, have manufactured and sold

prescription opioids without fulfilling their legal duty prevent diversion and report suspicious

orders.

          14.    PURDUE PHARMA L.P. is a limited partnership organized under the laws of

Delaware. PURDUE PHARMA INC. is a New York corporation with its principal place of

business in Stamford, Connecticut, and THE PURDUE FREDERICK COMPANY is a Delaware

corporation with its principal place of business in Stamford, Connecticut (collectively, “Purdue”).

          15.    Purdue manufactures, promotes, sells, and distributes opioids such as OxyContin,

MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and Targiniq ER in the United States.

OxyContin is Purdue’s best-selling opioid. Since 2009, Purdue’s annual nationwide sales of

OxyContin have fluctuated between $2.47 billion and $2.99 billion, up four-fold from its 2006

sales of $800 million. OxyContin constitutes roughly 30% of the entire market for analgesic drugs

(painkillers).

          16.    CEPHALON, INC. is a Delaware corporation with its principal place of business in

Frazer, Pennsylvania. TEVA PHARMACEUTICAL INDUSTRIES, LTD. (“Teva Ltd.”) is an

Israeli corporation with its principal place of business in Petah Tikva, Israel. In 2011, Teva Ltd.

acquired Cephalon, Inc. TEVA PHARMACEUTICALS USA, INC. (“Teva USA”) is a Delaware



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corporation and is a wholly owned subsidiary of Teva Ltd in Pennsylvania. Teva USA acquired

Cephalon in October 2011.

        17.    Cephalon, Inc. manufactures, promotes, sells, and distributes opioids such as Actiq

and Fentora in the United States. Actiq has been approved by the FDA only for the “management

of breakthrough cancer pain in patients 16 years and older with malignancies who are already

receiving and who are tolerant to around-the-clock opioid therapy for the underlying persistent

cancer pain.” 5 Fentora has been approved by the FDA only for the “management of breakthrough

pain in cancer patients 18 years of age and older who are already receiving and who are tolerant

to around-the-clock opioid therapy for their underlying persistent cancer pain.” 6 In 2008, Cephalon

pled guilty to a criminal violation of the Federal Food, Drug and Cosmetic Act for its misleading

promotion of Actiq and two other drugs, and agreed to pay $425 million. 7

        18.    Teva Ltd., Teva USA, and Cephalon, Inc. work together closely to market and sell

Cephalon products in the United States. Teva Ltd. conducts all sales and marketing activities for

Cephalon in the United States through Teva USA and has done so since its October 2011

acquisition of Cephalon. Teva Ltd. and Teva USA hold out Actiq and Fentora as Teva products to

the public. Teva USA sells all former Cephalon branded products through its “specialty medicines”

division. The FDA-approved prescribing information and medication guide, which is distributed




5
  Highlights of Prescribing Information, ACTIQ® (fentanyl citrate) oral transmucosal lozenge, CII (2009),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2009/020747s030lbl.pdf.
6
  Highlights of Prescribing Information, FENTORA® (fentanyl citrate) buccal tablet, CII (2011),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2012/021947s015lbl.pdf.
7
  Press Release, U.S. Dep’t of Justice, Biopharmaceutical Company, Cephalon, to Pay $425 Million & Enter Plea to
Resolve Allegations of Off-Label Marketing (Sept. 29, 2008),
https://www.justice.gov/archive/opa/pr/2008/September/08-civ-860.html.



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with Cephalon opioids, discloses that the guide was submitted by Teva USA, and directs

physicians to contact Teva USA to report adverse events.

          19.     All of Cephalon’s promotional websites, including those for Actiq and Fentora,

display Teva Ltd.’s logo. 8 Teva Ltd.’s financial reports list Cephalon’s and Teva USA’s sales as

its own, and its year-end report for 2012 – the year immediately following the Cephalon acquisition

– attributed a 22% increase in its specialty medicine sales to “the inclusion of a full year of

Cephalon’s specialty sales,” including inter alia sales of Fentora®. 9 Through interrelated

operations like these, Teva Ltd. operates in the United States through its subsidiaries Cephalon

and Teva USA. The United States is the largest of Teva Ltd.’s global markets, representing 53%

of its global revenue in 2015, and, were it not for the existence of Teva USA and Cephalon, Inc.,

Teva Ltd. would conduct those companies’ business in the United States itself. Upon information

and belief, Teva Ltd. directs the business practices of Cephalon and Teva USA, and their profits

inure to the benefit of Teva Ltd. as controlling shareholder. Teva Pharmaceutical Industries, Ltd.,

Teva Pharmaceuticals USA, Inc., and Cephalon, Inc. are referred to as “Cephalon.”

          20.     JANSSEN PHARMACEUTICALS, INC. is a Pennsylvania corporation with its

principal place of business in Titusville, New Jersey, and is a wholly owned subsidiary of

JOHNSON & JOHNSON (J&J), a New Jersey corporation with its principal place of business in

New Brunswick, New Jersey. NORAMCO, INC. (“Noramco”) is a Delaware company

headquartered in Wilmington, Delaware and was a wholly owned subsidiary of J&J until July

2016. ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS, INC., now known as JANSSEN

PHARMACEUTICALS, INC., is a Pennsylvania corporation with its principal place of business


8
    E.g., ACTIQ, http://www.actiq.com/ (displaying logo at bottom-left) (last visited Aug. 21, 2017).
9
  Teva Ltd., Annual Report (Form 20-F) 62 (Feb. 12, 2013),
http://annualreports.com/HostedData/AnnualReportArchive/t/NASDAQ_TEVA_2012.pdf.

                                                           6
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in Titusville, New Jersey. JANSSEN PHARMACEUTICA INC., now known as JANSSEN

PHARMACEUTICALS, INC., is a Pennsylvania corporation with its principal place of business

in Titusville, New Jersey. J&J is the only company that owns more than 10% of Janssen

Pharmaceuticals’ stock, and corresponds with the FDA regarding Janssen’s products. Upon

information and belief, J&J controls the sale and development of Janssen Pharmaceuticals’ drugs

and Janssen’s profits inure to J&J’s benefit. Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen

Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc., Noramco, and J&J are referred to as “Janssen.”

       21.   Janssen manufactures, promotes, sells, and distributes drugs in the United States,

including the opioid Duragesic (fentanyl). Before 2009, Duragesic accounted for at least $1 billion

in annual sales. Until January 2015, Janssen developed, marketed, and sold the opioids Nucynta

(tapentadol) and Nucynta ER. Together, Nucynta and Nucynta ER accounted for $172 million in

sales in 2014.

       22.   ENDO HEALTH SOLUTIONS INC. is a Delaware corporation with its principal

place of business in Malvern, Pennsylvania. ENDO PHARMACEUTICALS INC. is a wholly

owned subsidiary of Endo Health Solutions Inc. and is a Delaware corporation with its principal

place of business in Malvern, Pennsylvania. Endo Health Solutions Inc. and Endo Pharmaceuticals

Inc. are referred to as “Endo.”

       23.   Endo develops, markets, and sells prescription drugs, including the opioids

Opana/Opana ER, Percodan, Percocet, and Zydone, in the United States. Opioids made up roughly

$403 million of Endo’s overall revenues of $3 billion in 2012. Opana ER yielded $1.15 billion in

revenue from 2010 and 2013, and it accounted for 10% of Endo’s total revenue in 2012. Endo also

manufactures and sells generic opioids such as oxycodone, oxymorphone, hydromorphone, and




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hydrocodone products in the United States, by itself and through its subsidiary, Qualitest

Pharmaceuticals, Inc.

       24.   ALLERGAN PLC is a public limited company incorporated in Ireland with its

principal place of business in Dublin, Ireland. ACTAVIS PLC acquired ALLERGAN PLC in

March 2015, and the combined company changed its name to ALLERGAN PLC in January 2013.

Before that, WATSON PHARMACEUTICALS, INC. acquired ACTAVIS, INC. in October 2012,

and the combined company changed its name to Actavis, Inc. as of January 2013 and then

ACTAVIS PLC in October 2013. WATSON LABORATORIES, INC. is a Nevada corporation

with its principal place of business in Corona, California, and is a wholly-owned subsidiary of

ALLERGAN PLC (f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc.). ACTAVIS

PHARMA, INC. (f/k/a Actavis, Inc.) is a Delaware corporation with its principal place of business

in New Jersey and was formerly known as WATSON PHARMA, INC. ACTAVIS LLC is a

Delaware limited liability company with its principal place of business in Parsippany, New Jersey.

Each of these defendants is owned by ALLERGAN PLC, which uses them to market and sell its

drugs in the United States. Upon information and belief, ALLERGAN PLC exercises control over

these marketing and sales efforts and profits from the sale of Allergan/Actavis products ultimately

inure to its benefit. ALLERGAN PLC, ACTAVIS PLC, ACTAVIS, Inc., Actavis LLC, Actavis

Pharma, Inc., Watson Pharmaceuticals, Inc., Watson Pharma, Inc., and Watson Laboratories, Inc.

are referred to as “Actavis.”

       25.   Actavis manufactures, promotes, sells, and distributes opioids, including the branded

drugs Kadian and Norco, a generic version of Kadian, and generic versions of Duragesic and

Opana, in the United States. Actavis acquired the rights to Kadian from King Pharmaceuticals,

Inc. on December 30, 2008, and began marketing Kadian in 2009.



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       26.    MALLINCKRODT, PLC is an Irish public limited company headquartered in

Staines-upon-Thames, United Kingdom, with its U.S. headquarters in St. Louis, Missouri.

MALLINCKRODT, LLC is a limited liability company organized and existing under the laws of

the State of Delaware. Mallinckrodt, LLC is a wholly owned subsidiary of Mallinckrodt, plc.

Mallinckrodt, plc and Mallinckrodt, LLC are referred to as “Mallinckrodt.”

       27.    Mallinckrodt manufactures, markets, and sells drugs in the United States including

generic oxycodone, of which it is one of the largest manufacturers. In July 2017 Mallinckrodt

agreed to pay $35 million to settle allegations brought by the Department of Justice that it failed to

detect and notify the DEA of suspicious orders of controlled substances.

             2. Distributor Defendants.

       28.    The Distributor Defendants also are defined below. At all relevant times, the

Distributor Defendants have distributed, supplied, sold, and placed into the stream of commerce

the prescription opioids, without fulfilling the fundamental duty of wholesale drug distributors to

detect and warn of diversion of dangerous drugs for non-medical purposes. The Distributor

Distributors universally failed to comply with federal and/or state law. The Distributor Defendants

are engaged in “wholesale distribution,” as defined under state and federal law. Plaintiff alleges

the unlawful conduct by the Distributor Distributors is responsible for the volume of prescription

opioids plaguing Plaintiff’s Community.

       29.    McKESSON CORPORATION (“McKesson”) at all relevant times, operated as a

registered distributor in Maryland. McKesson is a Delaware corporation. McKesson has its

principal place of business located in San Francisco, California.

       30.    CARDINAL HEALTH, INC. (“Cardinal”) at all relevant times, operated as a

registered distributor in Maryland. Cardinal’s principal office located in Dublin, Ohio. Cardinal

operates a distribution center in Baltimore, Maryland.
                                                  9
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         31.    AMERISOURCEBERGEN DRUG CORPORATION (“AmerisourceBergen”) at all

relevant times, operated as a registered distributor in Maryland. AmerisourceBergen is a Delaware

corporation and its principal place of business is located in Chesterbrook, Pennsylvania.

         32.    The data which reveals and/or confirms the identity of each wrongful opioid

distributor is hidden from public view in the DEA’s confidential ARCOS database. See Madel v.

USDOJ, 784 F.3d 448 (8th Cir. 2015). Neither the DEA 10 nor the wholesale distributors 11 will

voluntarily disclose the data necessary to identify with specificity the transactions which will form

the evidentiary basis for the claims asserted herein.

         33.    Consequently, Plaintiff has named the three (3) wholesale distributors (i.e.,

AmerisourceBergen Drug Corporation, Cardinal Health, Inc., and McKesson Corporation) which

dominate 85% of the market share for the distribution of prescription opioids. The “Big 3” are

Fortune 500 corporations listed on the New York Stock Exchange whose principal business is the

nationwide wholesale distribution of prescription drugs. See Fed. Trade Comm’n v. Cardinal

Health, Inc., 12 F. Supp. 2d 34, 37 (D.D.C. 1998) (describing Cardinal Health, Inc., McKesson

Corporation, and AmerisourceBergen Drug Corporation predecessors). Each has been investigated

and/or fined by the DEA for the failure to report suspicious orders. Plaintiff has reason to believe

each has engaged in unlawful conduct which resulted in the diversion of prescription opioids into

our community and that discovery will likely reveal others who likewise engaged in unlawful

conduct. Plaintiff names each of the “Big 3” herein as defendants and places the industry on notice


10
  See Declaration of Katherine L. Myrick, Chief, Freedom of Information (FOI)/Privacy Act Unit (“SARF”), FOI,
Records Management Section (“SAR”), Drug Enforcement Administration (DEA), United States Department of
Justice (DOJ), Madel v. USDOJ, Case 0:13-cv-02832-PAM-FLN, (Document 23) (filed 02/06/14) (noting that
ARCOS data is “kept confidential by the DEA”).
11
  See Declaration of Tina Lantz, Cardinal Health VP of Sales Operation, Madel v. USDOJ, Case 0:13-cv-02832-
PAM-FLN, (Document 93) (filed 11/02/16) (“Cardinal Health does not customarily release any of the information
identified by the DEA notice letter to the public, nor is the information publicly available. Cardinal Health relies on
DEA to protect its confidential business information reported to the Agency.”).

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that the Plaintiff is acting to abate the public nuisance plaguing the community. Plaintiff will

request expedited discovery pursuant to Rule 26(d) of the Federal Rules of Civil Procedure to

secure the data necessary to reveal and/or confirm the identities of the wholesale distributors,

including data from the ARCOS database.

                               III. JURISDICTION & VENUE

        34.   This Court has subject matter jurisdiction under 28 U.S.C. § 1331 based upon the

federal claims asserted under the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C.

§ 1961, et seq. (“RICO”). This Court has supplemental jurisdiction over Plaintiff’s state law claims

pursuant to 28 U.S.C. § 1367 because those claims are so related to Plaintiff’s federal claims that

they form part of the same case or controversy.

        35.   This Court also has jurisdiction over this action in accordance with 28 U.S.C. §

1332(a) because the Plaintiff is a “citizen” of this State, the named Defendants are citizens of

different states and the amount in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs.

        36.   This Court has personal jurisdiction over Defendants because they conduct business

in the State, purposefully direct or directed their actions toward the State, some or all consented to

be sued in the State by registering an agent for service of process, they consensually submitted to

the jurisdiction of the State when obtaining a manufacturer or distributor license, and because they

have the requisite minimum contacts with the State necessary to constitutionally permit the Court

to exercise jurisdiction.

        37.   This Court also has personal jurisdiction over all of the defendants under 18 U.S.C.

1965(b). This Court may exercise nation-wide jurisdiction over the named Defendants where the

“ends of justice” require national service and Plaintiff demonstrates national contacts. Here, the



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interests of justice require that Plaintiff be allowed to bring all members of the nationwide RICO

enterprise before the court in a single trial. See, e.g., Iron Workers Local Union No. 17 Insurance

Fund v. Philip Morris Inc., 23 F. Supp. 2d 796 (1998) (citing LaSalle National Bank v. Arroyo

Office Plaza, Ltd., 1988 WL 23824, *3 (N.D. Ill. Mar 10, 1988); Butcher’s Union Local No. 498

v. SDC Invest., Inc., 788 F.2d 535, 539 (9th Cir. 1986).

        38.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 and 18 U.S.C. §1965

because a substantial part of the events or omissions giving rise to the claim occurred in this

District and each Defendant transacted affairs and conducted activity that gave rise to the claim of

relief in this District. 28 U.S.C. § 1391(b); 18 U.S.C. §1965(a).

                                   IV. FACTUAL BACKGROUND

        A. THE OPIOID EPIDEMIC.

               1. The National Opioid Epidemic.

        39.    The past two decades have been characterized by increasing abuse and diversion of

prescription drugs, including opioid medications, in the United States. 12

        40.    Prescription opioids have become widely prescribed. By 2010, enough prescription

opioids were sold to medicate every adult in the United States with a dose of 5 milligrams of

hydrocodone every 4 hours for 1 month. 13

        41.    By 2011, the U.S. Department of Health and Human Resources, Centers for Disease

Control and Prevention, declared prescription painkiller overdoses at epidemic levels. The News

Release noted:

                      a. The death toll from overdoses of prescription painkillers has
                         more than tripled in the past decade.
12
 See Richard C. Dart et al, Trends in Opioid Analgesic Abuse and Mortality in the United States, 372 N. Eng. J.
Med. 241 (2015).
13
   Katherine M. Keyes at al., Understanding the Rural-Urban Differences in Nonmedical Prescription Opioid Use
and Abuse in the United States, 104 Am. J. Pub. Health e52 (2014).

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                        b. More than 40 people die every day from overdoses involving
                           narcotic pain relievers like hydrocodone (Vicodin),
                           methadone, oxycodone (OxyContin), and oxymorphone
                           (Opana).

                        c. Overdoses involving prescription painkillers are at epidemic
                           levels and now kill more Americans than heroin and cocaine
                           combined.

                        d. The increased use of prescription painkillers for nonmedical
                           reasons, along with growing sales, has contributed to a large
                           number of overdoses and deaths. In 2010, 1 in every 20
                           people in the United States age 12 and older—a total of 12
                           million people—reported using prescription painkillers non-
                           medically according to the National Survey on Drug Use and
                           Health. Based on the data from the Drug Enforcement
                           Administration, sales of these drugs to pharmacies and
                           health care providers have increased by more than 300
                           percent since 1999.

                        e. Prescription drug abuse is a silent epidemic that is stealing
                           thousands of lives and tearing apart communities and
                           families across America.

                        f. Almost 5,500 people start to misuse prescription painkillers
                           every day. 14

           42.    The number of annual opioid prescriptions written in the United States is now

roughly equal to the number of adults in the population. 15

           43.    Many Americans are now addicted to prescription opioids, and the number of deaths

due to prescription opioid overdose is unacceptable. In 2016, drug overdoses killed roughly 64,000




14
  See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Prescription
Painkiller Overdoses at Epidemic Levels (Nov. 1, 2011),
https://www.cdc.gov/media/releases/2011/p1101_flu_pain_killer_overdose.html.
15
     See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480 (2016).



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people in the United States, an increase of more than 22 percent over the 52,404 drug deaths

recorded the previous year. 16

        44.    Moreover, the CDC has identified addiction to prescription pain medication as the

strongest risk factor for heroin addiction. People who are addicted to prescription opioid painkillers

are forty times more likely to be addicted to heroin. 17

        45.    Heroin is pharmacologically similar to prescription opioids. The majority of current

heroin users report having used prescription opioids non-medically before they initiated heroin

use. Available data indicates that the nonmedical use of prescription opioids is a strong risk factor

for heroin use. 18

        46.    The CDC reports that drug overdose deaths involving heroin continued to climb

sharply, with heroin overdoses more than tripling in 4 years. This increase mirrors large increases

in heroin use across the country and has been shown to be closely tied to opioid pain reliever

misuse and dependence. Past misuse of prescription opioids is the strongest risk factor for heroin

initiation and use, specifically among persons who report past-year dependence or abuse. The

increased availability of heroin, combined with its relatively low price (compared with diverted

prescription opioids) and high purity appear to be major drivers of the upward trend in heroin use

and overdose. 19



16
  See Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Provisional Counts of Drug
Overdose Deaths, (August 8, 2016), https://www.cdc.gov/nchs/data/health_policy/monthly-drug-overdose-death-
estimates.pdf.
17
  See Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Today’s Heroin Epidemic,
https://www.cdc.gov/vitalsigns/heroin/index.html (last updated July 7, 2015).
18
 See Wilson M. Compton, Relationship Between Nonmedical Prescription-Opioid Use and Heroin, 374 N. Eng. J.
Med. 154 (2016).
19
 See Rose A. Rudd et al., Increases in Drug and Opioid Overdose Deaths—United States, 2000–2014, 64
Morbidity & Mortality Wkly. Rep. 1378 (2016).



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          47.    The societal costs of prescription drug abuse are “huge.” 20

          48.    Across the nation, local governments are struggling with a pernicious, ever-

expanding epidemic of opioid addiction and abuse. Every day, more than 90 Americans lose their

lives after overdosing on opioids. 21

          49.    The National Institute on Drug Abuse identifies misuse and addiction to opioids as

“a serious national crisis that affects public health as well as social and economic welfare.” 22 The

economic burden of prescription opioid misuse alone is $78.5 billion a year, including the costs of

healthcare, lost productivity, addiction treatment, and criminal justice expenditures. 23

          50.    The U.S. opioid epidemic is continuing, and drug overdose deaths nearly tripled

during 1999–2014. Among 47,055 drug overdose deaths that occurred in 2014 in the United States,

28,647 (60.9%) involved an opioid. 24

          51.    The rate of death from opioid overdose has quadrupled during the past 15 years in

the United States. Nonfatal opioid overdoses that require medical care in a hospital or emergency

department have increased by a factor of six in the past 15 years. 25




20
  See Amicus Curiae Brief of Healthcare Distribution Management Association in Support of Appellant Cardinal
Health, Inc., Cardinal Health, Inc. v. United States Dept. Justice, No. 12-5061 (D.C. Cir. May 9, 2012), 2012 WL
1637016, at *10 [hereinafter Brief of HDMA].
21
   Opioid Crisis, NIH, National Institute on Drug Abuse (available at https://www.drugabuse.gov/drugs-
abuse/opioids/opioid-crisis, last visited Sept. 19, 2017) (“Opioid Crisis, NIH”) (citing at note 1 Rudd RA, Seth P,
David F, Scholl L, Increases in Drug and Opioid-Involved Overdose Deaths — United States, 2010–2015, MMWR
MORB MORTAL WKLY REP. 2016;65, doi:10.15585/mmwr.mm655051e1).
22
     Opioid Crisis, NIH.
23
   Id. (citing at note 2 Florence CS, Zhou C, Luo F, Xu L, The Economic Burden of Prescription Opioid Overdose,
Abuse, and Dependence in the United States, 2013, MED CARE 2016;54(10):901-906,
doi:10.1097/MLR.0000000000000625).
24
  See Rose A. Rudd et al., Increases in Drug and Opioid-Involved Overdose Deaths—United States, 2010–2015, 65
Morbidity & Mortality Wkly. Rep. 1445 (2016).
25
   See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions and Mitigation
Strategies, 374 N. Eng. J. Med. 1253 (2016).



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        52.    Every day brings a new revelation regarding the depth of the opioid plague: just to

name one example, the New York Times reported in September 2017 that the epidemic, which

now claims 60,000 lives a year, is now killing babies and toddlers because ubiquitous, deadly

opioids are “everywhere” and mistaken as candy. 26

        53.    In 2016, the President of the United States declared an opioid and heroin epidemic.27

        54.    The epidemic of prescription pain medication and heroin deaths is devastating

families and communities across the country. 28 Meanwhile, the manufacturers and distributors of

prescription opioids extract billions of dollars of revenue from the addicted American public while

public entities experience tens of millions of dollars of injury caused by the reasonably foreseeable

consequences of the prescription opioid addiction epidemic.

        55.    The prescription opioid manufacturers and distributors, including the Defendants,

have continued their wrongful, intentional, and unlawful conduct, despite their knowledge that

such conduct is causing and/or continuing to the national, state, and local opioid epidemic.

               2. Maryland Opioid Epidemic.

        56.    Maryland has been especially ravaged by the national opioid crisis.

        57.    Opioid-related overdose fatalities have skyrocketed in Maryland in recent years. In

the first half of 2017 the state had 1,029 opioid-related deaths, “more than triple the number during

the same period in 2012.” 29


26
   Julie Turkewitz, ‘The Pills are Everywhere’: How the Opioid Crisis Claims Its Youngest Victims, N.Y. Times,
Sept. 20, 2017 (“‘It’s a cancer,’ said [grandmother of dead one-year old], of the nation’s opioid problem, ‘with
tendrils that are going everywhere.’”).
27
  See Proclamation No. 9499, 81 Fed. Reg. 65,173 (Sept. 16, 2016) (proclaiming “Prescription Opioid and Heroin
Epidemic Awareness Week”).
28
 See Presidential Memorandum – Addressing Prescription Drug Abuse and Heroin Use, 2015 Daily Comp. Pres.
Doc. 743 (Oct. 21, 2015), https://www.gpo.gov/fdsys/pkg/DCPD-201500743/pdf/DCPD-201500743.pdf.
29
      Mary Hui, “Growth in Md. Opioid fatalities comes almost entirely from fentanyl-related deaths.” Washington
Post, Oct. 24, 2017; see also Kristi King, “‘Dramatic’ increase in opioid deaths continues in Maryland,” WTOP,


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           58.   These deaths are part of an overall increase in deaths from drug and alcohol

overdoses, which grew by 66 percent from 2015 to 2016. The 2,089 deaths is an all-time high,

more than triple the number from 2010. 30 According to Maryland’s Department of Health and

Mental Hygiene, 89 percent of all these deaths were opioid-related, meaning that heroin,

prescription opioids and/or non-pharmaceutical fentanyl were involved. 31 The number of opioid-

related deaths increased by 70 percent between 2015 and 2016 and has almost quadrupled since

2010. 32 The greatest number of deaths are due to heroin and fentanyl. 33




Oct. 25, 2017 available at https://wtop.com/maryland/2017/10/dramatic-increase-opioid-deaths-continues-maryland/
(last visited Dec. 8, 2017).
30
       Maryland Department of Health and Mental Hygiene, Drug- and Alcohol-Related Intoxication Deaths in
Maryland, 2016, at 5 (June 2017), available at
https://bha.health.maryland.gov/OVERDOSE_PREVENTION/Documents/Maryland%202016%20Overdose%20An
nual%20report.pdf (last visited March 23, 2018).
31
     Id.
32
     Id.
33
     Meredith Cohn, “Deaths from drug, alcohol overdoses skyrocket in Maryland,” The Baltimore Sun, June 8
2017.

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Figure 1. Drug- and Alcohol-Related Intoxication Deaths in Maryland, 2007-2016
Source: Maryland Department of Health and Mental Hygiene




        59.     Between 2015 and 2016 the number of heroin-related deaths increased by 62 percent,

the number of fentanyl-related deaths more than tripled and the number of prescription-opioid

related deaths increased by 19 percent – from 351 to 418 – with many of those deaths involving a

combination with heroin and/or fentanyl. 34




34
      Maryland Department of Health and Mental Hygiene, supra, note 30, at 5.

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           60.   The number of deaths in Maryland due to heroin and opioids has increased by more

than 100 percent in the last five years, and heroin and opioid drug dependency has more than

doubled in the last decade. 35

           61.   The CDC has also found that the number of drug overdose death rates has increased

at a statistically-significant rate in Maryland in recent years. From 2014-2015, the death rate

increased by 20.1 percent and from 2013-2014 the death rate increased by 19.2 percent. 36

           62.   The number of deaths attributed to fentanyl also spiked sharply, with 799 reported

from January to June 2017, up from 469 deaths during the same period in 2016. 37 These deaths

have increased more than 50-fold since 2013, when there were only 15 fentanyl-related deaths in

the first sixth months. 38

           63.   In 2016, Maryland had 2,044 drug-related deaths, for a rate of 34.0 per 100,000

people. That rate is much higher than the national rate of 19.7 death in 2015. 39

           64.   In fiscal 2018, Maryland will spend over $22 million to fight the opioid crisis, with

most of the money going to prevention, enforcement and treatment efforts. 40 This is part of a $50

million fund to battle the epidemic over the next five years. 41




35
       Maryland’s Heroin and Opioid Emergency Task Force, Heroin Facts, available at
http://governor.maryland.gov/ltgovernor/home/heroin-and-opioid-emergency-task-force/heroin-facts/ (last visited
Dec. 8, 2017).
36
       CDC, Drug Overdose Death Data, available at https://www.cdc.gov/drugoverdose/data/statedeaths.html (last
visited Dec. 8, 2017).
37
     Hui, supra, note 29.
38
     Id.
39
       amfAR Opioid & Health Indicators Database, Maryland Opioid Epidemic, available at
http://opioid.amfar.org/MD (last visited March 23, 2018).
40
     King, supra, note 29.
41
     Hui, supra, note 29.



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            65.      Maryland’s opioid crisis has also led to higher hospitalization rates. In 2014 opioid

hospitalization rates among men and women in Maryland were the highest in the nation at 403.8

hospitalizations per 100,000 people. 42 Maryland also had the second highest rate nationally of

opioid-related emergency department visits, at 300.7 per 100,000 people. 43 That number is an 81

percent increase from 2009-2014. 44 Maryland is the only state that “consistently ranked as having

among the highest rates of opioid-related [emergency department] visits across all patient sex and

age groups.” 45

            66.      Neonatal Abstinence Syndrome (NAS), a collection of symptoms newborn babies

experience when a pregnant woman takes drugs such as heroin, codeine, oxycodone, methadone

or buprenorphine, is also sharply on the rise. 46 In Maryland in 2015, 1,419 babies were born with

drugs or alcohol in their system, an increase of 56.6 percent from 2006 to 2015. “[A]n

overwhelming number are born to mothers who have used prescription painkillers or heroin.” 47

Right now these children spend an average of 26 days in Maryland hospitals after birth. 48


42
       Weiss, Elixhauser, Barrett, Steiner, Bailey, and O’Malley, Opioid-Related Inpatient Stays and Emergency
Department Visits by State, 2009-2014, December 2016 (Revised January 2017), at 1, 4 available at
https://www.hcup-us.ahrq.gov/reports/statbriefs/sb219-Opioid-Hospital-Stays-ED-Visits-by-State.pdf (last visited
Dec. 11, 2017).
43
      Id. at 1, 8.
44
      Id. at 9.
45
       Weiss, Bailey, O’Malley, Barrett, Elixhauser and Steiner, Patient Characteristics of Opioid-Related Inpatient
Stays and Emergency Department Visits Nationally and by State, 2014, June 2017 at 11, available at
https://www.hcup-us.ahrq.gov/reports/statbriefs/sb224-Patient-Characteristics-Opioid-Hospital-Stays-ED-Visits-by-
State.pdf (last visited Dec. 11, 2017).
46
       Catherin Hawley, “57 percent increase from 2007 to 2015 in babies born addicted to drugs in Maryland,”
WMAR Baltimore, Jan. 18, 2017, available at http://www.abc2news.com/news/health/57-increase-from-2007-to-
2015-in-babies-born-addicted-to-drugs-in-maryland (last visited Dec. 11, 2017); see also University of Maryland
Medical Center, Neonatal abstinence syndrome, available at
http://www.umm.edu/health/medical/ency/articles/neonatal-abstinence-syndrome (last visited Dec. 11, 2017).
47
     Andrea K. McDaniels, “Number of Maryland babies born with drugs in their system growing.” Baltimore Sun,
(February 17, 2017) available at http://www.baltimoresun.com/health/maryland-health/bs-hs-drug-exposed-babies-
20170217-story.html (last visited Dec. 11, 2017).
48
      Id.



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                3. The Opioid Epidemic in Plaintiff’s Community.

        67.     The opioid epidemic is particularly devastating in Plaintiff’s Community.

        68.     In 2016, 59 people died of drug or alcohol-related overdoses in Allegany County –

population 72,000 – where the City is located. 49 That number is up from 22 in 2015, and 12 in

2014. 50 Thirty-four of those deaths in 2016 were due to heroin and 15 were caused by prescription

opioids. 51 As of September 30, 2017, drug and alcohol-related deaths had claimed the lives of

another 31 people in Allegany County, with 29 of those deaths being opioid-related. 52

        69.     The death rate for unintentional intoxication deaths in Allegany County was 18.7 per

100,000 residents from 2011 to 2015, one of the highest rates in the State. 53

        70.     Eighteen percent of infants born in Allegany County have some type of exposure to

drugs. 54

        71.     The CDC has tracked prescription rates per county in the United States, identifying

the geographic “hotspots” for rates of opioid prescriptions. 55 The CDC has calculated the




49
      Dan Rodricks, “Rodricks: Helping the children of the opioid epidemic,” The Baltimore Sun, Nov. 11, 2017,
available at http://www.baltimoresun.com/news/maryland/dan-rodricks-blog/bs-md-rodricks-1112-story.html (last
visited March 23, 2018).
50
     Maryland Department of Health and Mental Hygiene, supra, note 30 at 44.
51
     Id. at 45-46.
52
      Maryland Department of Health, Unintentional Drug- and Alcohol-Related Intoxications Deaths* in Maryland,
Data update through 3rd quarter 2017 at 10, available at
https://bha.health.maryland.gov/OVERDOSE_PREVENTION/Documents/Quarterly%20Drug_Alcohol_Intoxicatio
n_Report_2017_Q3_20171210%20(2)%20(1)%20(1).pdf (last visited March 23, 2018).
53
     Maryland Department of Health and Mental Hygiene, supra, note 30 at 42.
54
     Rodricks, supra, note 49.
55
       U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
(last visited Oct. 30, 2017).



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geographic distribution at county levels of opioid prescriptions dispensed per 100 persons, 56

revealing that Allegany County has been a consistent hotspot over at least the past decade.

           72.   The CDC’s statistics prove that the opioid prescription rates in Allegany County have

exceeded any legitimate medical, scientific, or industrial purpose. The overall opioid prescribing

rate in 2016 was 66.5 prescriptions per 100 people and 58.7 in Maryland. 57 However, in Allegany

County, Maryland, the 2016 prescription rate was 127.2 per 100 people – the highest in the State

and a rate of more than one prescription for every man, woman and child in Allegany County.58

This is down from the 2015 prescribing rate for Allegany County which was 130.3 per 100 people

– also the highest in the State. 59

           73.   Unfortunately, the 2015 and 2016 high rates of opioid prescriptions were not an

aberration for Allegany County. Consistently, the opioid prescribing rates in Allegany County

have been among the highest in the state and significantly greater than the national and state

average. Compared to a national average of 75.6 opioid prescriptions per 100 people in 2014 60 and

67.6 in Maryland, 61 the Allegany County opioid prescription rate was 129.2 per 100 people. 62 In




56
     Id.
57
   Id. See also U.S. State Prescribing Rates, 2016, available at
https://www.cdc.gov/drugoverdose/maps/rxstate2016.html (last visited Dec. 11, 2017).
58
   U.S. County Prescribing Rates, 2016, (reporting for “Allegany, MD” here and below) CDC available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2016.html (last visited March 23, 2018).
59
   U.S. County Prescribing Rates, 2015, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2015.html (last visited March 23, 2018).
60
   U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited Oct. 30, 2017).
61
   U.S. State Prescribing Rates, 2014, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxstate2014.html
(last visited Dec. 11, 2017).
62
   U.S. County Prescribing Rates, 2014, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2014.html (last visited March 23, 2018).



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2013, the national average was 78.1 opioid prescriptions per 100 people, 63 but the opioid

prescription rate in Allegany County was 129.2 per 100 people. 64 Compared to a national average

of 81.3 opioid prescriptions per 100 people in 2012, 65 the opioid prescription rate in Allegany

County was 136.7 per 100 people. 66 In 2011, the national average was 80.9 opioid prescriptions

per 100 people prescribed opioids, 67 but the opioid prescription rate in Allegany County was 134.1

per 100 people. 68 Compared to a national average of 81.2 opioid prescriptions per 100 people

prescribed opioids in 2010 69 and 71.2 in Maryland, 70 the Allegany County opioid prescription rate

was 124.1 per 100 people – the fourth highest prescribing rate in the state that year. 71 In 2009, the

national average was 79.5 opioid prescriptions per 100 people, 72 but the rate in Allegany County

was 114.3 per 100 that year. 73 Compared to a national average of 78.2 opioid prescriptions per 100




63
   U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited Oct. 30, 2017).
64
   U.S. County Prescribing Rates, 2013, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2013.html (last visited March 23, 2018).
65
   U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited Oct. 30, 2017).
66
   U.S. County Prescribing Rates, 2012, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2012.html (last visited March 23, 2018).
67
   U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited Oct. 30, 2017).
68
   U.S. County Prescribing Rates, 2011, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2011.html (last visited March 23, 2018).
69
   U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited Oct. 30, 2017).
70
   U.S. State Prescribing Rates, 2010, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxstate2010.html
(last visited Dec. 11, 2017).
71
   U.S. County Prescribing Rates, 2010, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2010.html (last visited March 23, 2018).
72
      U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited Oct. 30, 2017).
73
   U.S. County Prescribing Rates, 2009, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2009.html (last visited March 23, 2018).



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people in 2008 74 and 65.5 in Maryland, 75 the Allegany County rate was 109.6 per 100 people in

2008. 76 In 2007, the national average was 75.9 opioid prescriptions per 100 people, 77 but the

Allegany County rate was 118.5 per 100 people. 78 Compared to a national average of 72.4 opioid

prescriptions per 100 people prescribed opioids in 2006, 79 the Allegany County rate was 109.8

per 100 people. 80

        B. THE MANUFACTURER DEFENDANTS’ FALSE, DECEPTIVE, AND
           UNFAIR MARKETING OF OPIOIDS.

        74.    The opioid epidemic did not happen by accident.

        75.    Before the 1990s, generally accepted standards of medical practice dictated that

opioids should only be used short-term for acute pain, pain relating to recovery from surgery, or

for cancer or palliative (end-of-life) care. Due to the lack of evidence that opioids improved

patients’ ability to overcome pain and function, coupled with evidence of greater pain complaints

as patients developed tolerance to opioids over time and the serious risk of addiction and other

side effects, the use of opioids for chronic pain was discouraged or prohibited. As a result, doctors

generally did not prescribe opioids for chronic pain.




74
       U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
(last visited Oct. 30, 2017).
75
   U.S. State Prescribing Rates, 2018, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxstate2008.html
(last visited Dec. 11, 2017).
76
   U.S. County Prescribing Rates, 2008, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2008.html (last visited March 23, 2018).
77
       U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
(last visited Oct. 30,, 2017).
78
   U.S. County Prescribing Rates, 2007, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2007.html (last visited March 23, 2018).
79
      U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited Oct. 30, 2017).
80
   U.S. County Prescribing Rates, 2006, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2006.html (last visited March 23, 2018).

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       76.   Each Manufacturer Defendant has conducted, and has continued to conduct, a

marketing scheme designed to persuade doctors and patients that opioids can and should be used

for chronic pain, resulting in opioid treatment for a far broader group of patients who are much

more likely to become addicted and suffer other adverse effects from the long-term use of opioids.

In connection with this scheme, each Manufacturer Defendant spent, and continues to spend,

millions of dollars on promotional activities and materials that falsely deny or trivialize the risks

of opioids while overstating the benefits of using them for chronic pain.

       77.   The Manufacturer Defendants have made false and misleading claims, contrary to

the language on their drugs’ labels, regarding the risks of using their drugs that: (1) downplayed

the serious risk of addiction; (2) created and promoted the concept of “pseudoaddiction” when

signs of actual addiction began appearing and advocated that the signs of addiction should be

treated with more opioids; (3) exaggerated the effectiveness of screening tools to prevent

addiction; (4) claimed that opioid dependence and withdrawal are easily managed; (5) denied the

risks of higher opioid dosages; and (6) exaggerated the effectiveness of “abuse-deterrent” opioid

formulations to prevent abuse and addiction. The Manufacturer Defendants have also falsely

touted the benefits of long-term opioid use, including the supposed ability of opioids to improve

function and quality of life, even though there was no scientifically reliable evidence to support

the Manufacturer Defendants’ claims.

       78.   The Manufacturer Defendants have disseminated these common messages to reverse

the popular and medical understanding of opioids and risks of opioid use. They disseminated these

messages directly, through their sales representatives, in speaker groups led by physicians the

Manufacturer Defendants recruited for their support of their marketing messages, and through

unbranded marketing and industry-funded front groups.



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          79.     The Manufacturer Defendants’ efforts have been wildly successful. Opioids are now

the most prescribed class of drugs. Globally, opioid sales generated $11 billion in revenue for drug

companies in 2010 alone; sales in the United States have exceeded $8 billion in revenue annually

since 2009. 81 In an open letter to the nation’s physicians in August 2016, the then-U.S. Surgeon

General expressly connected this “urgent health crisis” to “heavy marketing of opioids to doctors

. . . [m]any of [whom] were even taught – incorrectly – that opioids are not addictive when

prescribed for legitimate pain.” 82 This epidemic has resulted in a flood of prescription opioids

available for illicit use or sale (the supply), and a population of patients physically and

psychologically dependent on them (the demand). And when those patients can no longer afford

or obtain opioids from licensed dispensaries, they often turn to the street to buy prescription opioids

or even non-prescription opioids, like heroin.

          80.     The Manufacturer Defendants intentionally continued their conduct, as alleged

herein, with knowledge that such conduct was creating the opioid nuisance and causing the harms

and damages alleged herein.

                 1. Each Manufacturer Defendant Used Multiple Avenues to Disseminate Their
                    False and Deceptive Statements about Opioids.

          81.     The Manufacturer Defendants spread their false and deceptive statements by

marketing their branded opioids directly to doctors and patients in and around the State, including

in Plaintiff’s Community. Defendants also deployed seemingly unbiased and independent third

parties that they controlled to spread their false and deceptive statements about the risks and




81
   See Katherine Eban, Oxycontin: Purdue Pharma’s Painful Medicine, Fortune, Nov. 9, 2011,
http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-medicine/; David Crow, Drugmakers Hooked on
$10bn Opioid Habit, Fin. Times, Aug. 10, 2016, https://www. ft.com/content/f6e989a8-5dac-11e6-bb77-
a121aa8abd95.
82
     Letter from Vivek H. Murthy, U.S. Surgeon General (Aug. 2016), http://turnthetiderx.org/.

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benefits of opioids for the treatment of chronic pain throughout the State and Plaintiff’s

Community.

       82.   The Manufacturer Defendants employed the same marketing plans and strategies and

deployed the same messages in and around the State, including in Plaintiff’s Community, as they

did nationwide. Across the pharmaceutical industry, “core message” development is funded and

overseen on a national basis by corporate headquarters. This comprehensive approach ensures that

the Manufacturer Defendants’ messages are accurately and consistently delivered across

marketing channels – including detailing visits, speaker events, and advertising – and in each sales

territory. The Manufacturer Defendants consider this high level of coordination and uniformity

crucial to successfully marketing their drugs.

       83.   The Manufacturer Defendants ensure marketing consistency nationwide through

national and regional sales representative training; national training of local medical liaisons, the

company employees who respond to physician inquiries; centralized speaker training; single sets

of visual aids, speaker slide decks, and sales training materials; and nationally coordinated

advertising. The Manufacturer Defendants’ sales representatives and physician speakers were

required to stick to prescribed talking points, sales messages, and slide decks, and supervisors rode

along with them periodically to both check on their performance and compliance.

                       i.   Direct Marketing.

       84.   The Manufacturer Defendants’ direct marketing of opioids generally proceeded on

two tracks. First, each Manufacturer Defendant conducted and continues to conduct advertising

campaigns touting the purported benefits of their branded drugs. For example, upon information

and belief, the Manufacturer Defendants spent more than $14 million on medical journal

advertising of opioids in 2011, nearly triple what they spent in 2001.



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       85.    Many of the Manufacturer Defendants’ branded ads deceptively portrayed the

benefits of opioids for chronic pain. For example, Endo distributed and made available on its

website opana.com a pamphlet promoting Opana ER with photographs depicting patients with

physically demanding jobs like construction worker, chef, and teacher, misleadingly implying that

the drug would provide long-term pain-relief and functional improvement. Upon information and

belief, Purdue also ran a series of ads, called “Pain vignettes,” for OxyContin in 2012 in medical

journals. These ads featured chronic pain patients and recommended OxyContin for each. One ad

described a “54-year-old writer with osteoarthritis of the hands” and implied that OxyContin would

help the writer work more effectively.

       86.    Second, each Manufacturer Defendant promoted the use of opioids for chronic pain

through “detailers” – sales representatives who visited individual doctors and medical staff in their

offices – and small-group speaker programs. The Manufacturer Defendants have not corrected this

misinformation. Instead, each Defendant devoted massive resources to direct sales contacts with

doctors. Upon information and belief, in 2014 alone, the Manufacturer Defendants spent in excess

of $168 million on detailing branded opioids to doctors, more than twice what they spent on

detailing in 2000.

       87.    The Manufacturer Defendants’ detailing to doctors is effective. Numerous studies

indicate that marketing impacts prescribing habits, with face-to-face detailing having the greatest

influence. Even without such studies, the Manufacturer Defendants purchase, manipulate and

analyze some of the most sophisticated data available in any industry, data available from IMS

Health Holdings, Inc., to track, precisely, the rates of initial prescribing and renewal by individual

doctor, which in turn allows them to target, tailor, and monitor the impact of their core messages.

Thus, the Manufacturer Defendants know their detailing to doctors is effective.



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        88.   The Manufacturer Defendants’ detailers have been reprimanded for their deceptive

promotions. In March 2010, for example, the FDA found that Actavis had been distributing

promotional materials that “minimize[] the risks associated with Kadian and misleadingly

suggest[] that Kadian is safer than has been demonstrated.” Those materials in particular “fail to

reveal warnings regarding potentially fatal abuse of opioids, use by individuals other than the

patient for whom the drug was prescribed.” 83

                        ii.   Indirect Marketing.

        89.   The Manufacturer Defendants’ indirectly marketed their opioids using unbranded

advertising, paid speakers and “key opinion leaders” (“KOLs”), and industry-funded organizations

posing as neutral and credible professional societies and patient advocacy groups (referred to

hereinafter as “Front Groups”).

        90.   The Manufacturer Defendants deceptively marketed opioids in the State and

Plaintiff’s Community through unbranded advertising – e.g., advertising that promotes opioid use

generally but does not name a specific opioid. This advertising was ostensibly created and

disseminated by independent third parties. But by funding, directing, reviewing, editing, and

distributing this unbranded advertising, the Manufacturer Defendants controlled the deceptive

messages disseminated by these third parties and acted in concert with them to falsely and

misleadingly promote opioids for the treatment of chronic pain. Much as Defendants controlled

the distribution of their “core messages” via their own detailers and speaker programs, the

Manufacturer Defendants similarly controlled the distribution of these messages in scientific

publications, treatment guidelines, Continuing Medical Education (“CME”) programs, and



83
  Letter from Thomas Abrams, Dir., Div. of Drug Mktg., Advert., & Commc’ns, U.S. Food & Drug Admin., to
Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010),
http://www.fdanews.com/ext/resources/files/archives/a/ActavisElizabethLLC.pdf.

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medical conferences and seminars. To this end, the Manufacturer Defendants used third-party

public relations firms to help control those messages when they originated from third-parties.

       91.   The Manufacturer Defendants marketed through third-party, unbranded advertising

to avoid regulatory scrutiny because that advertising is not submitted to and typically is not

reviewed by the FDA. The Manufacturer Defendants also used third-party, unbranded advertising

to give the false appearance that the deceptive messages came from an independent and objective

source. Like the tobacco companies, the Manufacturer Defendants used third parties that they

funded, directed, and controlled to carry out and conceal their scheme to deceive doctors and

patients about the risks and benefits of long term opioid use for chronic pain.

       92.   Defendants also identified doctors to serve, for payment, on their speakers’ bureaus

and to attend programs with speakers and meals paid for by Defendants. These speaker programs

provided: (1) an incentive for doctors to prescribe a particular opioid (so they might be selected to

promote the drug); (2) recognition and compensation for the doctors selected as speakers; and (3)

an opportunity to promote the drug through the speaker to his or her peers. These speakers give

the false impression that they are providing unbiased and medically accurate presentations when

they are, in fact, presenting a script prepared by Defendants. On information and belief, these

presentations conveyed misleading information, omitted material information, and failed to correct

Defendants’ prior misrepresentations about the risks and benefits of opioids.

       93.   Borrowing a page from Big Tobacco’s playbook, the Manufacturer Defendants

worked through third parties they controlled by: (a) funding, assisting, encouraging, and directing

doctors who served as KOLS, and (b) funding, assisting, directing, and encouraging seemingly

neutral and credible Front Groups. The Manufacturer Defendants then worked together with those

KOLs and Front Groups to taint the sources that doctors and patients relied on for ostensibly



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“neutral” guidance, such as treatment guidelines, CME programs, medical conferences and

seminars, and scientific articles. Thus, working individually and collectively, and through these

Front Groups and KOLs, the Manufacturer Defendants persuaded doctors and patients that what

they have long known – that opioids are addictive drugs, unsafe in most circumstances for long-

term use – was untrue, and that the compassionate treatment of pain required opioids.

       94.      In 2007, multiple States sued Purdue for engaging in unfair and deceptive practices

in its marketing, promotion, and sale of OxyContin. Certain states settled their claims in a series

Consent Judgments that prohibited Purdue from making misrepresentations in the promotion and

marketing of OxyContin in the future. By using indirect marketing strategies, however, Purdue

intentionally circumvented these restrictions. Such actions include contributing the creation of

misleading publications and prescribing guidelines which lack reliable scientific basis and promote

prescribing practices which have worsened the opioid crisis.

       95.      Pro-opioid doctors are one of the most important avenues that the Manufacturer

Defendants use to spread their false and deceptive statements about the risks and benefits of long-

term opioid use. The Manufacturer Defendants know that doctors rely heavily and less critically

on their peers for guidance, and KOLs provide the false appearance of unbiased and reliable

support for chronic opioid therapy. For example, the State of New York found in its settlement

with Purdue that the Purdue website “In the Face of Pain” failed to disclose that doctors who

provided testimonials on the site were paid by Purdue and concluded that Purdue’s failure to

disclose these financial connections potentially misled consumers regarding the objectivity of the

testimonials.

       96.      Defendants utilized many KOLs, including many of the same ones.




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          97.    Dr. Russell Portenoy, former Chairman of the Department of Pain Medicine and

Palliative Care at Beth Israel Medical Center in New York, is one example of a KOL whom the

Manufacturer Defendants identified and promoted to further their marketing campaign. Dr.

Portenoy received research support, consulting fees, and honoraria from Cephalon, Endo, Janssen,

and Purdue (among others), and was a paid consultant to Cephalon and Purdue. Dr. Portenoy was

instrumental in opening the door for the regular use of opioids to treat chronic pain. He served on

the American Pain Society (“APS”) / American Academy of Pain Medicine (“AAPM”) Guidelines

Committees, which endorsed the use of opioids to treat chronic pain, first in 1996 and again in

2009. He was also a member of the board of the American Pain Foundation (“APF”), an advocacy

organization almost entirely funded by the Manufacturer Defendants.

          98.    Dr. Portenoy also made frequent media appearances promoting opioids and

spreading misrepresentations, such as his claim that “the likelihood that the treatment of pain using

an opioid drug which is prescribed by a doctor will lead to addiction is extremely low.” He

appeared on Good Morning America in 2010 to discuss the use of opioids long-term to treat

chronic pain. On this widely-watched program, broadcast across the country, Dr. Portenoy

claimed: “Addiction, when treating pain, is distinctly uncommon. If a person does not have a

history, a personal history, of substance abuse, and does not have a history in the family of

substance abuse, and does not have a very major psychiatric disorder, most doctors can feel very

assured that that person is not going to become addicted.” 84

          99.    Dr. Portenoy later admitted that he “gave innumerable lectures in the late 1980s and

‘90s about addiction that weren’t true.” These lectures falsely claimed that fewer than 1% of

patients would become addicted to opioids. According to Dr. Portenoy, because the primary goal


84
     Good Morning America (ABC television broadcast Aug. 30, 2010).

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was to “destigmatize” opioids, he and other doctors promoting them overstated their benefits and

glossed over their risks. Dr. Portenoy also conceded that “[d]ata about the effectiveness of opioids

does not exist.” 85 Portenoy candidly stated: “Did I teach about pain management, specifically

about opioid therapy, in a way that reflects misinformation? Well, . . . I guess I did.” 86

           100. Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director of

Lifetree Clinical Research, an otherwise unknown pain clinic in Salt Lake City, Utah. Dr. Webster

was President of American Academy of Pain Medicine (“AAPM”) in 2013. He is a Senior Editor

of Pain Medicine, the same journal that published Endo special advertising supplements touting

Opana ER. Dr. Webster was the author of numerous CMEs sponsored by Cephalon, Endo, and

Purdue. At the same time, Dr. Webster was receiving significant funding from the Manufacturer

Defendants (including nearly $2 million from Cephalon).

           101. During a portion of his time as a KOL, Dr. Webster was under investigation for

overprescribing by the U.S. Department of Justice’s Drug Enforcement Agency, which raided his

clinic in 2010. Although the investigation was closed without charges in 2014, more than 20 of

Dr. Webster’s former patients at the Lifetree Clinic have died of opioid overdoses.

           102. Ironically, Dr. Webster created and promoted the Opioid Risk Tool, a five question,

one-minute screening tool relying on patient self-reports that purportedly allows doctors to manage

the risk that their patients will become addicted to or abuse opioids. The claimed ability to pre-sort

patients likely to become addicted is an important tool in giving doctors confidence to prescribe

opioids long-term, and for this reason, references to screening appear in various industry-supported

guidelines. Versions of Dr. Webster’s Opioid Risk Tool appear on, or are linked to, websites run


85
   Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, Wall St. J., Dec. 17, 2012,
https://www.wsj.com/articles/SB10001424127887324478304578173342657044604.
86
     Id.

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by Endo, Janssen, and Purdue. Unaware of the flawed science and industry bias underlying this

tool, certain states and public entities have incorporated the Opioid Risk Tool into their own

guidelines, indicating, also, their reliance on the Manufacturer Defendants and those under their

influence and control.

          103. In 2011, Dr. Webster presented, via webinar, a program sponsored by Purdue entitled

“Managing Patient’s Opioid Use: Balancing the Need and the Risk.” Dr. Webster recommended

use of risk screening tools, urine testing, and patient agreements as a way to prevent “overuse of

prescriptions” and “overdose deaths.” This webinar was available to and was intended to reach

doctors in the State and doctors treating members of Plaintiff’s Community. 87

          104. Dr. Webster also was a leading proponent of the concept of “pseudoaddiction,” the

notion that addictive behaviors should be seen not as warnings, but as indications of undertreated

pain. In Dr. Webster’s description, the only way to differentiate the two was to increase a patient’s

dose of opioids. As he and co-author Beth Dove wrote in their 2007 book Avoiding Opioid Abuse

While Managing Pain—a book that is still available online—when faced with signs of aberrant

behavior, increasing the dose “in most cases . . . should be the clinician’s first response.” 88 Upon

information and belief, Endo distributed this book to doctors. Years later, Dr. Webster reversed

himself, acknowledging that “[pseudoaddiction] obviously became too much of an excuse to give

patients more medication.” 89




87
   See Emerging Solutions in Pain, Managing Patient’s Opioid Use: Balancing the Need and the Risk,
http://www.emergingsolutionsinpain.com/ce-education/opioid-
management?option=com_continued&view=frontmatter&Itemid=303&course=209 (last visited Aug. 22, 2017).
88
     Lynn Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain (2007).
89
   John Fauber, Painkiller Boom Fueled by Networking, Milwaukee Wisc. J. Sentinel, Feb. 18, 2012,
http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-networking-dp3p2rn-
139609053.html.

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        105. The Manufacturer Defendants also entered into arrangements with seemingly

unbiased and independent patient and professional organizations to promote opioids for the

treatment of chronic pain. Under the direction and control of the Manufacturer Defendants, these

“Front Groups” generated treatment guidelines, unbranded materials, and programs that favored

chronic opioid therapy. They also assisted the Manufacturer Defendants by responding to negative

articles, by advocating against regulatory changes that would limit opioid prescribing in

accordance with the scientific evidence, and by conducting outreach to vulnerable patient

populations targeted by the Manufacturer Defendants.

        106. These Front Groups depended on the Manufacturer Defendants for funding and, in

some cases, for survival. The Manufacturer Defendants also exercised control over programs and

materials created by these groups by collaborating on, editing, and approving their content, and by

funding their dissemination. In doing so, the Manufacturer Defendants made sure that the Front

Groups would generate only the messages that the Manufacturer Defendants wanted to distribute.

Despite this, the Front Groups held themselves out as independent and serving the needs of their

members – whether patients suffering from pain or doctors treating those patients.

        107. Defendants Cephalon, Endo, Janssen, and Purdue, in particular, utilized many Front

Groups, including many of the same ones. Several of the most prominent are described below, but

there are many others, including the American Pain Society (“APS”), American Geriatrics Society

(“AGS”), the Federation of State Medical Boards (“FSMB”), American Chronic Pain Association

(“ACPA”), the Center for Practical Bioethics (“CPB”), the U.S. Pain Foundation (“USPF”) and

Pain & Policy Studies Group (“PPSG”). 90


90
  See generally, e.g., Letter from Sen. Ron Wyden, U.S. Senate Comm. on Fin., to Sec. Thomas E. Price, U.S.
Dep’t of Health and Human Servs., (May 5, 2015),
https://www.finance.senate.gov/imo/media/doc/050517%20Senator%20Wyden%20to%20Secretary%20Price%20re
%20FDA%20Opioid%20Prescriber%20Working%20Group.pdf.

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          108. The most prominent of the Manufacturer Defendants’ Front Groups was the

American Pain Foundation (“APF”), which, upon information and belief, received more than $10

million in funding from opioid manufacturers from 2007 until it closed its doors in May 2012,

primarily from Endo and Purdue. APF issued education guides for patients, reporters, and

policymakers that touted the benefits of opioids for chronic pain and trivialized their risks,

particularly the risk of addiction. APF also launched a campaign to promote opioids for returning

veterans, which has contributed to high rates of addiction and other adverse outcomes – including

death – among returning soldiers. APF also engaged in a significant multimedia campaign –

through radio, television and the internet – to educate patients about their “right” to pain treatment,

namely opioids. All of the programs and materials were available nationally and were intended to

reach citizens of the State and Plaintiff’s Community.

          109. In 2009 and 2010, more than 80% of APF’s operating budget came from

pharmaceutical industry sources. Including industry grants for specific projects, APF received

about $2.3 million from industry sources out of total income of about $2.85 million in 2009; its

budget for 2010 projected receipts of roughly $2.9 million from drug companies, out of total

income of about $3.5 million. By 2011, upon information and belief, APF was entirely dependent

on incoming grants from defendants Purdue, Cephalon, Endo, and others to avoid using its line of

credit.

          110. APF held itself out as an independent patient advocacy organization. It often engaged

in grassroots lobbying against various legislative initiatives that might limit opioid prescribing,

and thus the profitability of its sponsors. Upon information and belief, it was often called upon to

provide “patient representatives” for the Manufacturer Defendants’ promotional activities,

including for Purdue’s Partners Against Pain and Janssen’s Let’s Talk Pain. APF functioned



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largely as an advocate for the interests of the Manufacturer Defendants, not patients. Indeed, upon

information and belief, as early as 2001, Purdue told APF that the basis of a grant was Purdue’s

desire to “strategically align its investments in nonprofit organizations that share [its] business

interests.”

        111. Plaintiff is informed, and believes, that on several occasions, representatives of the

Manufacturer Defendants, often at informal meetings at conferences, suggested activities and

publications for APF to pursue. APF then submitted grant proposals seeking to fund these activities

and publications, knowing that drug companies would support projects conceived as a result of

these communications.

        112. The U.S. Senate Finance Committee began looking into APF in May 2012 to

determine the links, financial and otherwise, between the organization and the manufacturers of

opioid painkillers. The investigation caused considerable damage to APF’s credibility as an

objective and neutral third party, and the Manufacturer Defendants stopped funding it. Within days

of being targeted by Senate investigation, APF’s board voted to dissolve the organization “due to

irreparable economic circumstances.” APF “cease[d] to exist, effective immediately.” 91

        113. Another front group for the Manufacturer Defendants was the American Academy

of Pain Medicine (“AAPM”). With the assistance, prompting, involvement, and funding of the

Manufacturer Defendants, the AAPM issued purported treatment guidelines and sponsored and

hosted medical education programs essential to the Manufacturer Defendants’ deceptive marketing

of chronic opioid therapy.




91
   Charles Ornstein & Tracy Weber, Senate Panel Investigates Drug Companies’ Ties to Pain Groups, Wash. Post,
May 8, 2012, https://www.washingtonpost.com/national/health-science/senate-panel-investigates-drug-companies-
ties-to-pain-groups/2012/05/08/gIQA2X4qBU_story.html.

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       114. AAPM received substantial funding from opioid manufacturers. For example,

AAPM maintained a corporate relations council, whose members paid $25,000 per year (on top of

other funding) to participate. The benefits included allowing members to present educational

programs at off-site dinner symposia in connection with AAPM’s marquee event – its annual

meeting held in Palm Springs, California, or other resort locations. AAPM describes the annual

event as an “exclusive venue” for offering education programs to doctors. Membership in the

corporate relations council also allows drug company executives and marketing staff to meet with

AAPM executive committee members in small settings. Defendants Endo, Purdue, and Cephalon

were members of the council and presented deceptive programs to doctors who attended this

annual event.

       115. Upon information and belief, AAPM is viewed internally by Endo as “industry

friendly,” with Endo advisors and speakers among its active members. Endo attended AAPM

conferences, funded its CMEs, and distributed its publications. The conferences sponsored by

AAPM heavily emphasized sessions on opioids – 37 out of roughly 40 at one conference alone.

AAPM’s presidents have included top industry-supported KOLs Perry Fine and Lynn Webster.

Dr. Webster was even elected president of AAPM while under a DEA investigation.

       116. The Manufacturer Defendants were able to influence AAPM through both their

significant and regular funding and the leadership of pro-opioid KOLs within the organization.

       117. In 1996, AAPM and APS jointly issued a consensus statement, “The Use of Opioids

for the Treatment of Chronic Pain,” which endorsed opioids to treat chronic pain and claimed that

the risk of a patients’ addiction to opioids was low. Dr. Haddox, who co-authored the AAPM/APS

statement, was a paid speaker for Purdue at the time. Dr. Portenoy was the sole consultant. The




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consensus statement remained on AAPM’s website until 2011, and, upon information and belief,

was taken down from AAPM’s website only after a doctor complained. 92

           118. AAPM and APS issued their own guidelines in 2009 (“AAPM/APS Guidelines”) and

continued to recommend the use of opioids to treat chronic pain. 93 Treatment guidelines have been

relied upon by doctors, especially the general practitioners and family doctors targeted by the

Manufacturer Defendants. Treatment guidelines not only directly inform doctors’ prescribing

practices, but are cited throughout the scientific literature and referenced by third-party payors in

determining whether they should cover treatments for specific indications. Pharmaceutical sales

representatives employed by Endo, Actavis, and Purdue discussed treatment guidelines with

doctors during individual sales visits.

           119. At least fourteen of the 21 panel members who drafted the AAPM/APS Guidelines,

including KOLs Dr. Portenoy and Dr. Perry Fine of the University of Utah, received support from

Janssen, Cephalon, Endo, and Purdue. The 2009 Guidelines promote opioids as “safe and

effective” for treating chronic pain, despite acknowledging limited evidence, and conclude that the

risk of addiction is manageable for patients regardless of past abuse histories. 94 One panel member,

Dr. Joel Saper, Clinical Professor of Neurology at Michigan State University and founder of the

Michigan Headache & Neurological Institute, resigned from the panel because of his concerns that

the 2009 Guidelines were influenced by contributions that drug companies, including

Manufacturer Defendants, made to the sponsoring organizations and committee members. These

AAPM/APS Guidelines have been a particularly effective channel of deception and have


92
  The Use of Opioids for the Treatment of Chronic Pain: A Consensus Statement From the American Academy of
Pain Medicine and the American Pain Society, 13 Clinical J. Pain 6 (1997).
93
   Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-Cancer Pain, 10 J.
Pain 113 (2009).
94
     Id.

                                                       39
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influenced not only treating physicians, but also the body of scientific evidence on opioids; the

Guidelines have been cited hundreds of times in academic literature, were disseminated in the

State and/or Plaintiff’s Community during the relevant time period, are still available online, and

were reprinted in the Journal of Pain. The Manufacturer Defendants widely referenced and

promoted the 2009 Guidelines without disclosing the lack of evidence to support them or the

Manufacturer Defendants financial support to members of the panel.

       120. The Manufacturer Defendants worked together, through Front Groups, to spread

their deceptive messages about the risks and benefits of long-term opioid therapy. For example,

Defendants combined their efforts through the Pain Care Forum (“PCF”), which began in 2004 as

an APF project. PCF is comprised of representatives from opioid manufacturers (including

Cephalon, Endo, Janssen, and Purdue) and various Front Groups, almost all of which received

substantial funding from the Manufacturer Defendants. Among other projects, PCF worked to

ensure that an FDA-mandated education project on opioids was not unacceptably negative and did

not require mandatory participation by prescribers, which the Manufacturer Defendants

determined would reduce prescribing.

             2. The Manufacturer Defendants’ Marketing Scheme Misrepresented the
                Risks and Benefits of Opioids.

                      i.   The Manufacturer Defendants embarked upon a campaign of
                           false, deceptive, and unfair assurances grossly understating and
                           misstating the dangerous addiction risks of the opioid drugs.

       121. To falsely assure physicians and patients that opioids are safe, the Manufacturer

Defendants deceptively trivialized and failed to disclose the risks of long-term opioid use,

particularly the risk of addiction, through a series of misrepresentations that have been

conclusively debunked by the FDA and CDC. These misrepresentations – which are described

below – reinforced each other and created the dangerously misleading impression that: (1) starting


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patients on opioids was low risk because most patients would not become addicted, and because

those at greatest risk for addiction could be identified and managed; (2) patients who displayed

signs of addiction probably were not addicted and, in any event, could easily be weaned from the

drugs; (3) the use of higher opioid doses, which many patients need to sustain pain relief as they

develop tolerance to the drugs, do not pose special risks; and (4) abuse-deterrent opioids both

prevent abuse and overdose and are inherently less addictive. The Manufacturer Defendants have

not only failed to correct these misrepresentations, they continue to make them today.

        122. Opioid manufacturers, including Defendants Endo Pharmaceuticals, Inc. and Purdue

Pharma L.P., have entered into settlement agreements with public entities that prohibit them from

making many of the misrepresentations identified in this Complaint. Yet even afterward, each

Manufacturer Defendant continued to misrepresent the risks and benefits of long-term opioid use

in the State and Plaintiff’s Community and each continues to fail to correct its past

misrepresentations.

        123. Some illustrative examples of the Manufacturer Defendants’ false, deceptive, and

unfair claims about the purportedly low risk of addiction include:

            a. Actavis’s predecessor caused a patient education brochure, Managing Chronic
               Back Pain, to be distributed beginning in 2003 that admitted that opioid addiction
               is possible, but falsely claimed that it is “less likely if you have never had an
               addiction problem.” Based on Actavis’s acquisition of its predecessor’s marketing
               materials along with the rights to Kadian, it appears that Actavis continued to use
               this brochure in 2009 and beyond.

            b. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People
               Living with Pain (2007), which suggested that addiction is rare and limited to
               extreme cases of unauthorized dose escalations, obtaining duplicative opioid
               prescriptions from multiple sources, or theft. This publication is still available
               online. 95


95
   Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.

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               c. Endo sponsored a website, “PainKnowledge,” which, upon information and belief,
                  claimed in 2009 that “[p]eople who take opioids as prescribed usually do not
                  become addicted.” Upon information and belief, another Endo website,
                  PainAction.com, stated “Did you know? Most chronic pain patients do not become
                  addicted to the opioid medications that are prescribed for them.” Endo also
                  distributed an “Informed Consent” document on PainAction.com that misleadingly
                  suggested that only people who “have problems with substance abuse and
                  addiction” are likely to become addicted to opioid medications.

               d. Upon information and belief, Endo distributed a pamphlet with the Endo logo
                  entitled Living with Someone with Chronic Pain, which stated that: “Most health
                  care providers who treat people with pain agree that most people do not develop an
                  addiction problem.”

               e. Janssen reviewed, edited, approved, and distributed a patient education guide
                  entitled Finding Relief: Pain Management for Older Adults (2009), which
                  described as “myth” the claim that opioids are addictive, and asserted as fact that
                  “[m]any studies show that opioids are rarely addictive when used properly for the
                  management of chronic pain.”

               f. Janssen currently runs a website, Prescriberesponsibly.com (last updated July 2,
                  2015), which claims that concerns about opioid addiction are “overestimated.”

               g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
                  Management, which claims that less than 1% of children prescribed opioids will
                  become addicted and that pain is undertreated due to “[m]isconceptions about
                  opioid addiction.” 96


               h. In 2010, Mallinckrodt sponsored an initiative “Collaborating and Acting
                  Responsibly to Ensure Safety (C.A.R.E.S.), through which it published and
                  promoted the book “Defeat Chronic Pain Now!” aimed at chronic pain patients.
                  The book, which is still available for sale in New Mexico and elsewhere, and is
                  promoted online at www.defeatchronicpainnow.com, advises laypeople who are
                  considering taking opioid drugs that “[o]nly rarely does opioid medication cause a
                  true addiction.” 97 Further, the book advises that even the issue of tolerance is
                  “overblown,” because “[o]nly a minority of chronic pain patients who are taking
                  long-term opioids develop tolerance.” In response to a hypothetical question from
                  a chronic back pain patient who expresses a fear of becoming addicted, the book
                  advises that “[i]t is very uncommon for a person with chronic pain to become
                  ‘addicted’ to narcotics IF (1) he doesn’t have a prior history of any addiction and
                  (2) he only takes the medication to treat pain.”

96
  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf.
97
     Charles E. Argoff & Bradley S. Galer, Defeat Chronic Pain Now! (2010).

                                                        42
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                 i. Consistent with the Manufacturer Defendants’ published marketing materials, upon
                    information and belief, detailers for Purdue, Endo, Janssen, and Cephalon in the
                    State and Plaintiff’s Community minimized or omitted any discussion with doctors
                    of the risk of addiction; misrepresented the potential for abuse of opioids with
                    purportedly abuse-deterrent formulations; and routinely did not correct the
                    misrepresentations noted above.

                 j. Seeking to overturn the criminal conviction of a doctor for illegally prescribing
                    opioids, the Manufacturer Defendants’ Front Groups APF and NFP argued in an
                    amicus brief to the United States Fourth Circuit Court of Appeals that “patients
                    rarely become addicted to prescribed opioids,” citing research by their KOL, Dr.
                    Portenoy. 98


            124. These claims are contrary to longstanding scientific evidence. A 2016 opioid-

prescription guideline issued by the CDC (the “2016 CDC Guideline”) explains that there is

“[e]xtensive evidence” of the “possible harms of opioids (including opioid use disorder [an

alternative term for opioid addiction], [and] overdose . . .).” 99 The 2016 CDC Guideline further

explains that “[o]pioid pain medication use presents serious risks, including overdose and opioid

use disorder” and that “continuing opioid therapy for 3 months substantially increases risk for

opioid use disorder.” 100

            125. The FDA further exposed the falsity of Defendants’ claims about the low risk of

addiction when it announced changes to the labels for extended-release and long-acting (“ER/LA”)

opioids in 2013 and for immediate release (“IR”) opioids in 2016. In its announcements, the FDA

found that “most opioid drugs have ‘high potential for abuse’” and that opioids “are associated



98
   Brief of the American Pain Foundation, the National Pain Foundation, and the National Foundation for the
Treatment of Pain in Support of Appellant and Reversal of the Conviction, United States v. Hurowitz, No. 05-4474
(4th Cir. Sept. 8, 2005) [hereinafter Brief of APF] at 9.
99
   Deborah Dowell et al., CDC Guideline for Prescribing Opioids for Chronic Pain—United States, 2016,
Morbidity & Mortality Wkly. Rep., Mar. 18, 2016, at 15 [hereinafter 2016 CDC Guideline],
https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.
100
      Id. at 2, 25.



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with a substantial risk of misuse, abuse, NOWS [neonatal opioid withdrawal syndrome], addiction,

overdose, and death.” According to the FDA, because of the “known serious risks” associated with

long-term opioid use, including “risks of addiction, abuse, and misuse, even at recommended

doses, and because of the greater risks of overdose and death,” opioids should be used only “in

patients for whom alternative treatment options” like non-opioid drugs have failed. 101

        126. The State of New York, in a 2016 settlement agreement with Endo, found that opioid

“use disorders appear to be highly prevalent in chronic pain patients treated with opioids, with up

to 40% of chronic pain patients treated in specialty and primary care outpatient centers meeting

the clinical criteria for an opioid use disorder.” 102 Endo had claimed on its www.opana.com

website that “[m]ost healthcare providers who treat patients with pain agree that patients treated

with prolonged opioid medicines usually do not become addicted,” but the State of New York

found that Endo had no evidence for that statement. Consistent with this, Endo agreed not to “make

statements that . . . opioids generally are non-addictive” or “that most patients who take opioids

do not become addicted” in New York. Endo remains free, however, to make those statements in

this State.

        127. In addition to mischaracterizing the highly addictive nature of the drugs they were

pushing, the Manufacturer Defendants also fostered a fundamental misunderstanding of the signs

of addiction. Specifically, the Manufacturer Defendants misrepresented, to doctors and patients,


101
    Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food and Drug Admin.,
U.S. Dep’t of Health and Human Servs., to Andrew Koldny, M.D., President, Physicians for Responsible Opioid
Prescribing (Sept. 10, 2013), https://www.regulations.gov/contentStreamer?documentId=FDA-2012-P-0818-
0793&attachmentNumber=1&contentType=pdf.; Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation
and Research, U.S. Food and Drug Admin., U.S. Dep’t of Health and Human Servs., to Peter R. Mathers & Jennifer
A. Davidson, Kleinfeld, Kaplan and Becker, LLP (Mar. 22, 2016),
https://www.regulations.gov/contentStreamer?documentId=FDA-2014-P-0205-
0006&attachmentNumber=1&contentType=pdf.
102
    Assurance of Discontinuance, In re Endo Health Solutions Inc. and Endo Pharm. Inc. (Assurance No. 15-228),
at 16, https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.

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that warning signs and/or symptoms of addiction were, instead, signs of undertreated pain (i.e.

pseudoaddiction) – and instructed doctors to increase the opioid prescription dose for patients who

were already in danger.

           128. To this end, one of Purdue’s employees, Dr. David Haddox, invented a phenomenon

called “pseudoaddiction.” KOL Dr. Portenoy popularized the term. Examples of the false,

misleading, deceptive, and unfair statements regarding pseudoaddiction include:

               a. Cephalon and Purdue sponsored Responsible Opioid Prescribing (2007), which
                  taught that behaviors such as “requesting drugs by name,” “demanding or
                  manipulative behavior,” seeing more than one doctor to obtain opioids, and
                  hoarding, are all signs of pseudoaddiction, rather than true addiction. 103 The 2012
                  edition, which remains available for sale online, continues to teach that
                  pseudoaddiction is real. 104

               b. Janssen sponsored, funded, and edited the Let’s Talk Pain website, which in 2009
                  stated: “pseudoaddiction . . . refers to patient behaviors that may occur when pain
                  is under-treated . . . . Pseudoaddiction is different from true addiction because such
                  behaviors can be resolved with effective pain management.”

               c. Endo sponsored a National Initiative on Pain Control (“NIPC”) CME program in
                  2009 entitled “Chronic Opioid Therapy: Understanding Risk While Maximizing
                  Analgesia,” which, upon information and belief, promoted pseudoaddiction by
                  teaching that a patient’s aberrant behavior was the result of untreated pain. Endo
                  appears to have substantially controlled NIPC by funding NIPC projects;
                  developing, specifying, and reviewing content; and distributing NIPC materials.

               d. Purdue published a pamphlet in 2011 entitled Providing Relief, Preventing Abuse,
                  which, upon information and belief, described pseudoaddiction as a concept that
                  “emerged in the literature” to describe the inaccurate interpretation of [drug-
                  seeking behaviors] in patients who have pain that has not been effectively treated.”

               e. Upon information and belief, Purdue sponsored a CME program titled “Path of the
                  Patient, Managing Chronic Pain in Younger Adults at Risk for Abuse”. In a role
                  play, a chronic pain patient with a history of drug abuse tells his doctor that he is
                  taking twice as many hydrocodone pills as directed. The narrator notes that because
                  of pseudoaddiction, the doctor should not assume the patient is addicted even if he
                  persistently asks for a specific drug, seems desperate, hoards medicine, or


103
      Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2007) at 62.
104
      See Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2d ed. 2012).

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               “overindulges in unapproved escalating doses.” The doctor treats this patient by
               prescribing a high-dose, long-acting opioid.


            f. In 2010, Mallinckrodt sponsored an initiative “Collaborating and Acting
               Responsibly to Ensure Safety (C.A.R.E.S.), through which it published and
               promoted the book “Defeat Chronic Pain Now!” aimed at chronic pain patients.
               The book, which is still available for sale, and is promoted online at
               www.defeatchronicpainnow.com, teaches laypeople that “pseudoaddiction” is
               “caused by their doctor not appropriately prescribing the opioid medication.” It
               teaches that “[p]seudoaddiction happens when a patient’s opioid medication is not
               being prescribed in doses strong enough to provide good pain relief, or if the drug
               is not being prescribed often enough throughout the day. . . When a pseudoaddicted
               patient is prescribed the proper amount of opioid medication, he or she doesn’t take
               any extra pills because his or her pain is relieved.”


        129. In the 2016 CDC Guideline, the CDC rejects the validity of the pseudoaddiction

fallacy invented by a Purdue employee as a reason to push more opioid drugs onto already addicted

patients.

        130. In addition to misstating the addiction risk and inventing the pseudoaddiction

falsehood, a third category of false, deceptive, and unfair practice is the Manufacturer Defendants’

false instructions that addiction risk screening tools, patient contracts, urine drug screens, and

similar strategies allow them to reliably identify and safely prescribe opioids to patients

predisposed to addiction. These misrepresentations were especially insidious because the

Manufacturer Defendants aimed them at general practitioners and family doctors who lack the

time and expertise to closely manage higher-risk patients on opioids. The Manufacturer

Defendants’ misrepresentations made these doctors feel more comfortable prescribing opioids to

their patients, and patients more comfortable starting on opioid therapy for chronic pain.

Illustrative examples include:

            a. Endo paid for a 2007 supplement in the Journal of Family Practice written by a
               doctor who became a member of Endo’s speakers bureau in 2010. The supplement,
               entitled Pain Management Dilemmas in Primary Care: Use of Opioids, emphasized
               the effectiveness of screening tools, claiming that patients at high risk of addiction

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                      could safely receive chronic opioid therapy using a “maximally structured
                      approach” involving toxicology screens and pill counts.

                   b. Purdue, upon information and belief, sponsored a 2011 webinar, Managing
                      Patient’s Opioid Use: Balancing the Need and Risk, which claimed that screening
                      tools, urine tests, and patient agreements prevent “overuse of prescriptions” and
                      “overdose deaths.”

                   c. As recently as 2015, upon information and belief, Purdue has represented in
                      scientific conferences that “bad apple” patients – and not opioids – are the source
                      of the addiction crisis and that once those “bad apples” are identified, doctors can
                      safely prescribe opioids without causing addiction.


            131. The 2016 CDC Guideline confirms the falsity of these claims. The Guideline

explains that there are no studies assessing the effectiveness of risk mitigation strategies “for

improving outcomes related to overdose, addiction, abuse or misuse.” 105

            132. A fourth category of deceptive messaging regarding dangerous opioids is the

Manufacturer Defendants’ false assurances regarding the alleged ease of eliminating opioid

dependence. The Manufacturer Defendants falsely claimed that opioid dependence can easily be

addressed by tapering and that opioid withdrawal is not a problem, but they failed to disclose the

increased difficulty of stopping opioids after long-term use. In truth, the 2016 CDC Guideline

explains that the symptoms of opioid withdrawal include abdominal pain, vomiting, diarrhea,

sweating, tremor, tachycardia, drug cravings, anxiety, insomnia, spontaneous abortion and

premature labor in pregnant women. 106

            133. The Manufacturer Defendants nonetheless downplayed the severity of opioid

detoxification. For example, upon information and belief, a CME sponsored by Endo, entitled

Persistent Pain in the Older Adult, claimed that withdrawal symptoms can be avoided by tapering



105
      Id. at 11.
106
      Id. at 26.

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a patient’s opioid dose by 10%-20% for 10 days. And Purdue sponsored APF’s A Policymaker’s

Guide to Understanding Pain & Its Management, which claimed that “[s]ymptoms of physical

dependence can often be ameliorated by gradually decreasing the dose of medication during

discontinuation” without mentioning any hardships that might occur. 107 Similarly, in the 2010

Mallinckrodt/C.A.R.E.S. publication “Defeat Chronic Pain Now!” potential opioid users are

advised that tolerance to opioids is “easily remedied,” and that “[a]ll patients can be safely taken

off opioid medication if the dose is slowly tapered down by their doctor.”

        134. A fifth category of false, deceptive, and unfair statements the Manufacturer

Defendants made to sell more drugs is that opioid dosages could be increased indefinitely without

added risk. The ability to escalate dosages was critical to Defendants’ efforts to market opioids for

long-term use to treat chronic pain because, absent this misrepresentation, doctors would have

abandoned treatment when patients built up tolerance and lower dosages did not provide pain

relief. The Manufacturer Defendants’ deceptive claims include:

            a. Upon information and belief, Actavis’s predecessor created a patient brochure for
               Kadian in 2007 that stated, “Over time, your body may become tolerant of your
               current dose. You may require a dose adjustment to get the right amount of pain
               relief. This is not addiction.” Based on Actavis’s acquisition of its predecessor’s
               marketing materials along with the rights to Kadian, Actavis appears to have
               continued to use these materials in 2009 and beyond.

            b. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People
               Living with Pain (2007), which claims that some patients “need” a larger dose of
               an opioid, regardless of the dose currently prescribed. The guide stated that opioids
               have “no ceiling dose” and insinuated that they are therefore the most appropriate
               treatment for severe pain. 108 This publication is still available online.




107
  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter
APF, Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf., at 32.
108
    Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf., at 12.

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                c. Endo sponsored a website, “PainKnowledge,” which, upon information and belief,
                   claimed in 2009 that opioid dosages may be increased until “you are on the right
                   dose of medication for your pain.”

                d. Endo distributed a pamphlet edited by a KOL entitled Understanding Your Pain:
                   Taking Oral Opioid Analgesics (2004 Endo Pharmaceuticals PM-0120). In Q&A
                   format, it asked “If I take the opioid now, will it work later when I really need it?”
                   The response is, “The dose can be increased. . . . You won’t ‘run out’ of pain
                   relief.” 109

                e. Janssen sponsored a patient education guide entitled Finding Relief: Pain
                   Management for Older Adults (2009), which was distributed by its sales force. This
                   guide listed dosage limitations as “disadvantages” of other pain medicines but
                   omitted any discussion of risks of increased opioid dosages.

                f. Upon information and belief, Purdue’s In the Face of Pain website promoted the
                   notion that if a patient’s doctor does not prescribe what, in the patient’s view, is a
                   sufficient dosage of opioids, he or she should find another doctor who will.

                g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
                   Management, which taught that dosage escalations are “sometimes necessary,” and
                   that “the need for higher doses of medication is not necessarily indicative of
                   addiction,” but inaccurately downplayed the risks from high opioid dosages. 110

                h. In 2007, Purdue sponsored a CME entitled “Overview of Management Options”
                   that was available for CME credit and available until at least 2012. The CME was
                   edited by a KOL and taught that NSAIDs and other drugs, but not opioids, are
                   unsafe at high dosages.

                i. Purdue presented a 2015 paper at the College on the Problems of Drug Dependence,
                   “the oldest and largest organization in the US dedicated to advancing a scientific
                   approach to substance use and addictive disorders,” challenging the correlation
                   between opioid dosage and overdose. 111

                j. Seeking to overturn the criminal conviction of a doctor for illegally prescribing
                   opioids, the Manufacturer Defendants’ Front Groups APF and NFP argued in an
                   amicus brief to the United States Fourth Circuit Court of Appeals that “there is no
                   ‘ceiling dose’” for opioids. 112



109
    Margo McCaffery & Chris Pasero, Endo Pharm., Understanding Your Pain: Taking Oral Opioid Analgesics
(Russell K Portenoy, M.D., ed., 2004).
110
  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf., at 32.
111
      The College on Problems of Drug Dependence, About the College, http://cpdd.org (last visited Aug. 21, 2017).
112
      Brief of APF, at 9.

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                   k. In the 2010 Mallinckrodt/C.A.R.E.S. publication “Defeat Chronic Pain Now!”,
                      potential opioid users are warned about the risk of “[p]seudoaddiction [b]ecause of
                      a [l]ow [d]ose,” and advised that this condition may be corrected through the
                      prescription of a higher dose. Similarly, the book recommends that for chronic pain
                      patients, the opioid dose should be “gradually increased to find the best daily dose,
                      as is done with all the other oral drugs.” The book discusses the risks of NSAIDs
                      and other drugs at higher doses, but not explain this risk for opioids.

           135. Once again, the 2016 CDC Guideline reveals that the Manufacturer Defendants’

representations regarding opioids were lacking in scientific evidence. The 2016 CDC Guideline

clarifies that the “[b]enefits of high-dose opioids for chronic pain are not established” while the

“risks for serious harms related to opioid therapy increase at higher opioid dosage.” 113 More

specifically, the CDC explains that “there is now an established body of scientific evidence

showing that overdose risk is increased at higher opioid dosages.” 114 The CDC also states that

there is an increased risk “for opioid use disorder, respiratory depression, and death at higher

dosages.” 115 That is why the CDC advises doctors to “avoid increasing dosage” to above 90

morphine milligram equivalents per day. 116

           136. Defendants’ deceptive marketing of the so-called abuse-deterrent properties of some

of their opioids has created false impressions that these opioids can cure addiction and abuse.

           137. The Manufacturer Defendants made misleading claims about the ability of their so-

called abuse-deterrent opioid formulations to deter abuse. For example, Endo’s advertisements for

the 2012 reformulation of Opana ER claimed that it was designed to be crush resistant, in a way

that suggested it was more difficult to abuse. This claim was false. The FDA warned in a 2013

letter that Opana ER Extended-Release Tablets’ “extended-release features can be compromised,


113
      2016 CDC Guideline at 22–23.
114
      Id. at 23–24.
115
      Id. at 21.
116
      Id. at 16.



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causing the medication to ‘dose dump,’ when subject to . . . forms of manipulation such as cutting,

grinding, or chewing, followed by swallowing.” 117 Also troubling, Opana ER can be prepared for

snorting using commonly available methods and “readily prepared for injection.” 118 The letter

discussed “the troubling possibility that a higher (and rising) percentage of [Opana ER Extended-

Release Tablet] abuse is occurring via injection.” 119 Endo’s own studies, which it failed to disclose,

showed that Opana ER could still be ground and chewed. In June 2017, the FDA requested that

Opana ER be removed from the market.

                          ii.   The Manufacturer Defendants embarked upon a campaign of
                                false, deceptive, and unfair assurances grossly overstating the
                                benefits of the opioid drugs.

            138. To convince doctors and patients that opioids should be used to treat chronic pain,

the Manufacturer Defendants also had to persuade them that there was a significant upside to long-

term opioid use. But as the CDC Guideline makes clear, “[n]o evidence shows a long-term benefit

of opioids in pain and function versus no opioids for chronic pain with outcomes examined at least

1 year later (with most placebo-controlled randomized trials ≤ 6 weeks in duration)” and that other

treatments were more or equally beneficial and less harmful than long-term opioid use. 120 The

FDA, too, has recognized the lack of evidence to support long-term opioid use. Despite this,

Defendants falsely and misleadingly touted the benefits of long-term opioid use and falsely and

misleadingly suggested that these benefits were supported by scientific evidence.

            139. Some illustrative examples of the Manufacturer Defendants’ false claims are:



117
    Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food and Drug Admin.,
U.S. Dep’t of Health and Human Servs., to Robert Barto, Vice President, Reg. Affairs, Endo Pharm. Inc. (May 10,
2013), at 5.
118
      Id. at 6.
119
      Id. at 6 n.21.
120
      Id. at 15.

                                                       51
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            a. Upon information and belief, Actavis distributed an advertisement claiming that the
               use of Kadian to treat chronic pain would allow patients to return to work, relieve
               “stress on your body and your mental health,” and help patients enjoy their lives.

            b. Endo distributed advertisements that claimed that the use of Opana ER for chronic
               pain would allow patients to perform demanding tasks like construction work or
               work as a chef and portrayed seemingly healthy, unimpaired subjects.

            c. Janssen sponsored and edited a patient education guide entitled Finding Relief:
               Pain Management for Older Adults (2009) – which states as “a fact” that “opioids
               may make it easier for people to live normally.” The guide lists expected functional
               improvements from opioid use, including sleeping through the night, returning to
               work, recreation, sex, walking, and climbing stairs.

            d. Janssen promoted Ultracet for everyday chronic pain and distributed posters, for
               display in doctors’ offices, of presumed patients in active professions; the caption
               read, “Pain doesn’t fit into their schedules.”

            e. Upon information and belief, Purdue ran a series of advertisements for OxyContin
               in 2012 in medical journals entitled “Pain vignettes,” which were case studies
               featuring patients with pain conditions persisting over several months and
               recommending OxyContin for them. The ads implied that OxyContin improves
               patients’ function.

            f. Responsible Opioid Prescribing (2007), sponsored and distributed by Cephalon,
               Endo and Purdue, taught that relief of pain by opioids, by itself, improved patients’
               function.

            g. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People
               Living with Pain (2007), which counseled patients that opioids “give [pain patients]
               a quality of life we deserve.” 121 This publication is still available online.

            h. Endo’s NIPC website “PainKnowledge” claimed in 2009, upon information and
               belief, that with opioids, “your level of function should improve; you may find you
               are now able to participate in activities of daily living, such as work and hobbies,
               that you were not able to enjoy when your pain was worse.” Elsewhere, the website
               touted improved quality of life (as well as “improved function”) as benefits of
               opioid therapy. The grant request that Endo approved for this project specifically
               indicated NIPC’s intent to make misleading claims about function, and Endo
               closely tracked visits to the site.




121
  Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.



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            i. Endo was the sole sponsor, through NIPC, of a series of CMEs entitled “Persistent
               Pain in the Older Patient.” 122 Upon information and belief, a CME disseminated
               via webcast claimed that chronic opioid therapy has been “shown to reduce pain
               and improve depressive symptoms and cognitive functioning.”

            j. Janssen sponsored and funded a multimedia patient education campaign called
               “Let’s Talk Pain.” One feature of the campaign was to complain that patients were
               under-treated. In 2009, upon information and belief, a Janssen-sponsored website,
               part of the “Let’s Talk Pain” campaign, featured an interview edited by Janssen
               claiming that opioids allowed a patient to “continue to function.”

            k. Purdue sponsored the development and distribution of APF’s A Policymaker’s
               Guide to Understanding Pain & Its Management, which claimed that “[m]ultiple
               clinical studies” have shown that opioids are effective in improving “[d]aily
               function,” “[p]sychological health,” and “[o]verall health-related quality of life for
               chronic pain.” 123 The Policymaker’s Guide was originally published in 2011.

            l. Purdue’s, Cephalon’s, Endo’s, and Janssen’s sales representatives have conveyed
               and continue to convey the message that opioids will improve patient function.


        140. As the FDA and other agencies have made clear for years, these claims have no

support in the scientific literature.

        141. In 2010, the FDA warned Actavis, in response to its advertising of Kadian described

above, that “we are not aware of substantial evidence or substantial clinical experience

demonstrating that the magnitude of the effect of the drug [Kadian] has in alleviating pain, taken

together with any drug-related side effects patients may experience . . . results in any overall

positive impact on a patient’s work, physical and mental functioning, daily activities, or enjoyment

of life.” 124 And in 2008, upon information and belief, the FDA sent a warning letter to an opioid

manufacturer, making it clear “that [the claim that] patients who are treated with the drug


122
   E.g., NIPC, Persistent Pain and the Older Patient (2007),
https://www.painedu.org/Downloads/NIPC/Activities/B173_Providence_RI_%20Invite.pdf.
123
    Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf., at 29.
124
    Letter from Thomas Abrams, Dir., Div. of Drug Mktg., Advert., & Commc’ns, U.S. Food & Drug Admin., to
Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010),
http://www.fdanews.com/ext/resources/files/archives/a/ActavisElizabethLLC.pdf.

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experience an improvement in their overall function, social function, and ability to perform daily

activities . . . has not been demonstrated by substantial evidence or substantial clinical experience.”

          142. The Manufacturer Defendants also falsely and misleadingly emphasized or

exaggerated the risks of competing medications like NSAIDs, so that doctors and patients would

look to opioids first for the treatment of chronic pain. Once again, these misrepresentations by the

Manufacturer Defendants contravene pronouncements by and guidance from the FDA and CDC

based on the scientific evidence. Indeed, the FDA changed the labels for ER/LA opioids in 2013

and IR opioids in 2016 to state that opioids should only be used as a last resort “in patients for

which alternative treatment options” like non-opioid drugs “are inadequate.” And the 2016 CDC

Guideline states that NSAIDs, not opioids, should be the first-line treatment for chronic pain,

particularly arthritis and lower back pain. 125 Purdue misleadingly promoted OxyContin as being

unique among opioids in providing 12 continuous hours of pain relief with one dose. In fact,

OxyContin does not last for 12 hours – a fact that Purdue has known at all times relevant to this

action. Upon information and belief, Purdue’s own research shows that OxyContin wears off in

under six hours in one quarter of patients and in under 10 hours in more than half. This is because

OxyContin tablets release approximately 40% of their active medicine immediately, after which

release tapers. This triggers a powerful initial response, but provides little or no pain relief at the

end of the dosing period, when less medicine is released. This phenomenon is known as “end of

dose” failure, and the FDA found in 2008 that a “substantial proportion” of chronic pain patients

taking OxyContin experience it. This not only renders Purdue’s promise of 12 hours of relief false

and deceptive, it also makes OxyContin more dangerous because the declining pain relief patients

experience toward the end of each dosing period drives them to take more OxyContin before the


125
      2016 CDC Guideline at 12.

                                                  54
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next dosing period begins, quickly increasing the amount of drug they are taking and spurring

growing dependence.

        143. Purdue’s competitors were aware of this problem. For example, upon information

and belief, Endo ran advertisements for Opana ER referring to “real” 12-hour dosing.

Nevertheless, Purdue falsely promoted OxyContin as if it were effective for a full 12 hours. Upon

information and belief, Purdue’s sales representatives continue to tell doctors that OxyContin lasts

a full 12 hours.

        144. Front Groups supported by Purdue likewise echoed these representations. For

example, in an amicus brief submitted to the Supreme Court of Ohio by the American Pain

Foundation, the National Foundation for the Treatment of Pain and the Ohio Pain Initiative in

support of Purdue, those amici represented:

        OxyContin is particularly useful for sustained long-term pain because it comes in
        higher, compact pills with a slow release coating. OxyContin pills can work for 12
        hours. This makes it easier for patients to comply with dosing requirements without
        experiencing a roller-coaster of pain relief followed quickly by pain renewal that
        can occur with shorter acting medications. It also helps the patient sleep through
        the night, which is often impossible with short-acting medications. For many of
        those serviced by Pain Care Amici, OxyContin has been a miracle medication. 126

        145. Cephalon deceptively marketed its opioids Actiq and Fentora for chronic pain even

though the FDA has expressly limited their use to the treatment of cancer pain in opioid tolerant

individuals. Both Actiq and Fentora are extremely powerful fentanyl-based IR opioids. Neither is

approved for or has been shown to be safe or effective for chronic pain. Indeed, the FDA expressly

prohibited Cephalon from marketing Actiq for anything but cancer pain, and refused to approve

Fentora for the treatment of chronic pain because of the potential harm, including the high risk of



126
   Reply Brief of Amicus Curiae of the American Pain Foundation, The National Foundation for the Treatment of
Pain and the Ohio Pain Initiative Supporting Appellants, Howland v. Purdue Pharma L.P., No. 2003-1538 (Ohio
Apr. 13, 2004), 2004 WL 1637768, at *4 (footnote omitted).

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“serious and life-threatening adverse events” and abuse – which are greatest in non-cancer patients.

The FDA also issued a Public Health Advisory in 2007 emphasizing that Fentora should only be

used for cancer patients who are opioid-tolerant and should not be used for any other conditions,

such as migraines, post-operative pain, or pain due to injury. 127 Specifically, the FDA advised that

Fentora “is only approved for breakthrough cancer pain in patients who are opioid-tolerant,

meaning those patients who take a regular, daily, around-the-clock narcotic pain medication.” 128

            146. Despite this, Cephalon conducted and continues to conduct a well-funded campaign

to promote Actiq and Fentora for chronic pain and other non-cancer conditions for which it was

not approved, appropriate, and for which it is not safe. As part of this campaign, Cephalon used

CMEs, speaker programs, KOLs, journal supplements, and detailing by its sales representatives to

give doctors the false impression that Actiq and Fentora are safe and effective for treating non-

cancer pain. For example:

            a. Cephalon paid to have a CME it sponsored, Opioid-Based Management of Persistent
               and Breakthrough Pain, published in a supplement of Pain Medicine News in 2009.
               The CME instructed doctors that “[c]linically, broad classification of pain syndromes
               as either cancer- or non-cancer-related has limited utility” and recommended Actiq and
               Fentora for patients with chronic pain.

            b. Upon information and belief, Cephalon’s sales representatives set up hundreds of
               speaker programs for doctors, including many non-oncologists, which promoted Actiq
               and Fentora for the treatment of non-cancer pain.

            c. In December 2011, Cephalon widely disseminated a journal supplement entitled
               “Special Report: An Integrated Risk Evaluation and Mitigation Strategy for Fentanyl
               Buccal Tablet (FENTORA) and Oral Transmucosal Fentanyl Citrate (ACTIQ)” to
               Anesthesiology News, Clinical Oncology News, and Pain Medicine News – three
               publications that are sent to thousands of anesthesiologists and other medical


127
    See U.S. Food & Drug Admin., Public Health Advisory: Important Information for the Safe Use of Fentora
(fentanyl buccal tablets) (Sept. 26, 2007),
https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/ucm051273.htm.
128
      Id.

                                                   56
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             professionals. The Special Report openly promotes Fentora for “multiple causes of
             pain” – and not just cancer pain.

        147. Cephalon’s deceptive marketing gave doctors and patients the false impression that

Actiq and Fentora were not only safe and effective for treating chronic pain, but were also

approved by the FDA for such uses.

        148. Purdue also unlawfully and unfairly failed to report or address illicit and unlawful

prescribing of its drugs, despite knowing about it for years. Purdue’s sales representatives have

maintained a database since 2002 of doctors suspected of inappropriately prescribing its drugs.

Rather than report these doctors to state medical boards or law enforcement authorities (as Purdue

is legally obligated to do) or cease marketing to them, Purdue used the list to demonstrate the high

rate of diversion of OxyContin – the same OxyContin that Purdue had promoted as less addictive

– in order to persuade the FDA to bar the manufacture and sale of generic copies of the drug

because the drug was too likely to be abused. In an interview with the Los Angeles Times, Purdue’s

senior compliance officer acknowledged that in five years of investigating suspicious pharmacies,

Purdue failed to take action – even where Purdue employees personally witnessed the diversion of

its drugs. The same was true of prescribers; despite its knowledge of illegal prescribing, Purdue

did not report that a Los Angeles clinic prescribed more than 1.1 million OxyContin tablets and

that Purdue’s district manager described it internally as “an organized drug ring” until years after

law enforcement shut it down. In doing so, Purdue protected its own profits at the expense of

public health and safety. 129

        149. Like Purdue, Endo has been cited for its failure to set up an effective system for

identifying and reporting suspicious prescribing. In its settlement agreement with Endo, the State


129
    Harriet Ryan et al., More Than 1 Million Oxycontin Pills Ended Up in the Hands of Criminals and Addicts. What
the Drugmaker Knew, L.A. Times, July 10, 2016, http://www.latimes.com/projects/la-me-oxycontin-part2/.

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of New York found that Endo failed to require sales representatives to report signs of abuse,

diversion, and inappropriate prescribing; paid bonuses to sales representatives for detailing

prescribers who were subsequently arrested or convicted for illegal prescribing; and failed to

prevent sales representatives from visiting prescribers whose suspicious conduct had caused them

to be placed on a no-call list.

                 3. The Manufacturer Defendants Targeted Susceptible Prescribers and
                    Vulnerable Patient Populations.

           150. As a part of their deceptive marketing scheme, the Manufacturer Defendants

identified and targeted susceptible prescribers and vulnerable patient populations in the U.S.,

including this State and Plaintiff’s Community. For example, the Manufacturer Defendants

focused their deceptive marketing on primary care doctors, who were more likely to treat chronic

pain patients and prescribe them drugs, but were less likely to be educated about treating pain and

the risks and benefits of opioids and therefore more likely to accept the Manufacturer Defendants’

misrepresentations.

           151. The Manufacturer Defendants also targeted vulnerable patient populations like the

elderly and veterans, who tend to suffer from chronic pain. The Manufacturer Defendants targeted

these vulnerable patients even though the risks of long-term opioid use were significantly greater

for them. For example, the 2016 CDC Guideline observes that existing evidence confirms that

elderly patients taking opioids suffer from elevated fall and fracture risks, reduced renal function

and medication clearance, and a smaller window between safe and unsafe dosages. 130 The 2016

CDC Guideline concludes that there must be “additional caution and increased monitoring” to

minimize the risks of opioid use in elderly patients. Id. at 27. The same is true for veterans, who




130
      2016 CDC Guideline at 13.

                                                 58
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are more likely to use anti-anxiety drugs (benzodiazepines) for post-traumatic stress disorder,

which interact dangerously with opioids.

              4. The Manufacturer Defendants made Materially Deceptive Statements and
                 Concealed Materials Facts.

       152. As alleged herein, the Manufacturer Defendants made and/or disseminated

deceptive statements regarding material facts and further concealed material facts, in the course of

manufacturing, marketing, and selling prescription opioids. The Manufacturer Defendants’ actions

were intentional and/or unlawful. Such statements include, but are not limited to, those set out

below and alleged throughout this Complaint.

       153. Defendant Purdue made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

             a. Creating, sponsoring, and assisting in the distribution of patient education materials
                distributed to consumers that contained deceptive statements;

             b. Creating and disseminating advertisements that contained deceptive statements
                concerning the ability of opioids to improve function long-term and concerning the
                evidence supporting the efficacy of opioids long-term for the treatment of chronic
                non-cancer pain;

             c. Disseminating misleading statements concealing the true risk of addiction and
                promoting the deceptive concept of pseudoaddiction through Purdue’s own
                unbranded publications and on internet sites Purdue operated that were marketed to
                and accessible by consumers;

             d. Distributing brochures to doctors, patients, and law enforcement officials that
                included deceptive statements concerning the indicators of possible opioid abuse;

             e. Sponsoring, directly distributing, and assisting in the distribution of publications
                that promoted the deceptive concept of pseudoaddiction, even for high-risk
                patients;

             f. Endorsing, directly distributing, and assisting in the distribution of publications that
                presented an unbalanced treatment of the long-term and dose-dependent risks of
                opioids versus NSAIDs;
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  g. Providing significant financial support to pro-opioid KOL doctors who made
     deceptive statements concerning the use of opioids to treat chronic non-cancer pain;

  h. Providing needed financial support to pro-opioid pain organizations that made
     deceptive statements, including in patient education materials, concerning the use
     of opioids to treat chronic non-cancer pain;

  i. Assisting in the distribution of guidelines that contained deceptive statements
     concerning the use of opioids to treat chronic non-cancer pain and misrepresented
     the risks of opioid addiction;

  j. Endorsing and assisting in the distribution of CMEs containing deceptive
     statements concerning the use of opioids to treat chronic non-cancer pain;

  k. Developing and disseminating scientific studies that misleadingly concluded
     opioids are safe and effective for the long-term treatment of chronic non-cancer
     pain and that opioids improve quality of life, while concealing contrary data;

  l. Assisting in the dissemination of literature written by pro-opioid KOLs that
     contained deceptive statements concerning the use of opioids to treat chronic
     noncancer pain;

  m. Creating, endorsing, and supporting the distribution of patient and prescriber
     education materials that misrepresented the data regarding the safety and efficacy
     of opioids for the long-term treatment of chronic non-cancer pain, including known
     rates of abuse and addiction and the lack of validation for long-term efficacy;

  n. Targeting veterans by sponsoring and disseminating patient education marketing
     materials that contained deceptive statements concerning the use of opioids to treat
     chronic non-cancer pain;

  o. Targeting the elderly by assisting in the distribution of guidelines that contained
     deceptive statements concerning the use of opioids to treat chronic non-cancer pain
     and misrepresented the risks of opioid addiction in this population;

  p. Exclusively disseminating misleading statements in education materials to hospital
     doctors and staff while purportedly educating them on new pain standards;

  q. Making deceptive statements concerning the use of opioids to treat chronic
     noncancer pain to prescribers through in-person detailing; and

  r. Withholding from law enforcement the names of prescribers Purdue believed to be
     facilitating the diversion of its opioid, while simultaneously marketing opioids to
     these doctors by disseminating patient and prescriber education materials and
     advertisements and CMEs they knew would reach these same prescribers.
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       154. Defendant Endo made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

             a. Creating, sponsoring, and assisting in the distribution of patient education materials
                that contained deceptive statements;

             b. Creating and disseminating advertisements that contained deceptive statements
                concerning the ability of opioids to improve function long-term and concerning the
                evidence supporting the efficacy of opioids long-term for the treatment of chronic
                non-cancer pain;

             c. Creating and disseminating paid advertisement supplements in academic journals
                promoting chronic opioid therapy as safe and effective for long term use for high
                risk patients;

             d. Creating and disseminating advertisements that falsely and inaccurately conveyed
                the impression that Endo’s opioids would provide a reduction in oral, intranasal, or
                intravenous abuse;

             e. Disseminating misleading statements concealing the true risk of addiction and
                promoting the misleading concept of pseudoaddiction through Endo’s own
                unbranded publications and on internet sites Endo sponsored or operated;

             f. Endorsing, directly distributing, and assisting in the distribution of publications that
                presented an unbalanced treatment of the long-term and dose-dependent risks of
                opioids versus NSAIDs;

             g. Providing significant financial support to pro-opioid KOLs, who made deceptive
                statements concerning the use of opioids to treat chronic non-cancer pain;

             h. Providing needed financial support to pro-opioid pain organizations – including
                over $5 million to the organization responsible for many of the most egregious
                misrepresentations – that made deceptive statements, including in patient education
                materials, concerning the use of opioids to treat chronic non-cancer pain;

             i. Targeting the elderly by assisting in the distribution of guidelines that contained
                deceptive statements concerning the use of opioids to treat chronic non-cancer pain
                and misrepresented the risks of opioid addiction in this population;

             j. Endorsing and assisting in the distribution of CMEs containing deceptive
                statements concerning the use of opioids to treat chronic non-cancer pain;


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             k. Developing and disseminating scientific studies that deceptively concluded opioids
                are safe and effective for the long-term treatment of chronic non-cancer pain and
                that opioids improve quality of life, while concealing contrary data;

             l. Directly distributing and assisting in the dissemination of literature written by pro-
                opioid KOLs that contained deceptive statements concerning the use of opioids to
                treat chronic non-cancer pain, including the concept of pseudoaddiction;

             m. Creating, endorsing, and supporting the distribution of patient and prescriber
                education materials that misrepresented the data regarding the safety and efficacy
                of opioids for the long-term treatment of chronic non-cancer pain, including known
                rates of abuse and addiction and the lack of validation for long-term efficacy; and

             n. Making deceptive statements concerning the use of opioids to treat chronic non-
                cancer pain to prescribers through in-person detailing.

       155. Defendant Janssen made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

             a. Creating, sponsoring, and assisting in the distribution of patient education materials
                that contained deceptive statements;

             b. Directly disseminating deceptive statements through internet sites over which
                Janssen exercised final editorial control and approval stating that opioids are safe
                and effective for the long-term treatment of chronic non-cancer pain and that
                opioids improve quality of life, while concealing contrary data;

             c. Disseminating deceptive statements concealing the true risk of addiction and
                promoting the deceptive concept of pseudoaddiction through internet sites over
                which Janssen exercised final editorial control and approval;

             d. Promoting opioids for the treatment of conditions for which Janssen knew, due to
                the scientific studies it conducted, that opioids were not efficacious and concealing
                this information;

             e. Sponsoring, directly distributing, and assisting in the dissemination of patient
                education publications over which Janssen exercised final editorial control and
                approval, which presented an unbalanced treatment of the long-term and dose
                dependent risks of opioids versus NSAIDs;

             f. Providing significant financial support to pro-opioid KOLs, who made deceptive
                statements concerning the use of opioids to treat chronic non-cancer pain;

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           g. Providing necessary financial support to pro-opioid pain organizations that made
              deceptive statements, including in patient education materials, concerning the use
              of opioids to treat chronic non-cancer pain;

           h. Targeting the elderly by assisting in the distribution of guidelines that contained
              deceptive statements concerning the use of opioids to treat chronic non-cancer pain
              and misrepresented the risks of opioid addiction in this population;

           i. Targeting the elderly by sponsoring, directly distributing, and assisting in the
              dissemination of patient education publications targeting this population that
              contained deceptive statements about the risks of addiction and the adverse effects
              of opioids, and made false statements that opioids are safe and effective for the
              long-term treatment of chronic non-cancer pain and improve quality of life, while
              concealing contrary data;

           j. Endorsing and assisting in the distribution of CMEs containing deceptive
              statements concerning the use of opioids to treat chronic non-cancer pain;

           k. Directly distributing and assisting in the dissemination of literature written by pro-
              opioid KOLs that contained deceptive statements concerning the use of opioids to
              treat chronic non-cancer pain, including the concept of pseudoaddiction;

           l. Creating, endorsing, and supporting the distribution of patient and prescriber
              education materials that misrepresented the data regarding the safety and efficacy
              of opioids for the long-term treatment of chronic non-cancer pain, including known
              rates of abuse and addiction and the lack of validation for long-term efficacy;

           m. Targeting veterans by sponsoring and disseminating patient education marketing
              materials that contained deceptive statements concerning the use of opioids to treat
              chronic non-cancer pain; and

           n. Making deceptive statements concerning the use of opioids to treat chronic non-
              cancer pain to prescribers through in-person detailing.

       156. Defendant Cephalon made and/or disseminated untrue, false and deceptive

statements, and concealed material facts in such a way to make their statements deceptive,

including, but not limited to, the following:

           a. Creating, sponsoring, and assisting in the distribution of patient education materials
              that contained deceptive statements;

           b. Sponsoring and assisting in the distribution of publications that promoted the
              deceptive concept of pseudoaddiction, even for high-risk patients;

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             c. Providing significant financial support to pro-opioid KOL doctors who made
                deceptive statements concerning the use of opioids to treat chronic non-cancer pain
                and breakthrough chronic non-cancer pain;

             d. Developing and disseminating scientific studies that deceptively concluded opioids
                are safe and effective for the long-term treatment of chronic non-cancer pain in
                conjunction with Cephalon’s potent rapid-onset opioids;

             e. Providing needed financial support to pro-opioid pain organizations that made
                deceptive statements, including in patient education materials, concerning the use
                of opioids to treat chronic non-cancer pain;

             f. Endorsing and assisting in the distribution of CMEs containing deceptive
                statements concerning the use of opioids to treat chronic non-cancer pain;

             g. Endorsing and assisting in the distribution of CMEs containing deceptive
                statements concerning the use of Cephalon’s rapid-onset opioids;

             h. Directing its marketing of Cephalon’s rapid-onset opioids to a wide range of
                doctors, including general practitioners, neurologists, sports medicine specialists,
                and workers’ compensation programs, serving chronic pain patients;

             i. Making deceptive statements concerning the use of Cephalon’s opioids to treat
                chronic non-cancer pain to prescribers through in-person detailing and speakers’
                bureau events, when such uses are unapproved and unsafe; and

             j. Making deceptive statements concerning the use of opioids to treat chronic non-
                cancer pain to prescribers through in-person detailing and speakers’ bureau events.

       157. Defendant Actavis made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

             a. Making deceptive statements concerning the use of opioids to treat chronic non-
                cancer pain to prescribers through in-person detailing;

             b. Creating and disseminating advertisements that contained deceptive statements that
                opioids are safe and effective for the long-term treatment of chronic non-cancer
                pain and that opioids improve quality of life;

             c. Creating and disseminating advertisements that concealed the risk of addiction in
                the long-term treatment of chronic, non-cancer pain; and


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           d. Developing and disseminating scientific studies that deceptively concluded opioids
              are safe and effective for the long-term treatment of chronic non-cancer pain and
              that opioids improve quality of life while concealing contrary data.

             5. The Manufacturer Defendants Fraudulently Concealed Their Misconduct.

       158. The Manufacturer Defendants, both individually and collectively, made, promoted,

and profited from their misrepresentations about the risks and benefits of opioids for chronic pain

even though they knew that their misrepresentations were false and deceptive. The history of

opioids, as well as research and clinical experience establish that opioids are highly addictive and

are responsible for a long list of very serious adverse outcomes. The FDA warned Defendants of

this, and Defendants had access to scientific studies, detailed prescription data, and reports of

adverse events, including reports of addiction, hospitalization, and death – all of which clearly

described the harm from long-term opioid use and that patients were suffering from addiction,

overdose, and death in alarming numbers. More recently, the FDA and CDC have issued

pronouncements, based on medical evidence, that conclusively expose the falsity of Defendants’

misrepresentations, and Endo and Purdue have recently entered agreements in New York

prohibiting them from making some of the same misrepresentations described in this Complaint.

       159. At all times relevant to this Complaint, the Manufacturer Defendants took steps to

avoid detection of and to fraudulently conceal their deceptive marketing and unlawful, unfair, and

fraudulent conduct. For example, the Manufacturer Defendants disguised their role in the

deceptive marketing of chronic opioid therapy by funding and working through third parties like

Front Groups and KOLs. The Manufacturer Defendants purposefully hid behind the assumed

credibility of these individuals and organizations and relied on them to vouch for the accuracy and

integrity of the Manufacturer Defendants’ false and deceptive statements about the risks and

benefits of long-term opioid use for chronic pain. Defendants also never disclosed their role in



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shaping, editing, and approving the content of information and materials disseminated by these

third parties. The Manufacturer Defendants exerted considerable influence on these promotional

and “educational” materials in emails, correspondence, and meetings with KOLs, Front Groups,

and public relations companies that were not, and have not yet become, public. For example,

PainKnowledge.org, which is run by the NIPC, did not disclose Endo’s involvement. Other

Manufacturer Defendants, such as Purdue and Janssen, ran similar websites that masked their own

role.

        160. Finally, the Manufacturer Defendants manipulated their promotional materials and

the scientific literature to make it appear that these documents were accurate, truthful, and

supported by objective evidence when they were not. The Manufacturer Defendants distorted the

meaning or import of studies they cited and offered them as evidence for propositions the studies

did not support. The Manufacturer Defendants invented “pseudoaddiction” and promoted it to an

unsuspecting medical community. The Manufacturer Defendants provided the medical community

with false and misleading information about ineffectual strategies to avoid or control opioid

addiction. The Manufacturer Defendants recommended to the medical community that dosages be

increased, without disclosing the risks. The Manufacturer Defendants spent millions of dollars

over a period of years on a misinformation campaign aimed at highlighting opioids’ alleged

benefits, disguising the risks, and promoting sales. The lack of support for the Manufacturer

Defendants’ deceptive messages was not apparent to medical professionals who relied upon them

in making treatment decisions, nor could it have been detected by the Plaintiff or Plaintiff’s

Community. Thus, the Manufacturer Defendants successfully concealed from the medical

community, patients, and health care payors facts sufficient to arouse suspicion of the claims that

the Plaintiff now asserts. Plaintiff did not know of the existence or scope of the Manufacturer



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Defendants’ industry-wide fraud and could not have acquired such knowledge earlier through the

exercise of reasonable diligence.

       C. THE DISTRIBUTOR DEFENDANTS’ UNLAWFUL DISTRIBUTION OF
          OPIOIDS.

       161. The Distributor Defendants owe a duty under both federal law (21 U.S.C. § 823, 21

CFR § 1301.74) and Maryland law (see e.g. MD. CODE REGS. 10.19.03.12) to monitor, detect,

investigate, refuse to fill, and report suspicious orders of prescription opioids originating from

Plaintiff’s Community as well as those orders which the Distributor Defendants knew or should

have known were likely to be diverted into Plaintiff’s Community.

       162. The foreseeable harm from a breach of these duties is the diversion of prescription

opioids for nonmedical purposes.

       163. Each Distributor Defendant repeatedly and purposefully breached its duties under

state and federal law. Such breaches are a direct and proximate causes of the widespread diversion

of prescription opioids for nonmedical purposes into Plaintiff’s Community.

       164. The unlawful diversion of prescription opioids is a direct and proximate cause and/or

substantial contributing factor to of the opioid epidemic, prescription opioid abuse, addiction,

morbidity and mortality in the State and in Plaintiff’s Community. This diversion and the epidemic

are direct causes of harms for which Plaintiff seeks to recover here.

       165. The opioid epidemic in the State, including inter alia in Plaintiff’s Community,

remains an immediate hazard to public health and safety.

       166. The opioid epidemic in Plaintiff’s Community is a temporary and continuous public

nuisance and remains unabated.




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       167. The Distributor Defendants’ intentionally continued their conduct, as alleged herein,

with knowledge that such conduct was creating the opioid nuisance and causing the harms and

damages alleged herein.

             1. Wholesale Drug Distributors Have a Duty under State and Federal Law to
                Guard Against, and Report, Unlawful Diversion and to Report and Prevent
                Suspicious Orders.

       168. As under federal law, opioids are a Schedule II controlled substance under Maryland

law. See MD. CODE ANN., CRIM. LAW § 5-403. Opioids are categorized as “Schedule II” drugs

because they have a “high potential for abuse” and the potential to cause “severe psychic or

physical dependence” and/or “severe psychological . . . dependence.” 21 U.S.C. § 812(b)(2)(A,

C).

       169. As wholesale drug distributors, each Defendant was required under Maryland law to

first be registered by the Maryland Department of Health. MD. CODE ANN., CRIM. LAW §§ 5-301,

5-303; MD. CODE REGS. 10.19.03.02. To receive and maintain this registration, each of the

Defendant Wholesale Distributors assumed a duty to comply with state and federal laws and

regulations. MD. CODE ANN., CRIM. LAW § 5-303(a) & (b)(2) (Department shall register applicants

to distribute controlled substances unless the registration is inconsistent with the public interest

and Department considers “compliance with applicable federal, State and local law” in

determining the public interest); MD. CODE REGS. 10.19.03.01.

       170. The Maryland Department of Health has the authority to “deny . . . suspend or revoke

a registration” issued to Wholesale Distributes who have, inter alia, “been convicted of a crime

under federal law or the law of any state related to a controlled dangerous substance;” “surrendered

federal registration or had federal registration suspended or revoked” or violated the Maryland

Controlled Dangerous Substances Act. MD. CODE ANN., CRIM. LAW § 5-307.



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       171. Each Distributor Defendant was further required to register with the DEA, pursuant

to the federal Controlled Substance Act. See 21 U.S.C. § 823(b), (e); 28 C.F.R. § 0.100. Each

Distributor Defendant is a “registrant” as a wholesale distributor in the chain of distribution of

Schedule II controlled substances with a duty to comply with all security requirements imposed

under that statutory scheme.

       172. Each Distributor Defendant has an affirmative duty under federal and Maryland law

to act as a gatekeeper guarding against the diversion of the highly addictive, dangerous opioid

drugs. Federal law requires that Distributors of Schedule II drugs, including opioids, must maintain

“effective control against diversion of particular controlled substances into other than legitimate

medical, scientific, and industrial channels.” 21 U.S.C. §§ 823(b)(1). Maryland law requires that

all “registrants shall provide effective controls and procedures to guard against theft and unlawful

diversion of controlled substances” with the Department of Health using its own security

requirements as well as federal standards set forth in 21 CFR §§1307.71-1301.77. MD. CODE REGS.

10.19.03.12; see also MD. CODE ANN., CRIM. LAW § 5-303(b)(1).

       173. Federal regulations, incorporated by Maryland law, impose a non-delegable duty

upon wholesale drug distributors to “design and operate a system to disclose to the registrant

suspicious orders of controlled substances. The registrant [distributor] shall inform the Field

Division Office of the Administration in his area of suspicious orders when discovered by the

registrant. Suspicious orders include orders of unusual size, orders deviating substantially from a

normal pattern, and orders of unusual frequency.” 21 C.F.R. § 1301.74(b); MD. CODE REGS.

10.19.03.12(A)(1) (incorporating 21 C.F.R. § 1301.74).

       174. “Suspicious orders” include orders of an unusual size, orders of unusual frequency

or orders deviating substantially from a normal pattern. See 21 CFR 1301.74(b). These criteria are



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disjunctive and are not all inclusive. For example, if an order deviates substantially from a normal

pattern, the size of the order does not matter and the order should be reported as suspicious.

Likewise, a wholesale distributor need not wait for a normal pattern to develop over time before

determining whether a particular order is suspicious. The size of an order alone, regardless of

whether it deviates from a normal pattern, is enough to trigger the wholesale distributor’s

responsibility to report the order as suspicious. The determination of whether an order is suspicious

depends not only on the ordering patterns of the particular customer but also on the patterns of the

entirety of the wholesale distributor’s customer base and the patterns throughout the relevant

segment of the wholesale distributor industry.

          175. In addition to reporting all suspicious orders, distributors must also stop shipment on

any order which is flagged as suspicious and only ship orders which were flagged as potentially

suspicious if, after conducting due diligence, the distributor can determine that the order is not

likely to be diverted into illegal channels. See Southwood Pharm., Inc., 72 Fed. Reg. 36,487,

36,501 (Drug Enf’t Admin. July 3, 2007); Masters Pharmaceutical, Inc. v. Drug Enforcement

Administration, No. 15-11355 (D.C. Cir. June 30, 2017). Regardless, all flagged orders must be

reported. Id.

          176. These prescription drugs are regulated for the purpose of providing a “closed” system

intended to reduce the widespread diversion of these drugs out of legitimate channels into

the illicit market, while at the same time providing the legitimate drug industry with a unified

approach to narcotic and dangerous drug control. 131




131
      See 1970 U.S.C.C.A.N. 4566, 4571-72.



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         177. Different entities supervise the discrete links in the chain that separate a consumer

from a controlled substance. Statutes and regulations define each participant’s role and

responsibilities. 132

         178. As the DEA advised the Distributor Defendants in a letter to them dated September

27, 2006, wholesale distributors are “one of the key components of the distribution chain. If the

closed system is to function properly … distributors must be vigilant in deciding whether a

prospective customer can be trusted to deliver controlled substances only for lawful purposes. This

responsibility is critical, as … the illegal distribution of controlled substances has a substantial and

detrimental effect on the health and general welfare of the American people.” 133

         179. The Distributor Defendants have admitted that they are responsible for reporting

suspicious orders. 134

         180. The DEA sent a letter to each of the Distributor Defendants on September 27, 2006,

warning that it would use its authority to revoke and suspend registrations when appropriate. The



132
    Brief for Healthcare Distribution Management Association and National Association of Chain Drug Stores as
Amici Curiae in Support of Neither Party, Masters Pharm., Inc. v. U.S. Drug Enf’t Admin. (No. 15-1335) (D.C. Cir.
Apr. 4, 2016), 2016 WL 1321983, at *22 [hereinafter Brief for HDMA and NACDS]. The Healthcare Distribution
Management Association (HDMA or HMA)—now known as the Healthcare Distribution Alliance (HDA)—is a
national, not-for-profit trade association that represents the nation’s primary, full-service healthcare distributors
whose membership includes, among others: AmerisourceBergen Drug Corporation, Cardinal Health, Inc., and
McKesson Corporation. See generally HDA, About, https://www.healthcaredistribution.org/about (last visited Aug.
21, 2017). The National Association of Chain Drug Stores (NACDS) is a national, not-for-profit trade association
that represents traditional drug stores and supermarkets and mass merchants with pharmacies whose membership
includes, among others: Walgreen Company, CVS Health, Rite Aid Corporation and Walmart. See generally
NACDS, Mission, https://www.nacds.org/ about/mission/ (last visited Aug. 21, 2017).
133
    See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of Diversion Control, Drug. Enf’t
Admin., U.S. Dep’t of Justice, to Cardinal Health (Sept. 27, 2006) [hereinafter Rannazzisi Letter] (“This letter is
being sent to every commercial entity in the United States registered with the Drug Enforcement Agency (DEA) to
distribute controlled substances. The purpose of this letter is to reiterate the responsibilities of controlled substance
distributors in view of the prescription drug abuse problem our nation currently faces.”), filed in Cardinal Health,
Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-51.
134
   See Brief for HDMA and NACDS, 2016 WL 1321983, at *4 (“[R]egulations . . . in place for more than 40 years
require distributors to report suspicious orders of controlled substances to DEA based on information readily
available to them (e.g., a pharmacy’s placement of unusually frequent or large orders).”).



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letter expressly states that a distributor, in addition to reporting suspicious orders, has a “statutory

responsibility to exercise due diligence to avoid filling suspicious orders that might be diverted

into other than legitimate medical, scientific, and industrial channels.” 135 The letter also instructs

that “distributors must be vigilant in deciding whether a prospective customer can be trusted to

deliver controlled substances only for lawful purposes.” 136 The DEA warns that “even just one

distributor that uses its DEA registration to facilitate diversion can cause enormous harm.” 137

            181. The DEA sent a second letter to each of the Distributor Defendants on December 27,

2007. 138 This letter reminds the Defendants of their statutory and regulatory duties to “maintain

effective controls against diversion” and “design and operate a system to disclose to the registrant

suspicious orders of controlled substances.” 139 The letter further explains:

            The regulation also requires that the registrant inform the local DEA Division
            Office of suspicious orders when discovered by the registrant. Filing a monthly
            report of completed transactions (e.g., “excessive purchase report” or “high unity
            purchases”) does not meet the regulatory requirement to report suspicious orders.
            Registrants are reminded that their responsibility does not end merely with the
            filing of a suspicious order report. Registrants must conduct an independent
            analysis of suspicious orders prior to completing a sale to determine whether the
            controlled substances are likely to be diverted from legitimate channels. Reporting
            an order as suspicious will not absolve the registrant of responsibility if the
            registrant knew, or should have known, that the controlled substances were being
            diverted.

            The regulation specifically states that suspicious orders include orders of unusual
            size, orders deviating substantially from a normal pattern, and orders of an unusual
            frequency. These criteria are disjunctive and are not all inclusive. For example, if
            an order deviates substantially from a normal pattern, the size of the order does not
            matter and the order should be reported as suspicious. Likewise, a registrant need
            not wait for a “normal pattern” to develop over time before determining whether a
135
      Rannazzisi Letter, at 2.
136
      Id. at 1.
137
      Id. at 2.
138
  See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of Diversion Control, Drug. Enf’t Admin.,
U.S. Dep’t of Justice, to Cardinal Health (Dec. 27, 2007), filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-
00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-8.
139
      Id.

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            particular order is suspicious. The size of an order alone, whether or not it deviates
            from a normal pattern, is enough to trigger the registrant’s responsibility to report
            the order as suspicious. The determination of whether an order is suspicious
            depends not only on the ordering patterns of the particular customer, but also on
            the patterns of the registrant’s customer base and the patterns throughout the
            segment of the regulated industry.

            Registrants that rely on rigid formulas to define whether an order is suspicious may
            be failing to detect suspicious orders. For example, a system that identifies orders
            as suspicious only if the total amount of a controlled substance ordered during one
            month exceeds the amount ordered the previous month by a certain percentage or
            more is insufficient. This system fails to identify orders placed by a pharmacy if
            the pharmacy placed unusually large orders from the beginning of its relationship
            with the distributor. Also, this system would not identify orders as suspicious if the
            order were solely for one highly abused controlled substance if the orders never
            grew substantially. Nevertheless, ordering one highly abused controlled substance
            and little or nothing else deviates from the normal pattern of what pharmacies
            generally order.

            When reporting an order as suspicious, registrants must be clear in their
            communication with DEA that the registrant is actually characterizing an order as
            suspicious. Daily, weekly, or monthly reports submitted by registrant indicating
            “excessive purchases” do not comply with the requirement to report suspicious
            orders, even if the registrant calls such reports “suspicious order reports.”

            Lastly, registrants that routinely report suspicious orders, yet fill these orders
            without first determining that order is not being diverted into other than legitimate
            medical, scientific, and industrial channels, may be failing to maintain effective
            controls against diversion. Failure to maintain effective controls against diversion
            is inconsistent with the public interest as that term is used in 21 USC 823 and 824,
            and may result in the revocation of the registrant’s DEA Certificate of
            Registration. 140

Finally, the DEA letter references the Revocation of Registration issued in Southwood

Pharmaceuticals, Inc., 72 Fed. Reg. 36,487-01 (July 3, 2007), which discusses the obligation to

report suspicious orders and “some criteria to use when determining whether an order is

suspicious.” 141




140
      Id.
141
      Id.



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          182. The Distributor Defendants admit that they “have not only statutory and regulatory

responsibilities to detect and prevent diversion of controlled prescription drugs, but undertake such

efforts as responsible members of society.” 142

          183. The Distributor Defendants knew they were required to monitor, detect, and halt

suspicious orders. Industry compliance guidelines established by the Healthcare Distribution

Management Association, the trade association of pharmaceutical distributors, explain that

distributors are “[a]t the center of a sophisticated supply chain” and therefore “are uniquely situated

to perform due diligence in order to help support the security of the controlled substances they

deliver to their customers.” The guidelines set forth recommended steps in the “due diligence”

process, and note in particular: If an order meets or exceeds a distributor’s threshold, as defined in

the distributor’s monitoring system, or is otherwise characterized by the distributor as an order of

interest, the distributor should not ship to the customer, in fulfillment of that order, any units of

the specific drug code product as to which the order met or exceeded a threshold or as to which

the order was otherwise characterized as an order of interest. 143

          184. Each of the Distributor Defendants sold prescription opioids, including hydrocodone

and/or oxycodone, to retailers in Plaintiff’s Community and/or to retailers from which Defendants

knew prescription opioids were likely to be diverted to Plaintiff’s Community.

          185. Each Distributor Defendant owes a duty to monitor and detect suspicious orders of

prescription opioids.




142
      See Brief of HDMA, 2012 WL 1637016, at *2.
143
   Healthcare Distribution Management Association (HDMA) Industry Compliance Guidelines: Reporting
Suspicious Orders and Preventing Diversion of Controlled Substances, filed in Cardinal Health, Inc. v. Holder, No.
12-5061 (D.C. Cir. Mar. 7, 2012), Doc. No. 1362415 (App’x B).

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        186. Each Distributor Defendant owes a duty under federal and state law to investigate

and refuse suspicious orders of prescription opioids.

        187. Each Distributor Defendant owes a duty under federal and state law to report

suspicious orders of prescription opioids.

        188. Each Distributor Defendant owes a duty under federal and state law to prevent the

diversion of prescription opioids into illicit markets in the State and Plaintiff’s Community.

        189. The foreseeable harm resulting from a breach of these duties is the diversion of

prescription opioids for nonmedical purposes and subsequent plague of opioid addiction.

        190. The foreseeable harm resulting from the diversion of prescription opioids for

nonmedical purposes is abuse, addiction, morbidity and mortality in Plaintiff’s Community and

the damages caused thereby.

               2. The Distributor Defendants Breached their Duties.

        191. Because distributors handle such large volumes of controlled substances, and are the

first major line of defense in the movement of legal pharmaceutical controlled substances from

legitimate channels into the illicit market, it is incumbent on distributors to maintain effective

controls to prevent diversion of controlled substances. Should a distributor deviate from these

checks and balances, the closed system collapses. 144

        192. The sheer volume of prescription opioids distributed to pharmacies in the Plaintiff’s

Community, and/or to pharmacies from which the Distributor Defendants knew the opioids were

likely to be diverted into Plaintiff’s Community, is excessive for the medical need of the




144
   See Rannazzisi Decl. ¶ 10, filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10,
2012), ECF No. 14-2.



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community and facially suspicious. Some red flags are so obvious that no one who engages in the

legitimate distribution of controlled substances can reasonably claim ignorance of them. 145

        193. The Distributor Defendants failed to report “suspicious orders” originating from

Plaintiff’s Community, or which the Distributor Defendants knew were likely to be diverted to

Plaintiff’s Community, to the federal and state authorities, including the DEA and/or the state

Board of Pharmacy.

        194. The Distributor Defendants unlawfully filled suspicious orders of unusual size,

orders deviating substantially from a normal pattern and/or orders of unusual frequency in

Plaintiff’s Community, and/or in areas from which the Distributor Defendants knew opioids were

likely to be diverted to Plaintiff’s Community.

        195. The Distributor Defendants breached their duty to monitor, detect, investigate, refuse

and report suspicious orders of prescription opiates originating from Plaintiff’s Community, and/or

in areas from which the Distributor Defendants knew opioids were likely to be diverted to

Plaintiff’s Community.

        196. The Distributor Defendants breached their duty to maintain effective controls against

diversion of prescription opiates into other than legitimate medical, scientific, and industrial

channels.

        197. The Distributor Defendants breached their duty to “design and operate a system to

disclose to the registrant suspicious orders of controlled substances” and failed to inform the

authorities including the DEA of suspicious orders when discovered, in violation of their duties

under federal and state law.




145
    Masters Pharmaceuticals, Inc., 80 Fed. Reg. 55,418-01, 55,482 (Sept. 15, 2015) (citing Holiday CVS, L.L.C.,
d/b/a CVS/Pharmacy Nos. 219 and 5195, 77 Fed. Reg. 62,316, 62,322 (2012)).

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           198. The Distributor Defendants breached their duty to exercise due diligence to avoid

filling suspicious orders that might be diverted into channels other than legitimate medical,

scientific and industrial channels. 146

           199. The federal and state laws at issue here are public safety laws.

           200. The Distributor Defendants’ violations of public safety statutes constitute prima facie

evidence of negligence under State law.

           201. The Distributor Defendants supplied prescription opioids to obviously suspicious

physicians and pharmacies, enabled the illegal diversion of opioids, aided criminal activity, and

disseminated massive quantities of prescription opioids into the black market.

           202. The unlawful conduct by the Distributor Defendants is purposeful and intentional.

The Distributor Defendants refuse to abide by the duties imposed by federal and state law which

are required to legally acquire and maintain a license to distribute prescription opiates.

           203. The Distributor Defendants acted with actual malice in breaching their duties, i.e.,

they have acted with a conscious disregard for the rights and safety of other persons, and said

actions have a great probability of causing substantial harm.

           204. The Distributor Defendants’ repeated shipments of suspicious orders, over an

extended period of time, in violation of public safety statutes, and without reporting the suspicious

orders to the relevant authorities demonstrates wanton, willful, or reckless conduct or criminal

indifference to civil obligations affecting the rights of others and justifies an award of punitive

damages.




146
      See Cardinal Health, Inc. v. Holder, 846 F. Supp. 2d 203, 206 (D.D.C. 2012).

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                    3. The Distributor Defendants Have Sought to Avoid and Have Misrepresented
                       their Compliance with their Legal Duties.

           205. The Distributor Defendants have repeatedly misrepresented their compliance with

their legal duties under state and federal law and have wrongfully and repeatedly disavowed those

duties in an effort to mislead regulators and the public regarding the Distributor Defendants’

compliance with their legal duties.

           206. Distributor Defendants have refused to recognize any duty beyond reporting

suspicious orders. In Masters Pharmaceuticals, the HDMA, a trade association run the Distributor

Defendants, and the NACDS submitted amicus briefs regarding the legal duty of wholesale

distributors. Inaccurately denying the legal duties that the wholesale drug industry has been

tragically recalcitrant in performing, they argued as follows:

                         a. The Associations complained that the “DEA has required
                            distributors not only to report suspicious orders, but to investigate
                            orders (e.g., by interrogating pharmacies and physicians) and take
                            action to halt suspicious orders before they are filled.” 147

                         b. The Associations argued that, “DEA now appears to have changed
                            its position to require that distributors not only report suspicious
                            orders, but investigate and halt suspicious orders. Such a change in
                            agency position must be accompanied by an acknowledgment of the
                            change and a reasoned explanation for it. In other words, an agency
                            must display awareness that it is changing position and show that
                            there are good reasons for the new policy. This is especially
                            important here, because imposing intrusive obligation on
                            distributors threatens to disrupt patient access to needed prescription
                            medications.” 148

                         c. The Associations alleged (inaccurately) that nothing “requires
                            distributors to investigate the legitimacy of orders, or to halt
                            shipment of any orders deemed to be suspicious.” 149


147
      Brief for HDMA and NACDS, 2016 WL 1321983, at *4–5.
148
      Id. at *8 (citations and quotation marks omitted).
149
      Id. at *14.



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                       d. The Association complained that the purported “practical
                          infeasibility of requiring distributors to investigate and halt
                          suspicious orders (as well as report them) underscores the
                          importance of ensuring that DEA has complied with the APA before
                          attempting to impose such duties.” 150

                       e. The Associations alleged (inaccurately) that “DEA’s regulations []
                          sensibly impose[] a duty on distributors simply to report suspicious
                          orders, but left it to DEA and its agents to investigate and halt
                          suspicious orders.” 151

                       f. Also inaccurately, the Associations argued that, “[i]mposing a duty
                          on distributors – which lack the patient information and the
                          necessary medical expertise – to investigate and halt orders may
                          force distributors to take a shot-in-the-dark approach to complying
                          with DEA’s demands.” 152

           207. The positions taken by the trade groups is emblematic of the position taken by the

Distributor Defendants in a futile attempt to deny their legal obligations to prevent diversion of

the dangerous drugs. 153

           208. The Court of Appeals for the District of Columbia recently issued its opinion

affirming that a wholesale drug distributor does, in fact, have duties beyond reporting. Masters

Pharm., Inc. v. Drug Enf’t Admin., 861 F.3d 206 (D.C. Cir. 2017). The D.C. Circuit Court upheld

the revocation of Master Pharmaceutical’s license and determined that DEA regulations require

that in addition to reporting suspicious orders, distributors must “decline to ship the order, or

conduct some ‘due diligence’ and—if it is able to determine that the order is not likely to be

diverted into illegal channels—ship the order.” Id. at 212. Master Pharmaceutical was in violation

of legal requirements because it failed to conduct necessary investigations and filled suspicious



150
      Id. at *22.
151
      Id. at *24–25.
152
      Id. at 26.
153
    See Brief of HDMA, 2012 WL 1637016, at *3 (arguing the wholesale distributor industry “does not know the
rules of the road because” they claim (inaccurately) that the “DEA has not adequately explained them”).

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orders. Id. at 218–19, 226. A distributor’s investigation must dispel all the red flags giving rise to

suspicious circumstance prior to shipping a suspicious order. Id. at 226. The Circuit Court also

rejected the argument made by the HDMA and NACDS (quoted above), that, allegedly, the DEA

had created or imposed new duties. Id. at 220.

            209. Wholesale Distributor McKesson has recently been forced to specifically admit to

breach of its duties to monitor, report, and prevent suspicious orders. Pursuant to an Administrative

Memorandum of Agreement (“2017 Agreement”) entered into between McKesson and the DEA

in January 2017, McKesson admitted that, at various times during the period from January 1, 2009

through the effective date of the Agreement (January 17, 2017) it “did not identify or report to

[the] DEA certain orders placed by certain pharmacies which should have been detected by

McKesson as suspicious based on the guidance contained in the DEA Letters.” 154 Further, the

2017 Agreement specifically finds that McKesson “distributed controlled substances to

pharmacies even though those McKesson Distribution Centers should have known that the

pharmacists practicing within those pharmacies had failed to fulfill their corresponding

responsibility to ensure that controlled substances were dispensed pursuant to prescriptions issued

for legitimate medical purposes by practitioners acting in the usual course of their professional

practice, as required by 21 C.F.R § 1306.04(a).” 155 McKesson admitted that, during this time

period, it “failed to maintain effective controls against diversion of particular controlled substances

into other than legitimate medical, scientific and industrial channels by sales to certain of its

customers in violation of the CSA and the CSA’s implementing regulations, 21 C.F.R. Part 1300



154
    See Administrative Memorandum of Agreement between the U.S. Dep’t of Justice, the Drug Enf’t Admin., and
the McKesson Corp. (Jan. 17, 2017), https://www.justice.gov/opa/press-release/file/928476/download.
155
      Id. at 4.



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et seq., at the McKesson Distribution Centers” including the McKesson Distribution Center

located in “Washington Courthouse, Ohio.” 156 Due to these violations, McKesson agreed that its

authority to distribute controlled substances from the Washington Courthouse, Ohio facility

(among other facilities) would be partially suspended. 157

            210. The 2017 Memorandum of Agreement followed a 2008 Settlement Agreement in

which McKesson also admitted failure to report suspicious orders of controlled substances to the

DEA. 158 In the 2008 Settlement Agreement, McKesson “recognized that it had a duty to monitor

its sales of all controlled substances and report suspicious orders to DEA,” but had failed to do

so. 159 The 2017 Memorandum of Agreement documents that McKesson continued to breach its

admitted duties by “fail[ing] to properly monitor its sales of controlled substances and/or report

suspicious orders to DEA, in accordance with McKesson’s obligations.” 160 As a result of these

violations, McKesson was fined and required to pay to the United States $150,000,000. 161

            211. Even though McKesson had been sanctioned in 2008 for failure to comply with its

legal obligations regarding controlling diversion and reporting suspicious orders, and even though

McKesson had specifically agreed in 2008 that it would no longer violate those obligations,

McKesson continued to violate the laws in contrast to its written agreement not to do so.




156
      Id.
157
      Id. at 6.
158
      Id. at 4.
159
      Id.
160
    Id.; see also Settlement Agreement and Release between the U.S. and McKesson Corp., at 5 (Jan. 17, 2017)
[hereinafter 2017 Settlement Agreement and Release] (“McKesson acknowledges that, at various times during the
Covered Time Period [2009-2017], it did not identify or report to DEA certain orders placed by certain pharmacies,
which should have been detected by McKesson as suspicious, in a manner fully consistent with the requirements set
forth in the 2008 MOA.”), https://www.justice.gov/opa/press-release/file/928471/download.
161
      See 2017 Settlement Agreement and Release, at 6.



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            212. Because of the Distributor Defendants’ refusal to abide by their legal obligations, the

DEA has repeatedly taken administrative action to attempt to force compliance. For example, in

May 2014, the United States Department of Justice, Office of the Inspector General, Evaluation

and Inspections Divisions, reported that the DEA issued final decisions in 178 registrant actions

between 2008 and 2012. 162 The Office of Administrative Law Judges issued a recommended

decision in a total of 117 registrant actions before the DEA issued its final decision, including 76

actions involving orders to show cause and 41 actions involving immediate suspension orders. 163

These actions include the following:

               a. On April 24, 2007, the DEA issued an Order to Show Cause and Immediate
                  Suspension Order against the AmerisourceBergen Orlando, Florida
                  distribution center (“Orlando Facility”) alleging failure to maintain
                  effective controls against diversion of controlled substances. On June 22,
                  2007, AmerisourceBergen entered into a settlement that resulted in the
                  suspension of its DEA registration;

               b. On November 28, 2007, the DEA issued an Order to Show Cause and
                  Immediate Suspension Order against the Cardinal Health Auburn,
                  Washington Distribution Center (“Auburn Facility”) for failure to maintain
                  effective controls against diversion of hydrocodone;

               c. On December 5, 2007, the DEA issued an Order to Show Cause and
                  Immediate Suspension Order against the Cardinal Health Lakeland, Florida
                  Distribution Center (“Lakeland Facility”) for failure to maintain effective
                  controls against diversion of hydrocodone;

               d. On December 7, 2007, the DEA issued an Order to Show Cause and
                  Immediate Suspension Order against the Cardinal Health Swedesboro, New
                  Jersey Distribution Center (“Swedesboro Facility”) for failure to maintain
                  effective controls against diversion of hydrocodone;

               e. On January 30, 2008, the DEA issued an Order to Show Cause and
                  Immediate Suspension Order against the Cardinal Health Stafford, Texas

162
   Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.
163
      Id.

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              Distribution Center (“Stafford Facility”) for failure to maintain effective
              controls against diversion of hydrocodone;

           f. On May 2, 2008, McKesson Corporation entered into an Administrative
              Memorandum of Agreement (“2008 MOA”) with the DEA which provided
              that McKesson would “maintain a compliance program designed to detect
              and prevent the diversion of controlled substances, inform DEA of
              suspicious orders required by 21 C.F.R. § 1301.74(b), and follow the
              procedures established by its Controlled Substance Monitoring Program”;

           g. On September 30, 2008, Cardinal Health entered into a Settlement and
              Release Agreement and Administrative Memorandum of Agreement with
              the DEA related to its Auburn Facility, Lakeland Facility, Swedesboro
              Facility and Stafford Facility. The document also referenced allegations by
              the DEA that Cardinal failed to maintain effective controls against the
              diversion of controlled substances at its distribution facilities located in
              McDonough, Georgia (“McDonough Facility”), Valencia, California
              (“Valencia Facility”) and Denver, Colorado (“Denver Facility”);

           h. On February 2, 2012, the DEA issued an Order to Show Cause and
              Immediate Suspension Order against the Cardinal Health Lakeland, Florida
              Distribution Center (“Lakeland Facility”) for failure to maintain effective
              controls against diversion of oxycodone;

           i. On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to
              the DEA to resolve the civil penalty portion of the administrative action
              taken against its Lakeland, Florida Distribution Center; and

           j. On January 5, 2017, McKesson Corporation entered into an Administrative
              Memorandum Agreement with the DEA wherein it agreed to pay a $150
              million civil penalty for violation of the 2008 MOA as well as failure to
              identify and report suspicious orders at its facilities in Aurora CO, Aurora
              IL, Delran NJ, LaCrosse WI, Lakeland FL, Landover MD, La Vista NE,
              Livonia MI, Methuen MA, Santa Fe Springs CA, Washington Courthouse
              OH and West Sacramento CA.

       213. Rather than abide by their non-delegable duties under public safety laws, the

Distributor Defendants, individually and collectively through trade groups in the industry,

pressured the U.S. Department of Justice to “halt” prosecutions and lobbied Congress to strip the

DEA of its ability to immediately suspend distributor registrations. The result was a “sharp drop

                                               83
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in enforcement actions” and the passage of the “Ensuring Patient Access and Effective Drug

Enforcement Act” which, ironically, raised the burden for the DEA to revoke a distributor’s license

from “imminent harm” to “immediate harm” and provided the industry the right to “cure” any

violations of law before a suspension order can be issued. 164

        214. In addition to taking actions to limit regulatory prosecutions and suspensions, the

Distributor Defendants undertook to fraudulently convince the public that they were complying

with their legal obligations, including those imposed by licensing regulations. Through such

statements, the Distributor Defendants attempted to assure the public they were working to curb

the opioid epidemic.

        215. For example, a Cardinal Health executive claimed that it uses “advanced analytics”

to monitor its supply chain, and represented that it was being “as effective and efficient as possible

in constantly monitoring, identifying, and eliminating any outside criminal activity.” 165 Given the

sales volumes and the company’s history of violations, this executive was either not telling the

truth, or, if Cardinal Health had such a system, it ignored the results.

        216. Similarly, Defendant McKesson publicly stated that it has a “best-in-class controlled

substance monitoring program to help identify suspicious orders,” and claimed it is “deeply



164
    See Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid Epidemic
Grew Out of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-slowed-
enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of
DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6, 2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-
slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had No
Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.
165
    Lenny Bernstein et al., How Drugs Intended for Patients Ended Up in the Hands of Illegal Users: “No One Was
Doing Their Job,” Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/how-drugs-intended-
for-patients-ended-up-in-the-hands-of-illegal-users-no-one-was-doing-their-job/2016/10/22/10e79396-30a7-11e6-
8ff7-7b6c1998b7a0_story.html.



                                                      84
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passionate about curbing the opioid epidemic in our country.” 166 Again, given McKesson’s

historical conduct, this statement is either false, or the company ignored outputs of the monitoring

program.

        217. By misleading the public about the effectiveness of their controlled substance

monitoring programs, the Distributor Defendants successfully concealed the facts sufficient to

arouse suspicion of the claims that the Plaintiff now asserts. The Plaintiff did not know of the

existence or scope of Defendants’ industry-wide fraud and could not have acquired such

knowledge earlier through the exercise of reasonable diligence.

        218. Meanwhile, the opioid epidemic rages unabated in the Nation, the State, and in

Plaintiff’s Community.

        219. The epidemic still rages because the fines and suspensions imposed by the DEA do

not change the conduct of the industry. The distributors, including the Distributor Defendants, pay

fines as a cost of doing business in an industry that generates billions of dollars in annual revenue.

They hold multiple DEA registration numbers and when one facility is suspended, they simply

ship from another facility.

        220. The wrongful actions and omissions of the Distributor Defendants which have

caused the diversion of opioids and which have been a substantial contributing factor to and/or

proximate cause of the opioid crisis are alleged in greater detail in Plaintiff’s racketeering

allegations below.




166
   Scott Higham et al., Drug Industry Hired Dozens of Officials from the DEA as the Agency Tried to Curb Opioid
Abuse, Wash. Post, Dec. 22, 2016, https://www.washingtonpost.com/investigations/key-officials-switch-sides-from-
dea-to-pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527-949c5893595e_story.html.

                                                      85
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       221. The Distributor Defendants have abandoned their duties imposed under federal and

state law, taken advantage of a lack of DEA law enforcement, and abused the privilege of

distributing controlled substances in the State and Plaintiff’s Community.

       D. THE MANUFACTURER DEFENDANTS’ UNLAWFUL FAILURE TO
          PREVENT DIVERSION AND MONITOR, REPORT, AND PREVENT
          SUSPICIOUS ORDERS.

       222. The same legal duties to prevent diversion, and to monitor, report, and prevent

suspicious orders of prescription opioids that were incumbent upon the Distributor Defendants

were also legally required of the Manufacturer Defendants under federal and Maryland law.

       223. The Manufacturing Defendants were required to comply with the same registration

requirements as the Distributor Defendants. See MD. CODE ANN., CRIM. LAW § 5-301(a)(1) (“[A]

person shall be registered by the [Maryland Department of Health] before the person manufactures,

distributes, or dispenses a controlled dangerous substance in the State.”); MD. CODE ANN., CRIM.

LAW § 5-303(a) & (b)(2) (Department shall register applicants to distribute controlled substances

unless the registration is inconsistent with the public interest and Department considers

“compliance with applicable federal, State and local law” in determining the public interest); MD.

CODE REGS. 10.19.03.03(A)(1) (“Requirement. A person shall register with the Department and

obtain and maintain a registration certificate before the person: (1) Manufactures, distributes, or

dispenses controlled dangerous substances”).

       224.    Like the Distributor Defendants, the Manufacturer Defendants were required to

register with the DEA to manufacture schedule II controlled substances, like prescription opioids.

See 21 U.S.C. § 823(a). A requirement of such registration is the:

       maintenance of effective controls against diversion of particular controlled
       substances and any controlled substance in schedule I or II compounded
       therefrom into other than legitimate medical, scientific, research, or industrial
       channels, by limiting the importation and bulk manufacture of such controlled
       substances to a number of establishments which can produce an adequate and
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       uninterrupted supply of these substances under adequately competitive conditions
       for legitimate medical, scientific, research, and industrial purposes . . . .

21 USCA § 823(a)(1) (emphasis added).

       225. Additionally, as “registrants” under Section 823, the Manufacturer Defendants were

also required to monitor, report, and prevent suspicious orders of controlled substances:

       The registrant shall design and operate a system to disclose to the registrant
       suspicious orders of controlled substances. The registrant shall inform the Field
       Division Office of the Administration in his area of suspicious orders when
       discovered by the registrant. Suspicious orders include orders of unusual size,
       orders deviating substantially from a normal pattern, and orders of unusual
       frequency.

21 C.F.R. § 1301.74. See also 21 C.F.R. § 1301.02 (“Any term used in this part shall have the

definition set forth in section 102 of the Act (21 U.S.C. 802) or part 1300 of this chapter.”); 21

C.F.R. § 1300.01 (“Registrant means any person who is registered pursuant to either section 303

or section 1008 of the Act (21 U.S.C. 823 or 958).” Like the Distributor Defendants, the

Manufacture Defendants breached these duties.

       226. The Manufacturer Defendants had access to and possession of the information

necessary to monitor, report, and prevent suspicious orders and to prevent diversion. The

Manufacturer Defendants engaged in the practice of paying “chargebacks” to opioid distributors.

A chargeback is a payment made by a manufacturer to a distributor after the distributor sells the

manufacturer’s product at a price below a specified rate. After a distributor sells a manufacturer’s

product to a pharmacy, for example, the distributor requests a chargeback from the manufacturer

and, in exchange for the payment, the distributor identifies to the manufacturer the product, volume

and the pharmacy to which it sold the product. Thus, the Manufacturer Defendants knew – just as

the Distributor Defendants knew – the volume, frequency, and pattern of opioid orders being




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placed and filled. The Manufacturer Defendants built receipt of this information into the payment

structure for the opioids provided to the opioid distributors.

           227. Federal statutes and regulations – and Maryland law incorporating those

requirements – are clear: just like opioid distributors, opioid manufacturers are required to “design

and operate a system to disclose . . . suspicious orders of controlled substances” and to maintain

“effective controls against diversion.” 21 C.F.R. § 1301.74; 21 USCA § 823(a)(1).

           228. The Department of Justice has recently confirmed the suspicious order obligations

clearly imposed by federal law upon opioid manufacturers, fining Mallinckrodt $35 million for

failure to report suspicious orders of controlled substances, including opioids, and for violating

recordkeeping requirements. 167

           229. In the press release accompanying the settlement, the Department of Justice stated:

Mallinckrodt “did not meet its obligations to detect and notify DEA of suspicious orders of

controlled substances such as oxycodone, the abuse of which is part of the current opioid epidemic.

These suspicious order monitoring requirements exist to prevent excessive sales of controlled

substances, like oxycodone . . . . Mallinckrodt’s actions and omissions formed a link in the chain

of supply that resulted in millions of oxycodone pills being sold on the street. . . . ‘Manufacturers

and distributors have a crucial responsibility to ensure that controlled substances do not get into

the wrong hands. . . .’” 168

           230. Among the allegations resolved by the settlement, the government alleged

“Mallinckrodt failed to design and implement an effective system to detect and report ‘suspicious



167
    See Press Release, U.S. Dep’t of Justice, Mallinckrodt Agrees to Pay Record $35 Million Settlement for Failure
to Report Suspicious Orders of Pharmaceutical Drugs and for Recordkeeping Violations (July 11, 2017),
https://www.justice.gov/opa/pr/mallinckrodt-agrees-pay-record-35-million-settlement-failure-report-suspicious-
orders
168
      Id. (quoting DEA Acting Administrator Chuck Rosenberg).

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orders’ for controlled substances – orders that are unusual in their frequency, size, or other patterns

. . . [and] Mallinckrodt supplied distributors, and the distributors then supplied various U.S.

pharmacies and pain clinics, an increasingly excessive quantity of oxycodone pills without

notifying DEA of these suspicious orders.” 169

            231. The Memorandum of Agreement entered into by Mallinckrodt (“2017 Mallinckrodt

MOA”) avers “[a]s a registrant under the CSA, Mallinckrodt had a responsibility to maintain

effective controls against diversion, including a requirement that it review and monitor these sales

and report suspicious orders to DEA.” 170

            232. The 2017 Mallinckrodt MOA further details the DEA’s allegations regarding

Mallinckrodt’s failures to fulfill its legal duties as an opioid manufacturer:

            With respect to its distribution of oxycodone and hydrocodone products,
            Mallinckrodt's alleged failure to distribute these controlled substances in a manner
            authorized by its registration and Mallinckrodt's alleged failure to operate an
            effective suspicious order monitoring system and to report suspicious orders to
            the DEA when discovered as required by and in violation of 21 C,F.R. §
            1301.74(b). The above includes, but is not limited to Mallinckrodt's alleged
            failure to:
                          i. conduct adequate due diligence of its customers;
                         ii. detect and report to the DEA orders of unusual size and frequency;
                        iii. detect and report to the DEA orders deviating substantially from
                             normal patterns including, but not limited to, those identified in
                             letters from the DEA Deputy Assistant Administrator, Office of
                             Diversion Control, to registrants dated September 27, 2006 and
                             December 27, 2007:
                                 1. orders that resulted in a disproportionate amount of a
                                      substance which is most often abused going to a particular
                                      geographic region where there was known diversion,
                                 2. orders that purchased a disproportionate amount of a
                                      substance which is most often abused compared to other
                                      products, and


169
      Id.
170
    Administrative Memorandum of Agreement between the United States Department of Justice, the Drug
Enforcement Agency, and Mallinckrodt, plc. and its subsidiary Mallinckrodt, LLC (July 10, 2017),
https://www.justice.gov/usao-edmi/press-release/file/986026/download. (“2017 Mallinckrodt MOA”).

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                               3. orders from downstream customers to distributors who
                                  were purchasing from multiple different distributors, of
                                  which Mallinckrodt was aware;
                      iv. use "chargeback" information from its distributors to evaluate
                          suspicious orders. Chargebacks include downstream purchasing
                          information tied to certain discounts, providing Mallinckrodt with
                          data on buying patterns for Mallinckrodt products; and
                       v. take sufficient action to prevent recurrence of diversion by
                          downstream customers after receiving concrete information of
                          diversion of Mallinckrodt product by those downstream
                          customers. 171

            233. Mallinckrodt agreed that its “system to monitor and detect suspicious orders did not

meet the standards outlined in letters from the DEA Deputy Administrator, Office of Diversion

Control, to registrants dated September 27, 2006 and December 27, 2007.” Mallinckrodt further

agreed that it “recognizes the importance of the prevention of diversion of the controlled

substances they manufacture” and would “design and operate a system that meets the requirements

of 21 CFR 1301.74(b) . . . [such that it would] utilize all available transaction information to

identify suspicious orders of any Mallinckrodt product. Further, Mallinckrodt agrees to notify

DEA of any diversion and/or suspicious circumstances involving any Mallinckrodt controlled

substances that Mallinckrodt discovers.” 172

            234. Mallinckrodt acknowledged that “[a]s part of their business model Mallinckrodt

collects transaction information, referred to as chargeback data, from their direct customers

(distributors). The transaction information contains data relating to the direct customer sales of

controlled substances to "downstream" registrants.” Mallinckrodt agreed that, from this data, it

would “report to the DEA when Mallinckrodt concludes that the chargeback data or other

information indicates that a downstream registrant poses a risk of diversion.” 173


171
      2017 Mallinckrodt MOA at p. 2-3.
172
      Id. at 3-4.
173
      Id. at p.5.

                                                   90
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       235. The same duties imposed by federal law on Mallinckrodt were imposed upon all

Manufacturer Defendants.

       236. The same business practices utilized by Mallinckrodt regarding “charge backs” and

receipt and review of data from opioid distributors regarding orders of opioids were utilized

industry-wide among opioid manufacturers and distributors, including, upon information and

belief, the other Manufacturer Defendants.

       237. Through, inter alia, the charge back data, the Manufacturer Defendants could

monitor suspicious orders of opioids.

       238. The Manufacturer Defendants failed to monitor, report, and halt suspicious orders of

opioids as required by federal law.

       239. The Manufacturer Defendants’ failures to monitor, report, and halt suspicious orders

of opioids were intentional and unlawful.

       240. The Manufacturer Defendants have misrepresented their compliance with federal

law.

       241. The Manufacturer Defendants enabled the supply of prescription opioids to

obviously suspicious physicians and pharmacies, enabled the illegal diversion of opioids, aided

criminal activity, and disseminated massive quantities of prescription opioids into the black

market.

       242. The wrongful actions and omissions of the Manufacturer Defendants which have

caused the diversion of opioids and which have been a substantial contributing factor to and/or

proximate cause of the opioid crisis are alleged in greater detail in Plaintiff’s racketeering

allegations below.




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        243. The Manufacturer Defendants’ actions and omissions in failing to effective prevent

diversion and failing to monitor, report, and prevent suspicious orders have enabled the unlawful

diversion of opioids into Plaintiff’s Community.

        E. DEFENDANTS’ UNLAWFUL CONDUCT AND BREACHES OF LEGAL
           DUTIES CAUSED THE HARM ALLEGED HEREIN AND SUBSTANTIAL
           DAMAGES.

        244. As the Manufacturer Defendants’ efforts to expand the market for opioids increased

so have the rates of prescription and sale of their products — and the rates of opioid-related

substance abuse, hospitalization, and death among the people of the State and the Plaintiff’s

Community. The Distributor Defendants have continued to unlawfully ship these massive

quantities of opioids into communities like the Plaintiff’s Community, fueling the epidemic.

        245. There is a “parallel relationship between the availability of prescription opioid

analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

associated adverse outcomes.” 174

        246. Opioid analgesics are widely diverted and improperly used, and the widespread use

of the drugs has resulted in a national epidemic of opioid overdose deaths and addictions. 175

        247. The epidemic is “directly related to the increasingly widespread misuse of powerful

opioid pain medications.” 176




174
  See Richard C. Dart et al, Trends in Opioid Analgesic Abuse and Mortality in the United States, 372 N. Eng. J.
Med. 241 (2015).
175
    See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions and Mitigation
Strategies, 374 N. Eng. J. Med. 1253 (2016).
176
   See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480
(2016).



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        248. The increased abuse of prescription painkillers along with growing sales has

contributed to a large number of overdoses and deaths. 177

        249. As shown above, the opioid epidemic has escalated in Plaintiff’s Community with

devastating effects including substantial opiate-related substance abuse, hospitalization and deaths

that mirror Defendants’ increased distribution of opiates.

        250. Because of the well-established relationship between the use of prescription opiates

and the use of non-prescription opioids, like heroin, the massive distribution of opioids to

Plaintiff’s Community and areas from which such opioids are being diverted into Plaintiff’s

Community, has caused the Defendant-caused opioid epidemic to include heroin addiction, abuse,

and death.

        251. Prescription opioid abuse, addiction, morbidity, and mortality are hazards to public

health and safety in the State and in Plaintiff’s Community.

        252. Heroin abuse, addiction, morbidity, and mortality are hazards to public health and

safety in the State and in Plaintiff’s Community.

        253. Defendants repeatedly and purposefully breached their duties under state and federal

law, and such breaches are direct and proximate causes of, and/or substantial factors leading to,

the widespread diversion of prescription opioids for nonmedical purposes into the Plaintiff’s

Community.

        254. The unlawful diversion of prescription opioids is a direct and proximate cause of,

and/or substantial factor leading to, the opioid epidemic, prescription opioid abuse, addiction,




177
    See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs.,
Prescription Painkiller Overdoses at Epidemic Levels (Nov. 1, 2011),
https://www.cdc.gov/media/releases/2011/p1101_flu_pain_killer_overdose.html.

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morbidity and mortality in the State and Plaintiff’s Community. This diversion and the epidemic

are direct causes of foreseeable harms incurred by the Plaintiff and Plaintiff’s Community.

        255. Defendants intentional and/or unlawful conduct resulted in direct and foreseeable,

past and continuing, economic damages for which Plaintiff seeks relief, as alleged herein. Plaintiff

also seeks the means to abate the epidemic created by Defendants’ wrongful and/or unlawful

conduct.

        256. Plaintiff seeks economic damages from the Defendants as reimbursement for the

costs association with past efforts to eliminate the hazards to public health and safety.

        257. Plaintiff seeks economic damages from the Defendants to pay for the cost to

permanently eliminate the hazards to public health and safety and abate the temporary public

nuisance.

        258. To eliminate the hazard to public health and safety, and abate the public nuisance, a

“multifaceted, collaborative public health and law enforcement approach is urgently needed.” 178

        259. A comprehensive response to this crisis must focus on preventing new cases of opioid

addiction, identifying early opioid-addicted individuals, and ensuring access to effective opioid

addiction treatment while safely meeting the needs of patients experiencing pain. 179

        260. These community-based problems require community-based solutions that have

been limited by “budgetary constraints at the state and Federal levels.” 180




178
  See Rose A. Rudd et al., Increases in Drug and Opioid Overdose Deaths—United States, 2000–2014, 64
Morbidity & Mortality Wkly. Rep. 1378 (2016), at 1145.
179
    See Johns Hopkins Bloomberg School of Public Health, The Prescription Opioid Epidemic: An Evidence-Based
Approach (G. Caleb Alexander et al. eds., 2015), http://www.jhsph.edu/research/centers-and-institutes/center-for-
drug-safety-and-effectiveness/research/prescription-opioids/JHSPH_OPIOID_EPIDEMIC_REPORT.pdf.
180
    See Office of Nat’l Drug Control Policy, Exec. Office of the President, Epidemic: Responding to America’s
Prescription Drug Abuse Crisis (2011). https://www.ncjrs.gov/pdffiles1/ondcp/rx_abuse_plan.pdf.

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       261. Having profited enormously through the aggressive sale, misleading promotion, and

irresponsible distribution of opiates, Defendants should be required to take responsibility for the

financial burdens their conduct has inflicted upon the Plaintiff and Plaintiff’s Community.

       F. STATUTES OF LIMITATIONS ARE TOLLED AND DEFENDANTS ARE
          ESTOPPED FROM ASSERTED STATUTES OF LIMITATIONS AS
          DEFENSES.

              1. Continuing Conduct.

       262. Plaintiff contends it continues to suffer harm from the unlawful actions by the

Defendants.

       263. The continued tortious and unlawful conduct by the Defendants causes a repeated or

continuous injury. The damages have not occurred all at once but have continued to occur and

have increased as time progresses. The tort is not completed nor have all the damages been

incurred until the wrongdoing ceases. The wrongdoing and unlawful activity by Defendants has

not ceased. The public nuisance remains unabated.

              2. Fraudulent Concealment.

       264. To the extent any statute of limitations defense would apply, Defendants cannot rely

upon a statute of limitations defense because they undertook efforts to purposefully conceal their

unlawful conduct and fraudulently assure the public, including the State, the Plaintiff, and

Plaintiff’s Community, that they were undertaking efforts to comply with their obligations under

the state and federal controlled substances laws, all with the goal of protecting their registered

manufacturer or distributor status in the State and to continue generating profits. Notwithstanding

the allegations set forth above, the Defendants affirmatively assured the public, including the State,

the Plaintiff, and Plaintiff’s Community, that they are working to curb the opioid epidemic.

       265. Defendants’ knowingly and fraudulently concealed the facts alleged herein. As

alleged herein, Defendants knew of the wrongful acts set forth above, and had material information

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pertinent to their discovery, and concealed them from the Plaintiff and Plaintiff’s Community. The

Plaintiff did not know, or could not have known through the exercise of reasonable diligence, of

the existence or scope of the Defendants’ industry-wide fraud or of its cause of action, as a result

of Defendants’ conduct.

           266. The Distributor Defendants also repeatedly misrepresented their compliance with

their legal duties under state and federal law in an effort to mislead regulators and the public

regarding the Distributor Defendants’ compliance with their legal duties. The Distributor

Defendants worked to fraudulently convince the public that they were complying with their legal

obligations. Through such statements, the Distributor Defendants attempted to assure the public

they were working to curb the opioid epidemic. By misleading the public about the effectiveness

of their controlled substance monitoring programs, the Distributor Defendants successfully

concealed the facts sufficient to arouse suspicion of the claims that the Plaintiff now asserts. The

Plaintiff did not know of the existence or scope of Defendants’ industry-wide fraud and could not

have acquired such knowledge earlier through the exercise of reasonable diligence.

           267. For example, a Cardinal Health executive claimed that it uses “advanced analytics”

to monitor its supply chain, and assured the public it was being “as effective and efficient as

possible in constantly monitoring, identifying, and eliminating any outside criminal activity.” 181

           268. Similarly, McKesson publicly stated that it has a “best-in-class controlled substance

monitoring program to help identify suspicious orders,” and claimed it is “deeply passionate about

curbing the opioid epidemic in our country.” 182


181
      Bernstein et al., supra.
182
   Scott Higham et al., Drug Industry Hired Dozens of Officials from the DEA as the Agency Tried to Curb Opioid
Abuse, Wash. Post, Dec. 22, 2016, https://www.washingtonpost.com/investigations/key-officials-switch-sides-from-
dea-to-pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527-949c5893595e_story.html.



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          269. Moreover, in furtherance of their effort to affirmatively conceal their conduct and

avoid detection, the Distributor Defendants, through their trade associations, HDMA and NACDS,

filed an amicus brief in Masters Pharmaceuticals, which made the following statements: 183

      a. “HDMA and NACDS members not only have statutory and regulatory responsibilities to

          guard against diversion of controlled prescription drugs, but undertake such efforts as

          responsible members of society.”

      b. “DEA regulations that have been in place for more than 40 years require distributors to

          report suspicious orders of controlled substances to DEA based on information readily

          available to them (e.g., a pharmacy’s placement of unusually frequent or large orders).”

      c. “Distributors take seriously their duty to report suspicious orders, utilizing both computer

          algorithms and human review to detect suspicious orders based on the generalized

          information that is available to them in the ordering process.”

      d. “A particular order or series of orders can raise red flags because of its unusual size,

          frequency, or departure from typical patterns with a given pharmacy.”

      e. “Distributors also monitor for and report abnormal behavior by pharmacies placing orders,

          such as refusing to provide business contact information or insisting on paying in cash.”

Through the above statements made on their behalf by their trade associations, and other similar

statements assuring their continued compliance with their legal obligations, the Distributor

Defendants not only acknowledged that they understood their obligations under the law, but they

further affirmed that their conduct was in compliance with those obligations.




183
      Brief for HDMA and NACDS, 2016 WL 1321983, at *3-4, *25.

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       270. The Distributor Defendants have also concealed and prevented discovery of

information, including data from the ARCOS database, that will confirm their identities and the

extent of their wrongful and illegal activities.

       271. The Manufacturer Defendants distorted the meaning or import of studies they cited

and offered them as evidence for propositions the studies did not support. The Manufacturer

Defendants invented “pseudoaddiction” and promoted it to an unsuspecting medical community.

Manufacturer Defendants provided the medical community with false and misleading information

about ineffectual strategies to avoid or control opioid addiction. Manufacturer Defendants

recommended to the medical community that dosages be increased, without disclosing the risks.

Manufacturer Defendants spent millions of dollars over a period of years on a misinformation

campaign aimed at highlighting opioids’ alleged benefits, disguising the risks, and promoting

sales. The medical community, consumers, the State, and Plaintiff’s Community were duped by

the Manufacturer Defendants’ campaign to misrepresent and conceal the truth about the opioid

drugs that they were aggressively pushing in the State and in Plaintiff’s Community.

       272. As alleged herein, at all times relevant to this Complaint, the Manufacturer

Defendants took steps to avoid detection of and to fraudulently conceal their deceptive marketing

and unlawful, unfair, and fraudulent conduct such as by disguising their role in the deceptive

marketing of chronic opioid therapy by funding and working through third parties like Front

Groups and KOLs. The Defendants hid their role in shaping, editing, and approving the content of

information and materials disseminated by these third parties and manipulated their promotional

materials and the scientific literature to make it appear that these documents were accurate,

truthful, and supported by objective evidence when they were not. The Manufacturer Defendants

spent millions of dollars over a period of years on a misinformation campaign aimed at



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highlighting opioids’ alleged benefits, disguising the risks, and promoting sales. The lack of

support for the Manufacturer Defendants’ deceptive messages was not apparent to medical

professionals who relied upon them in making treatment decisions, nor could it have been detected

by the Plaintiff or Plaintiff’s Community. Thus, the Manufacturer Defendants successfully

concealed from the medical community, patients, and health care payors facts sufficient to arouse

suspicion of the claims that the Plaintiff now asserts. Plaintiff did not know of the existence or

scope of the Manufacturer Defendants’ industry-wide fraud and could not have acquired such

knowledge earlier through the exercise of reasonable diligence.

       273. Defendants intended that their actions and omissions would be relied upon, including

by Plaintiff and Plaintiff’s Community. Plaintiff and Plaintiff’s Community did not know, and did

not have the means to know, the truth due to Defendants’ actions and omissions.

       274. The Plaintiff and Plaintiff’s Community reasonably relied on Defendants’

affirmative statements regarding their purported compliance with their obligations under the law

and consent orders.

       275. The purposes of the statutes of limitations period are satisfied because Defendants

cannot claim prejudice due to a late filing where the Plaintiff filed suit promptly upon discovering

the facts essential to its claims, described herein, which Defendants knowingly concealed.

       276. In light of their statements to the media, in legal filings, and settlements, it is clear

that Defendants had actual or constructive knowledge that their conduct was deceptive, in that they

consciously concealed the schemes set forth herein.

       277. Defendants continually and secretly engaged in their scheme to avoid compliance

with their legal obligations. Only Defendants and their agents knew or could have known about

Defendants’ unlawful actions because Defendants made deliberate efforts to conceal their conduct.



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As a result of the above, the Plaintiff was unable to obtain vital information bearing on its claims

absent any fault or lack of diligence on its part.

                               V. LEGAL CAUSES OF ACTION

                                            COUNT I
                                       PUBLIC NUISANCE
                                      (Against all Defendants)

        278. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

        279. Each Defendant is liable for public nuisance because its conduct at issue has caused

an unreasonable and substantial interference with a right common to the general public, which is

the proximate cause of, and/or substantial factor leading to, Plaintiff’s injury. See Restatement

Second, Torts § 821B.

        280. By causing dangerously addictive drugs to flood the community, and to be diverted

for illicit purposes, in contravention of federal and State law, each Defendant has injuriously

affected rights common to the general public, specifically including the rights of the people of the

Plaintiff’s Community to public health, public safety, public peace, public comfort, and public

convenience. The public nuisance caused by Defendants’ diversion of dangerous drugs has caused

substantial annoyance, inconvenience, and injury to the public.

        281. By selling dangerously addictive opioid drugs diverted from a legitimate medical,

scientific, or industrial purpose, Defendants have committed a course of conduct that injuriously

affects the safety, health, and morals of the people of the Plaintiff’s Community.

        282. By failing to maintain a closed system that guards against diversion of dangerously

addictive drugs for illicit purposes, Defendants injuriously affected public rights, including the

right to public health, public safety, public peace, and public comfort of the people of the Plaintiff’s

Community.
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       283. Plaintiff alleges that Defendants’ wrongful and illegal actions have created a public

nuisance. Each Defendant is liable for public nuisance because its conduct at issue has caused an

unreasonable interference with a right common to the general public.

       284. The Defendants have intentionally and/or unlawfully created a nuisance.

       285. The residents of Plaintiff’s Community have a common right to be free from conduct

that creates an unreasonable jeopardy to the public health, welfare and safety, and to be free from

conduct that creates a disturbance and reasonable apprehension of danger to person and property.

       286. Defendants intentionally, unlawfully, and recklessly manufacture, market, distribute,

and sell prescription opioids that Defendants know, or reasonably should know, will be diverted,

causing widespread distribution of prescription opioids in and/or to Plaintiff’s Community,

resulting in addiction and abuse, an elevated level of crime, death and injuries to the residents of

Plaintiff’s Community, a higher level of fear, discomfort and inconvenience to the residents of

Plaintiff’s Community, and direct costs to Plaintiff’s Community.

       287. Defendants have unlawfully and/or intentionally caused and permitted dangerous

drugs under their control to be diverted such as to injure the Plaintiff’s Community and its

residents.

       288. Defendants have unlawfully and/or intentionally distributed opioids or caused

opioids to be distributed without maintaining effective controls against diversion. Such conduct

was illegal.   Defendants’ failures to maintain effective controls against diversion include

Defendants’ failure to effectively monitor for suspicious orders, report suspicious orders, and/or

stop shipment of suspicious orders.




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       289. Defendants have caused a significant and unreasonable interference with the public

health, safety, welfare, peace, comfort and convenience, and ability to be free from disturbance

and reasonable apprehension of danger to person or property.

       290. Defendants’ conduct in illegally distributing and selling prescription opioids, or

causing such opioids to be distributed and sold, where Defendants know, or reasonably should

know, such opioids will be diverted and possessed and/or used illegally Plaintiff’s Community is

of a continuing nature.

       291. Defendants’ actions have been of a continuing nature and have produced a significant

effect upon the public’s rights, including the public’s right to health and safety.

       292. A violation of any rule or law controlling the distribution of a drug of abuse in

Plaintiff’s Community and the State is a public nuisance.

       293. Defendants’ distribution of opioids while failing to maintain effective controls

against diversion was proscribed by statute and regulation.

       294. Defendants’ ongoing conduct produces an ongoing nuisance, as the prescription

opioids that they allow and/or cause to be illegally distributed and possessed in Plaintiff’s

Community will be diverted, leading to abuse, addiction, crime, and public health costs.

       295. Because of the continued use and addiction caused by these illegally distributed

opioids, the public will continue to fear for its health, safety and welfare, and will be subjected to

conduct that creates a disturbance and reasonable apprehension of danger to person and property.

       296. Defendants know, or reasonably should know, that their conduct will have an

ongoing detrimental effect upon the public health, safety and welfare, and the public’s ability to

be free from disturbance and reasonable apprehension of danger to person and property.




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       297. Defendants know, or reasonably should know, that their conduct causes an

unreasonable invasion of the public right to health, safety and welfare and the public’s ability to

be free from disturbance and reasonable apprehension of danger to person and property.

       298. Defendants are aware, and at a bare minimum certainly should be aware, of the

unreasonable interference that their conduct has caused in Plaintiff’s Community. Defendants are

in the business of manufacturing, marketing, selling, and distributing prescription drugs, including

opioids, which are specifically known to Defendants to be dangerous under federal law. See, e.g.,

21 U.S.C. § 812 (b)(2).

       299. Defendants’ conduct in marketing, distributing, and selling prescription opioids

which the defendants know, or reasonably should know, will likely be diverted for non-legitimate,

non-medical use, creates a strong likelihood that these illegal distributions of opioids will cause

death and injuries to residents in Plaintiff’s Community and otherwise significantly and

unreasonably interfere with public health, safety and welfare, and with the public’s right to be free

from disturbance and reasonable apprehension of danger to person and property.

       300. It is, or should be, reasonably foreseeable to defendants that their conduct will cause

deaths and injuries to residents in Plaintiff’s Community, and will otherwise significantly and

unreasonably interfere with public health, safety and welfare, and with the public’s right to be free

from disturbance and reasonable apprehension of danger to person and property.

       301. The prevalence and availability of diverted prescription opioids in the hands of

irresponsible persons and persons with criminal purposes in Plaintiff’s Community not only causes

deaths and injuries, but also creates a palpable climate of fear among residents in Plaintiff’s

Community where opioid diversion, abuse, addiction are prevalent and where diverted opioids

tend to be used frequently.



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       302. Defendants’ conduct makes it easier for persons to divert prescription opioids,

constituting a dangerous threat to the public.

       303. Defendants’ actions were, at the least, a substantial factor in opioids becoming

widely available and widely used for non-medical purposes. Because of Defendants’ special

positions within the closed system of opioid distribution, without Defendants’ actions, opioid use

would not have become so widespread, and the enormous public health hazard of prescription

opioid and heroin overuse, abuse, and addiction that now exists would have been averted.

       304. The presence of diverted prescription opioids in Plaintiff’s Community, and the

consequence of prescription opioids having been diverted in Plaintiff’s Community, proximately

results in and/or substantially contributes to the creation of significant costs to the Plaintiff and to

Plaintiff’s Community in order to enforce the law, equip its police force and treat the victims of

opioid abuse and addiction.

       305. Stemming the flow of illegally distributed prescription opioids, and abating the

nuisance caused by the illegal flow of opioids, will help to alleviate this problem, save lives,

prevent injuries and make Plaintiff’s Community a safer place to live.

       306. Defendants’ conduct is a direct and proximate cause of and/or a substantial

contributing factor to opioid addiction and abuse in Plaintiff’s Community, costs borne by

Plaintiff’s Community and the Plaintiff, and a significant and unreasonable interference with

public health, safety and welfare, and with the public’s right to be free from disturbance and

reasonable apprehension of danger to person and property.

       307. Defendants’ conduct constitutes a public nuisance and, if unabated, will continue to

threaten the health, safety and welfare of the residents of Plaintiff’s Community, creating an




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atmosphere of fear and addiction that tears at the residents’ sense of well-being and security.

Plaintiff has a clearly ascertainable right to abate conduct that perpetuates this nuisance.

       308. Defendants created an intentional nuisance. Defendants’ actions created and

expanded the abuse of opioids, which are dangerously addictive, and the ensuing associated plague

of prescription opioid and heroin addiction. Defendants knew the dangers to public health and

safety that diversion of opioids would create in Plaintiff’s Community, however, Defendants

intentionally and/or unlawfully failed to maintain effective controls against diversion through

proper monitoring, reporting and refusal to fill suspicious orders of opioids. Defendants

intentionally and/or unlawfully distributed opioids or caused opioids to be distributed without

reporting or refusing to fill suspicious orders or taking other measures to maintain effective

controls against diversion. Defendants intentionally and/or unlawfully continued to ship and failed

to halt suspicious orders of opioids, or caused such orders to be shipped. Defendants intentionally

and/or unlawfully marketed opioids in manners they knew to be false and misleading. Such actions

were inherently dangerous.

       309. Defendants knew the prescription opioids have a high likelihood of being diverted.

It was foreseeable to Defendants that where Defendants distributed prescription opioids or caused

such opioids to be distributed without maintaining effective controls against diversion, including

monitoring, reporting, and refusing shipment of suspicious orders, that the opioids would be

diverted, and create an opioid abuse nuisance in Plaintiff’s Community.

       310. Defendants’ actions also created a nuisance by acting recklessly, negligently and/or

carelessly, in breach of their duties to maintain effective controls against diversion, thereby

creating an unreasonable risk of harm.




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       311. Defendants acted with actual malice because Defendants acted with a conscious

disregard for the rights and safety of other persons, and said actions have a great probability of

causing substantial harm.

       312. The damages available to the Plaintiff include, inter alia, recoupment of

governmental costs, flowing from an ongoing and persistent public nuisance which the government

seeks to abate. Defendants’ conduct is ongoing and persistent, and the Plaintiff seeks all damages

flowing from Defendants’ conduct. Plaintiff further seeks to abate the nuisance and harm created

by Defendants’ conduct.

       313. As a direct result of Defendants’ conduct, the Plaintiff and Plaintiff’s Community

have suffered actual injury and damages including, but not limited to, significant expenses for

police, emergency, health, prosecution, corrections and other services. The Plaintiff here seeks

recovery for its own harm.

       314. The Plaintiff and Plaintiff’s Community have sustained specific and special injuries

because its damages include, inter alia, law enforcement expenditures, and costs related to opioid

addiction treatment and overdose prevention.

       315. The Plaintiff further seeks to abate the nuisance created by the Defendants’

unreasonable, unlawful, intentional, ongoing, continuing, and persistent actions and omissions and

interference with a right common to the public.

       316. Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

abatement, compensatory damages, and punitive damages from the Defendants for the creation of

a public nuisance, attorney fees and costs, and pre- and post-judgment interest.

       317. Defendants’ intentional and unlawful actions and omissions and unreasonable

interference with a right common to the public are of a continuing nature.



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       318. Defendants are aware, and at a bare minimum certainly should be aware, of the

unreasonable interference that their conduct has caused in the Plaintiff’s community. Defendants

are in the business of manufacturing or distributing prescription drugs, including opioids, which

are specifically known to Defendants to be dangerous because inter alia these drugs are defined

under federal and state law as substances posing a high potential for abuse and severe addiction.

Defendants created an intentional nuisance. Defendants’ actions created and expanded the abuse

of opioids, drugs specifically codified as constituting severely harmful substances.

       319. The public nuisance created by Defendants’ actions is substantial and unreasonable

– it has caused and continues to cause significant harm to the community, and the harm inflicted

outweighs any offsetting benefit. The staggering rates of opioid and heroin use resulting from the

Defendants’ abdication of their gate-keeping and diversion prevention duties, and the

Manufacturer Defendants’ fraudulent marketing activities, have caused harm to the entire

community that includes, but is not limited to the following:

       a. The high rates of use leading to unnecessary opioid abuse, addiction, overdose, injuries,
          and deaths.

       b. Even children have fallen victim to the opioid epidemic. Easy access to prescription
          opioids made opioids a recreational drug of choice among teenagers. Even infants have
          been born addicted to opioids due to prenatal exposure, causing severe withdrawal
          symptoms and lasting developmental impacts.

       c. Even those residents of Plaintiff’s Community who have never taken opioids have
          suffered from the public nuisance arising from Defendants’ abdication of their gate-
          keeper duties and fraudulent promotions. Many residents have endured both the
          emotional and financial costs of caring for loved ones addicted to or injured by opioids,
          and the loss of companionship, wages, or other support from family members who have
          used, abused, become addicted to, overdosed on, or been killed by opioids.

       d. The opioid epidemic has increased health care costs.

       e. Employers have lost the value of productive and healthy employees.



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       f. Defendants’ conduct created an abundance of drugs available for criminal use and
          fueled a new wave of addiction, abuse, and injury.

       g. Defendants’ dereliction of duties and/or fraudulent misinformation campaign pushing
          dangerous drugs resulted in a diverted supply of narcotics to sell, and the ensuing
          demand of addicts to buy them. More prescription opioids sold by Defendants led to
          more addiction, with many addicts turning from prescription opioids to heroin. People
          addicted to opioids frequently require increasing levels of opioids, and many turned to
          heroin as a foreseeable result.

       h. The diversion of opioids into the secondary, criminal market and the increased number
          of individuals who abuse or are addicted to opioids increased the demands on health
          care services and law enforcement.

       i. The significant and unreasonable interference with the public rights caused by
          Defendants’ conduct taxed the human, medical, public health, law enforcement, and
          financial resources of the Plaintiff’s Community.

       j. Defendants’ interference with the comfortable enjoyment of life in the Plaintiff’s
          Community is unreasonable because there is little social utility to opioid diversion and
          abuse, and any potential value is outweighed by the gravity of the harm inflicted by
          Defendants’ actions.

       320. The Plaintiff and Plaintiff’s Community have sustained specific and special injuries

because its damages include inter alia law enforcement expenditures, as described in this

Complaint.

       321. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary losses)

resulting from Defendants’ fraudulent activity and fraudulent misrepresentations. Plaintiff does

not seek damages for physical personal injury or any physical damage to property caused by

Defendants’ actions.

       322. Plaintiff seeks all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including inter alia injunctive relief, restitution, disgorgement of

profits, compensatory and punitive damages, and all damages allowed by law to be paid by the

Defendants, attorney fees and costs, and pre- and post-judgment interest.


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                                COUNT II
         RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                           18 U.S.C. 1961, et seq.
                          (Against All Defendants)
       323. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as follows.

       324. Plaintiff brings this Count on behalf of itself against the following Defendants, as

defined above: Purdue, Cephalon, Janssen, Endo, Mallinckrodt, Actavis, McKesson, Cardinal, and

AmerisourceBergen (collectively, for purposes of this Count, the “RICO Defendants”).

       325. The RICO Defendants conducted and continue to conduct their business through

legitimate and illegitimate means in the form of an association-in-fact enterprise and/or a legal

entity enterprise. At all relevant times, the RICO Defendants were “persons” under 18 U.S.C. §

1961(3) because they are entities capable of holding, and do hold, “a legal or beneficial interest in

property.”

       326. Section 1962(c) of RICO makes it unlawful “for any person employed by or

associated with any enterprise engaged in, or the activities of which affect, interstate or foreign

commerce, to conduct or participate, directly or indirectly, in the conduct of such enterprise’s

affairs through a pattern of racketeering activity or collection of unlawful debt.” 18 U.S.C. §

1962(c); United State v. Turkette, 452 U.S. 576, 580 (1981).

       327. The term “enterprise” is defined as including “any individual, partnership,

corporation, association, or other legal entity, and any union or group of individuals associated in

fact although not a legal entity.” 18 U.S.C. § 1961(4); Turkette, 452 U.S. at 580; Boyle v. U.S., 556

U.S. 938, 944 (2009). The definition of “enterprise” in Section 1961(4) includes legitimate and

illegitimate enterprises within its scope. Specifically, the section “describes two separate

categories of associations that come within the purview of an ‘enterprise’ -- the first encompassing


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organizations such as corporations, partnerships, and other ‘legal entities,’ and the second covering

‘any union or group of individuals associated in fact although not a legal entity.’” Turkette, 452

U.S. at 577. The second category is not a more generalized description of the first. Id.

        328. For over a decade, the RICO Defendants aggressively sought to bolster their revenue,

increase profit, and grow their share of the prescription painkiller market by unlawfully and

surreptitiously increasing the volume of opioids they sold. However, the RICO Defendants are not

permitted to engage in a limitless expansion of their market through the unlawful sales of regulated

painkillers. As “registrants,” the RICO Defendants operated and continue to operate within the

“closed-system” created under the Controlled Substances Act, 21 U.S.C. § 821, et seq. (the

“CSA”). The CSA restricts the RICO Defendants’ ability to manufacture or distribute Schedule

II substances like opioids by requiring them to: (1) register to manufacture or distribute opioids;

(2) maintain effective controls against diversion of the controlled substances that they

manufacturer or distribute; (3) design and operate a system to identify suspicious orders of

controlled substances, halt such unlawful sales, and report them to the DEA; and (4) make sales

within a limited quota set by the DEA for the overall production of Schedule II substances like

opioids.

        329. The closed-system created by the CSA, including the establishment of quotas, was

specifically intended to reduce or eliminate the diversion of Schedule II substances like opioids

from “legitimate channels of trade” to the illicit market by controlling the quantities of the basic

ingredients needed for the manufacture of [controlled substances].” 184




184
    1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the Caucus on
International Narcotics Control, United States Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).

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           330. Finding it impossible to legally achieve their ever increasing sales ambitions,

members of the Opioid Diversion Enterprise (as defined below) systematically and fraudulently

violated their statutory duty to maintain effective controls against diversion of their drugs, to

design and operate a system to identify suspicious orders of their drugs, to halt unlawful sales of

suspicious orders, and to notify the DEA of suspicious orders. 185 As discussed in detail below,

through the RICO Defendants’ scheme, members of the Opioid Diversion Enterprise repeatedly

engaged in unlawful sales of painkillers which, in turn, artificially and illegally increased the

annual production quotas for opioids allowed by the DEA. 186 In doing so, the RICO Defendants

allowed hundreds of millions of pills to enter the illicit market which allowed them to generate

obscene profits.

           331. Defendants’ illegal scheme was hatched by an association-in-fact enterprise between

the Manufacturer Defendants and the Distributor Defendants, and executed in perfect harmony by

each of them. In particular, each of the RICO Defendants were associated with, and conducted or

participated in, the affairs of the RICO enterprise (defined below and referred to collectively as

the “Opioid Diversion Enterprise”), whose purpose was to engage in the unlawful sales of opioids,

deceive the public and federal and state regulators into believing that the RICO Defendants were

faithfully fulfilling their statutory obligations. The RICO Defendants’ scheme allowed them to

make billions in unlawful sales of opioids and, in turn, increase and/or maintain high production

quotas with the purpose of ensuring unlawfully increasing revenues, profits, and market share. As

a direct result of the RICO Defendants’ fraudulent scheme, course of conduct, and pattern of

racketeering activity, they were able to extract billions of dollars of revenue from the addicted



185
      21 U.S.C. § 823(a)(1), (b)(1); 21 C.F.R. § 1301.74(b)-(c).
186
      21 C.F.R. § 1303.11(b); 21 C.F.R. § 1303.23.

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American public, while entities like the Plaintiff experienced tens of millions of dollars of injury

caused by the reasonably foreseeable consequences of the prescription opioid addiction epidemic.

As explained in detail below, the RICO Defendants’ misconduct violated Section 1962(c) and

Plaintiff is entitled to treble damages for its injuries under 18 U.S.C. § 1964(c).

         332. Alternatively, the RICO Defendants were members of a legal entity enterprise within

the meaning of 18 U.S.C. § 1961(4), through which the RICO Defendants conducted their pattern

of racketeering activity in this jurisdiction and throughout the United States. Specifically, the

Healthcare Distribution Alliance (the “HDA”) 187 is a distinct legal entity that satisfies the

definition of a RICO enterprise. The HDA is a non-profit corporation formed under the laws of

the District of Columbia and doing business in Virginia. As a non-profit corporation, HDA

qualifies as an “enterprise” within the definition set out in 18 U.S.C. § 1961(4) because it is a

corporation and a legal entity.

         333. On information and belief, each of the RICO Defendants is a member, participant,

and/or sponsor of the HDA and utilized the HDA to conduct the Opioid Diversion Enterprise and

to engage in the pattern of racketeering activity that gives rise to the Count.

         334. Each of the RICO Defendants is a legal entity separate and distinct from the HDA.

And, the HDA serves the interests of distributors and manufacturers beyond the RICO Defendants.

Therefore, the HDA exists separately from the Opioid Diversion Enterprise, and each of the RICO

Defendants exists separately from the HDA. Therefore, the HDA may serve as a RICO enterprise.

         335. The legal and association-in-fact enterprises alleged in the previous and subsequent

paragraphs were each used by the RICO Defendants to conduct the Opioid Diversion Enterprise




187
    Health Distribution Alliance, History, Health Distribution Alliance, (last accessed on September 15, 2017),
https://www.healthcaredistribution.org/about/hda-history.

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by engaging in a pattern of racketeering activity. Therefore, the legal and association-in-fact

enterprises alleged in the previous and subsequent paragraphs are pleaded in the alternative and

are collectively referred to as the “Opioid Diversion Enterprise.”

                           A. THE OPIOID DIVERSION ENTERPRISE

          336. Recognizing that there is a need for greater scrutiny over controlled substances due

to their potential for abuse and danger to public health and safety, the United States Congress

enacted the Controlled Substances Act in 1970. 188 The CSA and its implementing regulations

created a closed-system of distribution for all controlled substances and listed chemicals. 189

Congress specifically designed the closed chain of distribution to prevent the diversion of legally

produced controlled substances into the illicit market. 190 As reflected in comments from United

States Senators during deliberation on the CSA, the “[CSA] is designed to crack down hard on the

narcotics pusher and the illegal diverters of pep pills and goof balls.” 191 Congress was concerned

with the diversion of drugs out of legitimate channels of distribution when it enacted the CSA and

acted to halt the “widespread diversion of [controlled substances] out of legitimate channels into

the illegal market.” 192 Moreover, the closed-system was specifically designed to ensure that there

are multiple ways of identifying and preventing diversion through active participation by




188
   Joseph T. Rannazzisi Decl. ¶ 4, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General, D.D.C. Case No.
12-cv-185 (Document 14-2 February 10, 2012).
189
      See H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. at 4566.
190
   Gonzalez v. Raich, 545 U.S. 1, 12-14 (2005); 21 U.S.C. § 801(20; 21 U.S.C. §§ 821-824, 827, 880; H.R. Rep.
No. 91-1444, 1970 U.S.C.C.A.N. 4566, 4572 (Sept. 10, 1970).
191
    See H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. at 4566; 116 Cong. Rec. 977-78 (Comments of Sen. Dodd, Jan
23, 1970).
192
    See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control, United State
Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).



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registrants within the drug delivery chain. 193 All registrants – manufacturers and distributors alike

– must adhere to the specific security, recordkeeping, monitoring and reporting requirements that

are designed to identify or prevent diversion. 194 When registrants at any level fail to fulfill their

obligations, the necessary checks and balances collapse. 195 The result is the scourge of addiction

that has occurred.

            337. In 2006 and 2007, the DEA issued multiple letters to the Distributor Defendants

reminding them of their obligation to maintain effective controls against diversion of particular

controlled substances, design and operate a system to disclose suspicious orders, and to inform the

DEA of any suspicious orders. 196 The DEA also published suggested questions that a distributor

should ask prior to shipping controlled substances, in order to “know their customers.” 197

            338. Central to the closed-system created by the CSA was the directive that the DEA

determine quotas of each basic class of Schedule I and II controlled substances each year. The

quota system was intended to reduce or eliminate diversion from “legitimate channels of trade” by

controlling the “quantities of the basic ingredients needed for the manufacture of [controlled




193
    See Statement of Joseph T. Rannazzisi before the Caucus on International Narcotics Control United States
Senate, July 18, 2012 (available at
https://www.justice.gov/sites/default/files/testimonies/witnesses/attachments/07/18/12/07-18-12-dea-rannazzisi.pdf).
194
      Id.
195
   Joseph T. Rannazzisi Decl. ¶ 10, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General, D.D.C. Case No.
12-cv-185 (Document 14-2 February 10, 2012).
196
    Joseph T. Rannazzisi, In Reference to Registration # RC0183080 (September 27, 2006); Joseph T. Rannazzisi,
In Reference to Registration # RC0183080 (December 27, 2007).
197
    Suggested Questions a Distributor should ask prior to shipping controlled substances, Drug Enforcement
Administration (available at
https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf).



                                                       114
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substances], and the requirement of order forms for all transfers of these drugs.” 198 When

evaluating production quotas, the DEA was instructed to consider the following information:

                a. Information provided by the Department of Health and Human Services;

                b. Total net disposal of the basic class by all manufacturers;

                c. Trends in the national rate of disposal of the basic class;

                d. An applicant’s production cycle and current inventory position;

                e. Total actual or estimated inventories of the class and of all substances manufactured
                   from the class and trends in inventory accumulation; and

                f. Other factors such as: changes in the currently accepted medical use of substances
                   manufactured for a basic class; the economic and physical availability of raw
                   materials; yield and sustainability issues; potential disruptions to production; and
                   unforeseen emergencies. 199

           339. It is unlawful for a registrant to manufacture a controlled substance in Schedule II,

like prescription opioids, that is (1) not expressly authorized by its registration and by a quota

assigned to it by DEA, or (2) in excess of a quota assigned to it by the DEA. 200

           340. At all relevant times, the RICO Defendants operated as an association-in-fact

enterprise formed for the purpose of unlawfully increasing sales, revenues and profits by

disregarding their statutory duty to identify, investigate, halt and report suspicious orders of

opioids and diversion of their drugs into the illicit market, in order to unlawfully increase the

quotas set by the DEA and allow them to collectively benefit from the unlawful formation of a

greater pool of prescription opioids from which to profit. The RICO Defendants conducted their


198
    1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the Caucus on
International Narcotics Control, United States Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
199
    See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control, United State
Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
200
      Id. (citing 21 U.S.C. 842(b)).

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pattern of racketeering activity in this jurisdiction and throughout the United States through this

enterprise.

        341. The opioid epidemic has its origins in the mid-1990s when, between 1997 and 2007,

per capita purchase of methadone, hydrocodone, and oxycodone increased 13-fold, 4-fold, and 9-

fold, respectively. By 2010, enough prescription opioids were sold in the United States to medicate

every adult in the county with a dose of 5 milligrams of hydrocodone every 4 hours for 1 month. 201

On information and belief, the Opioid Diversion Enterprise has been ongoing for at least the last

decade. 202

        342. The Opioid Diversion Enterprise was and is a shockingly successful endeavor. It has

been conducting business uninterrupted since its genesis. But, it was not until recently that United

States and State regulators finally began to unravel the extent of the enterprise and the toll that it

exacted on the American public.

        343. At all relevant times, the Opioid Diversion Enterprise: (a) had an existence separate

and distinct from each RICO Defendant; (b) was separate and distinct from the pattern of

racketeering in which the RICO Defendants engaged; (c) was an ongoing and continuing

organization consisting of legal entities, including each of the RICO Defendants; (d) characterized

by interpersonal relationships among the RICO Defendants; (e) had sufficient longevity for the

enterprise to pursue its purpose; and (f) functioned as a continuing unit. Turkette, 452 U.S. at 580;

Boyle, 556 U.S. at 944 (2009). Each member of the Opioid Diversion Enterprise participated in

the conduct of the enterprise, including patterns of racketeering activity, and shared in the



201
    Keyes KM, Cerdá M, Brady JE, Havens JR, Galea S. Understanding the rural-urban differences in nonmedical
prescription opioid use and abuse in the United States. Am J Public Health. 2014;104(2):e52-9.
202
    Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public
Integrity (September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-
chamber-shaped-policy-amid-drug-epidemic.

                                                      116
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astounding growth of profits supplied by fraudulently inflating opioid sales generated as a result

of the Opioid Diversion Enterprise’s disregard for their duty to prevent diversion of their drugs

into the illicit market and then requesting the DEA increase production quotas, all so that the RICO

Defendants would have a larger pool of prescription opioids from which to profit.

        344. The Opioid Diversion Enterprise also engaged in efforts to lobby against the DEA’s

authority to hold the RICO Defendants liable for disregarding their duty to prevent diversion.

Members of the Pain Care Forum (described in greater detail below) and the Healthcare

Distribution Alliance lobbied for the passage of legislation to weaken the DEA’s enforcement

authority. The Ensuring Patient Access and Effective Drug Enforcement Act significantly reduced

the DEA’s ability to issue orders to show cause and to suspend and/or revoke registrations 203 The

HDA and other members of the Pain Care Forum contributed substantial amounts of money to

political campaigns for federal candidates, state candidates, political action committees and

political parties. Plaintiff is informed and believes that the Pain Care Forum and its members, and

the HDA, poured millions into lobbying efforts.

        345. The Opioid Diversion Enterprise functioned by selling prescription opioids. While

there are some legitimate uses and/or needs for prescription opioids, the RICO Defendants, through

their illegal enterprise, engaged in a pattern of racketeering activity, that involves a fraudulent

scheme to increase revenue by violating State and Federal laws requiring the maintenance of


203
    See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June 13, 2016, updated
July 6, 2016), http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-distribution-
alliance/; Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid
Epidemic Grew Out of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-
slowed-enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of
DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6, 2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-
slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had no
Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.

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effective controls against diversion of prescription opioids, and the identification, investigation,

and reporting of suspicious orders of prescription opioids destined for the illicit drug market. The

goal of Defendants’ scheme was to increase profits from opioid sales. But, Defendants’ profits

were limited by the production quotas set by the DEA, so the Defendants refused to identify,

investigate and/or report suspicious orders of their prescription opioids being diverted into the

illicit drug market. The end result of this strategy was to increase and maintain artificially high

production quotas of opioids so that there was a larger pool of opioids for Defendants to

manufacture and distribute for public consumption.

       346. The Opioid Diversion Enterprise engaged in, and its activities affected, interstate and

foreign commerce because the enterprise involved commercial activities across states lines, such

as manufacture, sale, distribution, and shipment of prescription opioids throughout the City and

this jurisdiction, and the corresponding payment and/or receipt of money from the sale of the same.

       347. Within the Opioid Diversion Enterprise, there were interpersonal relationships and

common communication by which the RICO Defendants shared information on a regular basis.

These interpersonal relationships also formed the organization of the Opioid Diversion Enterprise.

The Opioid Diversion Enterprise used their interpersonal relationships and communication

network for the purpose of conducting the enterprise through a pattern of racketeering activity.

       348. Each of the RICO Defendants had a systematic link to each other through joint

participation in lobbying groups, trade industry organizations, contractual relationships and

continuing coordination of activities. The RICO Defendants participated in the operation and

management of the Opioid Diversion Enterprise by directing its affairs, as described herein. While

the RICO Defendants participated in, and are members of, the enterprise, they each have a separate

existence from the enterprise, including distinct legal statuses, different offices and roles, bank



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accounts, officers, directors, employees, individual personhood, reporting requirements, and

financial statements.

            349. The RICO Defendants exerted substantial control over the Opioid Diversion

Enterprise by their membership in the Pain Care Forum, the HDA, and through their contractual

relationships.

            350. The Pain Care Forum (“PCF”) has been described as a coalition of drugmakers, trade

groups and dozens of non-profit organizations supported by industry funding. The PCF recently

became a national news story when it was discovered that lobbyists for members of the PCF quietly

shaped federal and state policies regarding the use of prescription opioids for more than a decade.

            351. The Center for Public Integrity and The Associated Press obtained “internal

documents shed[ding] new light on how drugmakers and their allies shaped the national response

to the ongoing wave of prescription opioid abuse.” 204 Specifically, PCF members spent over $740

million lobbying in the nation’s capital and in all 50 statehouses on an array of issues, including

opioid-related measures. 205

            352. Not surprisingly, each of the RICO Defendants who stood to profit from lobbying in

favor of prescription opioid use is a member of and/or participant in the PCF. 206 In 2012,

membership and participating organizations included the HDA (of which all RICO Defendants are

members), Endo, Purdue, Johnson & Johnson (the parent company for Janssen Pharmaceuticals),




204
   Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public
Integrity (September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-
chamber-shaped-policy-amid-drug-epidemic (emphasis added).
205
      Id.
206
   PAIN CARE FORUM 2012 Meetings Schedule, (last updated December 2011),
https://assets.documentcloud.org/documents/3108982/PAIN-CARE-FORUM-Meetings-Schedule-amp.pdf



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Actavis (i.e., Allergan), and Teva (the parent company of Cephalon). 207 Each of the Manufacturer

Defendants worked together through the PCF to advance the interests of the enterprise. But, the

Manufacturer Defendants were not alone. The Distributor Defendants actively participated, and

continue to participate in the PCF, at a minimum, through their trade organization, the HDA.208

Plaintiff is informed and believes that the Distributor Defendants participated directly in the PCF

as well.

        353. The 2012 Meeting Schedule for the Pain Care Forum is particularly revealing on the

subject of the Defendants’ interpersonal relationships. The meeting schedule indicates that

meetings were held in the D.C. office of Powers Pyles Sutter & Verville on a monthly basis, unless

otherwise noted. Local members were “encouraged to attend in person” at the monthly meetings.

And, the meeting schedule indicates that the quarterly and year-end meetings included a “Guest

Speaker.”

        354. The 2012 Pain Care Forum Meeting Schedule demonstrates that each of the

Defendants participated in meetings on a monthly basis, either directly or through their trade

organization, in a coalition of drugmakers and their allies whose sole purpose was to shape the

national response to the ongoing prescription opioid epidemic, including the concerted lobbying

efforts that the PCF undertook on behalf of its members.

        355. Second, the HDA -- or Healthcare Distribution Alliance -- led to the formation of

interpersonal relationships and an organization between the RICO Defendants. Although the entire


207
  Id. Plaintiff is informed and believes that Mallinckrodt became an active member of the PCF sometime after
2012.
208
    Id. The Executive Committee of the HDA (formerly the HDMA) currently includes the Chief Executive Officer,
Pharmaceutical Segment for Cardinal Health, Inc., the Group President, Pharmaceutical Distribution and Strategic
Global Source for AmerisourceBergen Corporation, and the President, U.S. Pharmaceutical for McKesson
Corporation. Executive Committee, Healthcare Distribution Alliance (accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/executive-committee.



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HDA membership directory is private, the HDA website confirms that each of the Distributor

Defendants and the Manufacturer Defendants named in the Complaint, including Actavis (i.e.,

Allergan), Endo, Purdue, Mallinckrodt and Cephalon were members of the HDA. 209 And, the HDA

and each of the Distributor Defendants, eagerly sought the active membership and participation of

the Manufacturer Defendants by advocating that one of the benefits of membership included the

ability to develop direct relationships between Manufacturers and Distributors at high executive

levels.

          356. In fact, the HDA touted the benefits of membership to the Manufacturer Defendants,

advocating that membership included the ability to, among other things, “network one on one with

manufacturer executives at HDA’s members-only Business and Leadership Conference,”

“networking with HDA wholesale distributor members,” “opportunities to host and sponsor HDA

Board of Directors events,” “participate on HDA committees, task forces and working groups with

peers and trading partners,” and “make connections.” 210 Clearly, the HDA and the Distributor

Defendants believed that membership in the HDA was an opportunity to create interpersonal and

ongoing organizational relationships between the Manufacturers and Defendants.

          357. The application for manufacturer membership in the HDA further indicates the level

of connection that existed between the RICO Defendants. 211 The manufacturer membership

application must be signed by a “senior company executive,” and it requests that the manufacturer




209
    Manufacturer Membership, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/membership/manufacturer.
210
    Manufacturer Membership Benefits, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-benefits.ashx?la=en.
211
    Manufacturer Membership Application, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-
application.ashx?la=en.



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applicant identify a key contact and any additional contacts from within its company. The HDA

application also requests that the manufacturer identify its current distribution information and its

most recent year end net sales through any HDA distributors, including but not limited to,

Defendants AmerisourceBergen, Cardinal Health, and McKesson. 212

            358. After becoming members, the Distributors and Manufacturers were eligible to

participate on councils, committees, task forces and working groups, including:

               a. Industry Relations Council: “This council, composed of distributor and
                  manufacturer members, provides leadership on pharmaceutical distribution and
                  supply chain issues.” 213

               b. Business Technology Committee: “This committee provides guidance to HDA and
                  its members through the development of collaborative e-commerce business
                  solutions. The committee’s major areas of focus within pharmaceutical distribution
                  include information systems, operational integration and the impact of e-
                  commerce.” Participation in this committee includes distributors and manufacturer
                  members. 214

               c. Health, Beauty and Wellness Committee: “This committee conducts research, as
                  well as creates and exchanges industry knowledge to help shape the future of the
                  distribution for health, beauty and wellness/consumer products in the healthcare
                  supply chain.” Participation in this committee includes distributors and
                  manufacturer members. 215

               d. Logistics Operation Committee: “This committee initiates projects designed to help
                  members enhance the productivity, efficiency and customer satisfaction within the
                  healthcare supply chain. Its major areas of focus include process automation,
                  information systems, operational integration, resource management and quality
                  improvement.”     Participation in this committee includes distributors and
                  manufacturer members. 216




212
      Id.
213
    Councils and Committees, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/councils-and-committees.
214
      Id.
215
      Id.
216
      Id.



                                                      122
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               e. Manufacturer Government Affairs Advisory Committee: “This committee provides
                  a forum for briefing HDA’s manufacturer members on federal and state legislative
                  and regulatory activity affecting the pharmaceutical distribution channel. Topics
                  discussed include such issues as prescription drug traceability, distributor licensing,
                  FDA and DEA regulation of distribution, importation and Medicaid/Medicare
                  reimbursement.” Participation in this committee includes manufacturer
                  members. 217

               f. Bar Code Task Force: Participation includes Distributor, Manufacturer and Service
                  Provider Members. 218

               g. eCommerce Task Force: Participation includes Distributor, Manufacturer and
                  Service Provider Members. 219

               h. ASN Working Group: Participation includes Distributor, Manufacturer and Service
                  Provider Members. 220

               i. Contracts and Chargebacks Working Group: “This working group explores how
                  the contract administration process can be streamlined through process
                  improvements or technical efficiencies. It also creates and exchanges industry
                  knowledge of interest to contract and chargeback professionals.” Participation
                  includes Distributor and Manufacturer Members. 221

            359. The councils, committees, task forces and working groups provided the

Manufacturer and Distributor Defendants with the opportunity to work closely together in shaping

their common goals and forming the enterprise’s organization.

            360. The HDA also offers a multitude of conferences, including annual business and

leadership conferences. The HDA, and the Distributor Defendants advertise these conferences to

the Manufacturer Defendants as an opportunity to “bring together high-level executives, thought

leaders and influential managers . . . to hold strategic business discussions on the most pressing



217
      Id.
218
      Id.
219
      Id.
220
      Id.
221
      Id.



                                                    123
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industry issues.” 222 The conferences also gave the Manufacturer and Distributor Defendants

“unmatched opportunities to network with [their] peers and trading partners at all levels of the

healthcare distribution industry.” 223 The HDA and its conferences were significant opportunities

for the Manufacturer and Distributor Defendants to interact at a high-level of leadership. And, it

is clear that the Manufacturer Defendants embraced this opportunity by attending and sponsoring

these events. 224

            361. Third, the RICO Defendants maintained their interpersonal relationships by working

together and exchanging information and driving the unlawful sales of their opioids through their

contractual relationships, including chargebacks and vault security programs.

            362. The Manufacturer Defendants engaged in an industry-wide practice of paying rebates

and/or chargebacks to the Distributor Defendants for sales of prescription opioids. 225 As reported

in the Washington Post, identified by Senator McCaskill, and acknowledged by the HDA, there is

an industry-wide practice whereby the Manufacturers paid the Distributors rebates and/or

chargebacks on their prescription opioid sales. 226 On information and belief, these contracts were

negotiated at the highest levels, demonstrating ongoing relationships between the Manufacturer


222
    Business and Leadership Conference – Information for Manufacturers, Healthcare Distribution Alliance,
(accessed on September 14, 2017), https://www.healthcaredistribution.org/events/2015-business-and-leadership-
conference/blc-for-manufacturers.
223
      Id.
224
    2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance, (accessed on September
14, 2017), https://www.healthcaredistribution.org/events/2015-distribution-management-conference.
225
    Lenny Bernstein & Scott Higham, The government’s struggle to hold opioid manufacturers accountable, The
Washington Post, (April 2, 2017), https://www.washingtonpost.com/graphics/investigations/dea-
mallinckrodt/?utm_term=.b24cc81cc356; see also, Letter from Sen. Claire McCaskill, (July 27, 2017),
https://www.mccaskill.senate.gov/imo/media/image/july-opioid-investigation-letter-manufacturers.png; Letter from
Sen. Claire McCaskill, (July 27, 2017), https://www.mccaskill.senate.gov/imo/media/image/july-opioid-
investigation-letter-manufacturers.png; Letters From Sen. Claire McCaskill, (March 28, 2017),
https://www.mccaskill.senate.gov/opioid-investigation; Purdue Managed Markets, Purdue Pharma, (accessed on
September 14, 2017), http://www.purduepharma.com/payers/managed-markets/.
226
      Id.



                                                      124
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and Distributor Defendants. In return for the rebates and chargebacks, the Distributor Defendants

provided the Manufacturer Defendants with detailed information regarding their prescription

opioid sales, including purchase orders, acknowledgements, ship notices, and invoices. 227 The

Manufacturer Defendants used this information to gather high-level data regarding overall

distribution and direct the Distributor Defendants on how to most effectively sell the prescription

opioids.

        363. The contractual relationships among the RICO Defendants also include vault security

programs. The RICO Defendants are required to maintain certain security protocols and storage

facilities for the manufacture and distribution of their opiates. Plaintiff is informed and believes

that manufacturers negotiated agreements whereby the Manufacturers installed security vaults for

Distributors in exchange for agreements to maintain minimum sales performance thresholds.

Plaintiff is informed and believes that these agreements were used by the RICO Defendants as a

tool to violate their reporting and diversion duties in order to reach the required sales requirements.

        364. Taken together, the interaction and length of the relationships between and among

the Manufacturer and Distributor Defendants reflects a deep level of interaction and cooperation

between two groups in a tightly knit industry. The Manufacturer and Distributor Defendants were

not two separate groups operating in isolation or two groups forced to work together in a closed

system. The RICO Defendants operated together as a united entity, working together on multiple

fronts, to engage in the unlawful sale of prescription opioids. The HDA and the Pain Care Forum

are but two examples of the overlapping relationships, and concerted joint efforts to accomplish




227
    Webinars, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/resources/webinar-leveraging-edi.

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common goals and demonstrates that the leaders of each of the RICO Defendants was in

communication and cooperation.

            365. According to articles published by the Center for Public Integrity and The Associated

Press, the Pain Care Forum – whose members include the Manufacturers and the Distributors’

trade association has been lobbying on behalf of the Manufacturers and Distributors for “more

than a decade.” 228 And, from 2006 to 2016 the Distributors and Manufacturers worked together

through the Pain Care Forum to spend over $740 million lobbying in the nation’s capital and in all

50 statehouses on issues including opioid-related measures. 229 Similarly, the HDA has continued

its work on behalf of Distributors and Manufacturers, without interruption, since at least 2000, if

not longer. 230

            366. As described above, the RICO Defendants began working together as early as 2006

through the Pain Care Forum and/or the HDA to promote the common purpose of their enterprise.

Plaintiff is informed and believes that the RICO Defendants worked together as an ongoing and

continuous organization throughout the existence of their enterprise.

                           B. CONDUCT OF THE OPIOID DIVERSION ENTERPRISE

            367. During the time period alleged in this Complaint, the RICO Defendants exerted

control over, conducted and/or participated in the Opioid Diversion Enterprise by fraudulently

failing to comply with their Federal and State obligations to identify, investigate and report

suspicious orders of opioids in order to prevent diversion of those highly addictive substances into




228
    Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public
Integrity (September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-
chamber-shaped-policy-amid-drug-epidemic.
229
      Id.
230
    HDA History, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/hda-history.

                                                      126
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the illicit market, to halt such unlawful sales and, in doing so, to increase production quotas and

generate unlawful profits, as follows:

       368. Defendants disseminated false and misleading statements to the public claiming that

they were complying with their obligations to maintain effective controls against diversion of their

prescription opioids.

       369. Defendants disseminated false and misleading statements to the public claiming that

they were complying with their obligations to design and operate a system to disclose to the

registrant suspicious orders of their prescription opioids.

       370. Defendants disseminated false and misleading statements to the public claiming that

they were complying with their obligation to notify the DEA of any suspicious orders or diversion

of their prescription opioids.

       371. Defendants paid nearly $800 million dollars to influence local, state and federal

governments through joint lobbying efforts as part of the Pain Care Forum. The RICO Defendants

were all members of their Pain Care Forum either directly or indirectly through the HDA. The

lobbying efforts of the Pain Care Forum and its members, included efforts to pass legislation

making it more difficult for the DEA to suspend and/or revoke the Manufacturers’ and

Distributors’ registrations for failure to report suspicious orders of opioids.

       372. The RICO Defendants exercised control and influence over the distribution industry

by participating and maintaining membership in the HDA.

       373. The RICO Defendants applied political and other pressure on the DOJ and DEA to

halt prosecutions for failure to report suspicious orders of prescription opioids and lobbied




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Congress to strip the DEA of its ability to immediately suspend registrations pending investigation

by passing the “Ensuring Patient Access and Effective Drug Enforcement Act.” 231

        374. The RICO Defendants engaged in an industry-wide practice of paying rebates and

chargebacks to incentivize unlawful opioid prescription sales. Plaintiff is informed and believes

that the Manufacturer Defendants used the chargeback program to acquire detailed high-level data

regarding sales of the opioids they manufactured. And, Plaintiff is informed and believes that the

Manufacturer Defendants used this high-level information to direct the Distributor Defendants’

sales efforts to regions where prescription opioids were selling in larger volumes.

        375. The Manufacturer Defendants lobbied the DEA to increase Aggregate Production

Quotas, year after year by submitting net disposal information that the Manufacturer Defendants

knew included sales that were suspicious and involved the diversion of opioids that had not been

properly investigated or reported by the RICO Defendants.

        376. The Distributor Defendants developed “know your customer” questionnaires and

files. This information, compiled pursuant to comments from the DEA in 2006 and 2007 was

intended to help the RICO Defendants identify suspicious orders or customers who were likely to

divert prescription opioids. 232 On information and belief, the “know your customer” questionnaires


231
    See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June 13, 2016, updated
July 6, 2016), http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-distribution-
alliance/; Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid
Epidemic Grew Out of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-
slowed-enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of
DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6, 2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-
slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had no
Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.
232
    Suggested Questions a Distributor should ask prior to shipping controlled substances, Drug Enforcement
Administration (available at
https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf); Richard Widup, Jr.,
Kathleen H. Dooley, Esq. Pharmaceutical Production Diversion: Beyond the PDMA, Purdue Pharma and McQuite


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informed the RICO Defendants of the number of pills that the pharmacies sold, how many non-

controlled substances are sold compared to controlled substances, whether the pharmacy buys from

other distributors, the types of medical providers in the area, including pain clinics, general

practitioners, hospice facilities, cancer treatment facilities, among others, and these questionnaires

put the recipients on notice of suspicious orders.

            377. The RICO Defendants refused to identify, investigate and report suspicious orders to

the DEA when they became aware of the same despite their actual knowledge of drug diversion

rings. The RICO Defendants refused to identify suspicious orders and diverted drugs despite the

DEA issuing final decisions against the Distributor Defendants in 178 registrant actions between

2008 and 2012 233 and 117 recommended decision in registrant actions from The Office of

Administrative Law Judges. These numbers include 76 actions involving orders to show cause and

41 actions involving immediate suspension orders -- all for failure to report suspicious orders. 234

            378. Defendants’ scheme had decision-making structure that was driven by the

Manufacturer Defendants and corroborated by the Distributor Defendants. The Manufacturer

Defendants worked together to control the State and Federal Government’s response to the

manufacture and distribution of prescription opioids by increasing production quotas through a

systematic refusal to maintain effective controls against diversion, and identify suspicious orders

and report them to the DEA.

            379. The RICO Defendants worked together to control the flow of information and

influence state and federal governments and political candidates to pass legislation that was pro-


Woods LLC, (available at https://www.mcguirewoods.com/news-
resources/publications/lifesciences/product_diversion_beyond_pdma.pdf).
233
   Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.
234
      Id.

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opioid. The Manufacturer and Distributor Defendants did this through their participation in the

Pain Care Forum and Healthcare Distributors Alliance.

        380. The RICO Defendants also worked together to ensure that the Aggregate Production

Quotas, Individual Quotas and Procurement Quotas allowed by the DEA stayed high and ensured

that suspicious orders were not reported to the DEA. By not reporting suspicious orders or

diversion of prescription opioids, the RICO Defendants ensured that the DEA had no basis for

refusing to increase or decrease the production quotas for prescription opioids due to diversion of

suspicious orders. The RICO Defendants influenced the DEA production quotas in the following

ways:

           a. The Distributor Defendants assisted the enterprise and the Manufacturer

               Defendants in their lobbying efforts through the Pain Care Forum;

           b. The Distributor Defendants invited the participation, oversight and control of the

               Manufacturer Defendants by including them in the HDA, including on the councils,

               committees, task forces, and working groups;

           c. The Distributor Defendants provided sales information to the Manufacturer

               Defendants regarding their prescription opioids, including reports of all opioids

               prescriptions filled by the Distributor Defendants;

           d. The Manufacturer Defendants used a chargeback program to ensure delivery of the

               Distributor Defendants’ sales information;




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             e. The Manufacturer Defendants obtained sales information from QuintilesIMS

                 (formerly IMS Health) that gave them a “stream of data showing how individual

                 doctors across the nation were prescribing opioids.” 235

             f. The Distributor Defendants accepted rebates and chargebacks for orders of

                 prescription opioids;

             g. The Manufacturer Defendants used the Distributor Defendants’ sales information

                 and the data from QuintilesIMS to instruct the Distributor Defendants to focus their

                 distribution efforts to specific areas where the purchase of prescription opioids was

                 most frequent;

             h. The RICO Defendants identified suspicious orders of prescription opioids and then

                 continued filling those unlawful orders, without reporting them, knowing that they

                 were suspicious and/or being diverted into the illicit drug market;

             i. The RICO Defendants refused to report suspicious orders of prescription opioids

                 despite repeated investigation and punishment of the Distributor Defendants by the

                 DEA for failure to report suspicious orders; and

             j. The RICO Defendants withheld information regarding suspicious orders and illicit

                 diversion from the DEA because it would have revealed that the “medical need”

                 for and the net disposal of their drugs did not justify the production quotas set by

                 the DEA.

        381. The scheme devised and implemented by the RICO Defendants amounted to a

common course of conduct characterized by a refusal to maintain effective controls against




235
    Harriet Ryan, et al., More than 1 million OxyContin pills ended up in the hands of criminals and addicts. What
the drugmaker knew, Los Angeles Times, (July 10, 2016), http://www.latimes.com/projects/la-me-oxycontin-part2/

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diversion, and all designed and operated to ensure the continued unlawful sale of controlled

substances.

                       C. PATTERN OF RACKETEERING ACTIVITY.

       382. The RICO Defendants conducted and participated in the conduct of the Opioid

Diversion Enterprise through a pattern of racketeering activity as defined in 18 U.S.C. § 1961(B),

including mail fraud (18 U.S.C. § 1341) and wire fraud (18 U.S.C. § 1343); and 18 U.S.C. §

1961(D) by the felonious manufacture, importation, receiving, concealment buying selling, or

otherwise dealing in a controlled substance or listed chemical (as defined in section 102 of the

Controlled Substance Act), punishable under any law of the United States.

                           1. The RICO Defendants Engaged in Mail and Wire Fraud.

       383. The RICO Defendants carried out, or attempted to carry out, a scheme to defraud

federal and state regulators, and the American public by knowingly conducting or participating in

the conduct of the Opioid Diversion Enterprise through a pattern of racketeering activity within

the meaning of 18 U.S.C. § 1961(1) that employed the use of mail and wire facilities, in violation

of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).

       384. The RICO Defendants committed, conspired to commit, and/or aided and abetted in

the commission of at least two predicate acts of racketeering activity (i.e. violations of 18 U.S.C.

§§ 1341 and 1343) within the past ten years. The multiple acts of racketeering activity that the

RICO Defendants committed, or aided and abetted in the commission of, were related to each

other, posed a threat of continued racketeering activity, and therefore constitute a “pattern of

racketeering activity.” The racketeering activity was made possible by the RICO Defendants’

regular use of the facilities, services, distribution channels, and employees of the Opioid Diversion

Enterprise. The RICO Defendants participated in the scheme to defraud by using mail, telephone

and the Internet to transmit mailings and wires in interstate or foreign commerce.

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        385. The RICO Defendants used, directed the use of, and/or caused to be used, thousands

of interstate mail and wire communications in service of their scheme through virtually uniform

misrepresentations, concealments and material omissions regarding their compliance with their

mandatory reporting requirements and the actions necessary to carry out their unlawful goal of

selling prescription opioids without reporting suspicious orders or the diversion of opioids into the

illicit market.

        386. In devising and executing the illegal scheme, the RICO Defendants devised and

knowingly carried out a material scheme and/or artifice to defraud by means of materially false or

fraudulent pretenses, representations, promises, or omissions of material facts. For the purpose of

executing the illegal scheme, the RICO Defendants committed these racketeering acts, which

number in the thousands, intentionally and knowingly with the specific intent to advance the illegal

scheme.

        387. The RICO Defendants’ predicate acts of racketeering (18 U.S.C. § 1961(1)) include,

but are not limited to:

            a. Mail Fraud: The RICO Defendants violated 18 U.S.C. § 1341 by sending or
               receiving, or by causing to be sent and/or received, materials via U.S. mail or
               commercial interstate carriers for the purpose of executing the unlawful scheme to
               design, manufacture, market, and sell the prescription opioids by means of false
               pretenses, misrepresentations, promises, and omissions.

            b. Wire Fraud: The RICO Defendants violated 18 U.S.C. § 1343 by transmitting
               and/or receiving, or by causing to be transmitted and/or received, materials by wire
               for the purpose of executing the unlawful scheme to design, manufacture, market,
               and sell the prescription opioids by means of false pretenses, misrepresentations,
               promises, and omissions.

        388. The RICO Defendants’ use of the mail and wires includes, but is not limited to, the

transmission, delivery, or shipment of the following by the Manufacturers, Distributors, or third




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parties that were foreseeably caused to be sent as a result of the RICO Defendants’ illegal scheme,

including but not limited to:

           a. The prescription opioids themselves;

           b. Documents and communications that facilitated the manufacture, purchase and
              unlawful sale of prescription opioids;

           c. Defendants’ DEA registrations;

           d. Documents and communications that supported and/or facilitated Defendants’
              DEA registrations;

           e. Documents and communications that supported and/or facilitated the Defendants’
              request for higher aggregate production quotas, individual production quotas, and
              procurement quotas;

           f. Defendants’ records and reports that were required to be submitted to the DEA
              pursuant to 21 U.S.C. § 827;

           g. Documents and communications related to the Defendants’ mandatory DEA
              reports pursuant to 21 U.S.C. § 823 and 21 C.F.R. § 1301.74;

           h. Documents intended to facilitate the manufacture and distribution of Defendants’
              prescription opioids, including bills of lading, invoices, shipping records, reports
              and correspondence;

           i. Documents for processing and receiving payment for prescription opioids;

           j. Payments from the Distributors to the Manufacturers;

           k. Rebates and chargebacks from the Manufacturers to the Distributors;

           l. Payments to Defendants’ lobbyists through the Pain Care Forum;

           m. Payments to Defendants’ trade organizations, like the HDA, for memberships
              and/or sponsorships;

           n. Deposits of proceeds from Defendants’ manufacture and distribution of
              prescription opioids; and

           o. Other documents and things, including electronic communications.




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        389. On information and belief, the RICO Defendants (and/or their agents), for the

purpose of executing the illegal scheme, sent and/or received (or caused to be sent and/or received)

by mail or by private or interstate carrier, shipments of prescription opioids and related documents

by mail or by private carrier affecting interstate commerce, including the following:

        390. Purdue manufactures multiple forms of prescription opioids, including but not

limited to: OxyContin, MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and Targiniq

ER. Purdue manufactured and shipped these prescription opioids to the Distributor Defendants in

this jurisdiction.

        391. The Distributor Defendants shipped Purdue’s prescription opioids throughout this

jurisdiction.

        392. Cephalon manufactures multiple forms of prescription opioids, including but not

limited to: Actiq and Fentora. Cephalon manufactured and shipped these prescription opioids to

the Distributor Defendants in this jurisdiction.

        393. The Distributor Defendants shipped Teva’s prescription opioids throughout this

jurisdiction.

        394. Janssen manufactures prescription opioids known as Duragesic. Janssen

manufactured and shipped its prescription opioids to the Distributor Defendants in this jurisdiction.

        395. The Distributor Defendants shipped Janssen’s prescription opioids throughout this

jurisdiction.

        396. Endo manufactures multiple forms of prescription opioids, including but not limited

to: Opana/Opana ER, Percodan, Percocet, and Zydone. Endo manufactured and shipped its

prescription opioids to the Distributor Defendants in the State.




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        397. The Distributor Defendants shipped Janssen’s prescription opioids throughout this

jurisdiction.

        398. Actavis manufactures multiple forms of prescription opioids, including but not

limited to: Kadin and Norco, as well as generic versions of the drugs known as Kadian, Duragesic

and Opana. Actavis manufactured and shipped its prescription opioids to the Distributor

Defendants in this jurisdiction.

        399. The Distributor Defendants shipped Actavis’ prescription opioids throughout this

jurisdiction.

        400. Mallinckrodt manufactures multiple forms of prescription opioids, including but not

limited to: Exalgo and Roxicodone.

        401. The Distributor Defendants shipped Mallinckrodt’s prescription opioids throughout

this jurisdiction.

        402. The RICO Defendants also used the internet and other electronic facilities to carry

out their scheme and conceal the ongoing fraudulent activities. Specifically, the RICO Defendants

made misrepresentations about their compliance with Federal and State laws requiring them to

identify, investigate and report suspicious orders of prescription opioids and/or diversion of the

same into the illicit market.

        403. At the same time, the RICO Defendants misrepresented the superior safety features

of their order monitoring programs, ability to detect suspicious orders, commitment to preventing

diversion of prescription opioids and that they complied with all state and federal regulations

regarding the identification and reporting of suspicious orders of prescription opioids.




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       404. Plaintiff is also informed and believes that the RICO Defendants utilized the internet

and other electronic resources to exchange communications, to exchange information regarding

prescription opioid sales, and to transmit payments and rebates/chargebacks.

       405. The RICO Defendants also communicated by U.S. Mail, by interstate facsimile, and

by interstate electronic mail and with various other affiliates, regional offices, regulators,

distributors, and other third-party entities in furtherance of the scheme.

       406. The mail and wire transmissions described herein were made in furtherance of

Defendants’ scheme and common course of conduct to deceive regulators and the public that

Defendants were complying with their state and federal obligations to identify and report

suspicious orders of prescription opioids all while Defendants were knowingly allowing millions

of doses of prescription opioids to divert into the illicit drug market. The RICO Defendants’

scheme and common course of conduct was intended to increase or maintain high production

quotas for their prescription opioids from which they could profit.

       407. Many of the precise dates of the fraudulent uses of the U.S. mail and interstate wire

facilities have been deliberately hidden, and cannot be alleged without access to Defendants’ books

and records. But, Plaintiff has described the types of, and in some instances, occasions on which

the predicate acts of mail and/or wire fraud occurred. They include thousands of communications

to perpetuate and maintain the scheme, including the things and documents described in the

preceding paragraphs.

       408. The RICO Defendants did not undertake the practices described herein in isolation,

but as part of a common scheme. These actions violate 18 U.S.C. § 1962(c). Various other persons,

firms, and corporations, including third-party entities and individuals not named as defendants in

this Complaint, may have contributed to and/or participated in the scheme with the RICO



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Defendants in these offenses and have performed acts in furtherance of the scheme to increase

revenues, increase market share, and /or minimize the losses for the RICO Defendants.

       409. The RICO Defendants aided and abetted others in the violations of the above laws,

thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and 1343 offenses.

       410. The RICO Defendants hid from the general public, and suppressed and/or ignored

warnings from third parties, whistleblowers and governmental entities, about the reality of the

suspicious orders that the RICO Defendants were filling on a daily basis -- leading to the diversion

of a tens of millions of doses of prescriptions opioids into the illicit market.

       411. The RICO Defendants, with knowledge and intent, agreed to the overall objective of

their fraudulent scheme and participated in the common course of conduct to commit acts of fraud

and indecency in manufacturing and distributing prescription opioids.

       412. Indeed, for the Defendants’ fraudulent scheme to work, each of the Defendants had

to agree to implement similar tactics regarding marketing prescription opioids and refusing to

report suspicious orders.

       413. As described herein, the RICO Defendants engaged in a pattern of related and

continuous predicate acts for years. The predicate acts constituted a variety of unlawful activities,

each conducted with the common purpose of obtaining significant monies and revenues from the

sale of their highly addictive and dangerous drugs. The predicate acts also had the same or similar

results, participants, victims, and methods of commission. The predicate acts were related and not

isolated events.

       414. The predicate acts all had the purpose of generating significant revenue and profits

for the RICO Defendants while Plaintiff was left with substantial injury to its business through the

damage that the prescription opioid epidemic caused. The predicate acts were committed or caused



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to be committed by the RICO Defendants through their participation in the Opioid Diversion

Enterprise and in furtherance of its fraudulent scheme.

         415. The pattern of racketeering activity alleged herein and the Opioid Diversion

Enterprise are separate and distinct from each other. Likewise, Defendants are distinct from the

enterprise.

         416. The pattern of racketeering activity alleged herein is continuing as of the date of this

Complaint and, upon information and belief, will continue into the future unless enjoined by this

Court.

         417. Many of the precise dates of the RICO Defendants’ criminal actions at issue here

have been hidden and cannot be alleged without access to Defendants’ books and records. Indeed,

an essential part of the successful operation of the Opioids Addiction and Opioid Diversion

Enterprise alleged herein depended upon secrecy.

         418. Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, including consumers in this jurisdiction and the Plaintiff.

Defendants calculated and intentionally crafted the Opioid Diversion Enterprise and their scheme

to increase and maintain their increased profits, without regard to the effect such behavior would

have on consumers in this jurisdiction, its citizens or the Plaintiff. In designing and implementing

the scheme, at all times Defendants were cognizant of the fact that those in the manufacturing and

distribution chain rely on the integrity of the pharmaceutical companies and ostensibly neutral

third parties to provide objective and reliable information regarding Defendants’ products and their

manufacture and distribution of those products. The Defendants were also aware that Plaintiff and




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the citizens of this jurisdiction rely on the Defendants to maintain a closed system and to protect

against the non-medical diversion and use of their dangerously addictive opioid drugs.

       419. By intentionally refusing to report and halt suspicious orders of their prescription

opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct constituting

a pattern of racketeering activity.

       420. It was foreseeable to Defendants that refusing to report and halt suspicious orders, as

required by the CSA and Code of Federal Regulations, would harm Plaintiff by allowing the flow

of prescriptions opioids from appropriate medical channels into the illicit drug market.

       421. The last racketeering incident occurred within five years of the commission of a prior

incident of racketeering.

                            2. The RICO Defendants Manufactured, Sold and/or Dealt in
                               Controlled Substances and Their Crimes Are Punishable as
                               Felonies.

       422. The RICO Defendants conducted and participated in the conduct of the affairs of the

Opioid Diversion Enterprise through a pattern of racketeering activity as defined in 18 U.S.C. §

1961(D) by the felonious manufacture, importation, receiving, concealment, buying, selling, or

otherwise dealing in a controlled substance or listed chemical (as defined in section 102 of the

Controlled Substance Act), punishable under any law of the United States.

       423. The RICO Defendants committed crimes that are punishable as felonies under the

laws of the United States. Specifically, 21 U.S.C. § 483(a)(4) makes it unlawful for any person to

knowingly or intentionally furnish false or fraudulent information in, or omit any material

information from, any application, report, record or other document required to be made, kept or

filed under this subchapter. A violation of section 483(a)(4) is punishable by up to four years in

jail, making it a felony. 21 U.S.C. § 483(d)(1).



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        424. Each of the RICO Defendants qualify as registrants under the CSA. Their status as

registrants under the CSA requires that they maintain effective controls against diversion of

controlled substances in schedule I or II, design and operate a system to disclose to the registrant

suspicious orders of controlled substances, and inform the DEA of suspicious orders when

discovered by the registrant. 21 U.S.C. § 823; 21 C.F.R. § 1301.74(b).

        425. Pursuant to the CSA and the Code of Federal Regulations, the RICO Defendants

were required to make reports to the DEA of any suspicious orders identified through the design

and operation of their system to disclose suspicious orders.

        426. The RICO Defendants knowingly and intentionally furnished false or fraudulent

information in their reports to the DEA about suspicious orders, and/or omitted material

information from reports, records and other document required to be filed with the DEA including

the Manufacturer Defendants’ applications for production quotas. Specifically, the RICO

Defendants were aware of suspicious orders of prescription opioids and the diversion of their

prescription opioids into the illicit market, and failed to report this information to the DEA in their

mandatory reports and their applications for production quotas.

        427. For example, The DEA and DOJ began investigating McKesson in 2013 regarding

its monitoring and reporting of suspicious controlled substances orders. On April 23, 2015,

McKesson filed a Form-8-K announcing a settlement with the DEA and DOJ wherein it admitted

to violating the CSA and agreed to pay $150 million and have some of its DEA registrations

suspended on a staggered basis. The settlement was finalized on January 17, 2017. 236




236
    McKesson, McKesson Finalizes Settlement with U.S. Department of Justice and U.S. Drug Enforcement
Administration to Resolve Past Claims, About McKesson / Newsroom / Press Releases, (January 17, 2017(),
http://www.mckesson.com/about-mckesson/newsroom/press-releases/2017/mckesson-finalizes-settlement-with-doj-
and-dea-to-resolve-past-claims/.

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            428. Purdue’s experience in Los Angeles is another striking example of Defendants’

willful violation of the CSA and Code of Federal Regulations as it relates to reporting suspicious

orders of prescription opioids. In 2016, the Los Angeles Times reported that Purdue was aware of

a pill mill operating out of Los Angeles yet failed to alert the DEA. 237 The LA Times uncovered

that Purdue began tracking a surge in prescriptions in Los Angeles, including one prescriber in

particular. A Purdue sales manager spoke with company officials in 2009 about the prescriber,

asking “Shouldn’t the DEA be contacted about this?” and adding that she felt “very certain this is

an organized drug ring.” 238 Despite knowledge of the staggering amount of pills being issued in

Los Angeles, and internal discussion of the problem, “Purdue did not shut off the supply of highly

addictive OxyContin and did not tell authorities what it knew about Lake Medical until several

years later when the clinic was out of business and its leaders indicted. By that time, 1.1 million

pills had spilled into the hands of Armenian mobsters, the Crips gang and other criminals.” 239

            429. Finally, Mallinckrodt was recently the subject of a DEA and Senate investigation for

its opioid practices. Specifically, in 2011, the DEA targeted Mallinckrodt arguing that it ignored

its responsibility to report suspicious orders as 500 million of its pills ended up in Florida between

2008 and 2012. 240 After six years of DEA investigation, Mallinckrodt agreed to a settlement

involving a $35 million fine. Federal prosecutors summarized the case by saying that




237
    Harriet Ryan, et al., More than 1 million OxyContin pills ended up in the hands of criminals and addicts. What
the drugmaker knew, Los Angeles Times, (July 10, 2016), http://www.latimes.com/projects/la-me-oxycontin-part2/.
238
      Id.
239
      Id.
240
   Lenny Bernstein & Scott Higham, The government’s struggle to hold opioid manufacturers accountable, The
Washington Post, (April 2, 2017), https://www.washingtonpost.com/graphics/investigations/dea-
mallinckrodt/?utm_term=.b24cc81cc356. This number accounted for 66% of all oxycodone sold in the state of
Florida during that time.



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Mallinckrodt’s response was that everyone knew what was going on in Florida but they had no

duty to report it. 241

            430. Plaintiff is informed and believes that the foregoing examples reflect the RICO

Defendants’ pattern and practice of willfully and intentionally omitting information from their

mandatory reports to the DEA as required by 21 C.F.R. § 1301.74. This conclusion is supported

by the sheer volume of enforcement actions available in the public record against the Distributor

Defendants. 242 For example:

               a. On April 24, 2007, the DEA issued an Order to Show Cause and Immediate
                  Suspension Order against the AmerisourceBergen Orlando, Florida distribution
                  center (“Orlando Facility”) alleging failure to maintain effective controls against
                  diversion of controlled substances. On June 22, 2007, AmerisourceBergen entered
                  into a settlement that resulted in the suspension of its DEA registration;

               b. On November 28, 2007, the DEA issued an Order to Show Cause and Immediate
                  Suspension Order against the Cardinal Health Auburn, Washington Distribution
                  Center (“Auburn Facility”) for failure to maintain effective controls against
                  diversion of hydrocodone;

               c. On December 5, 2007, the DEA issued an Order to Show Cause and Immediate
                  Suspension Order against the Cardinal Health Lakeland, Florida Distribution
                  Center (“Lakeland Facility”) for failure to maintain effective controls against
                  diversion of hydrocodone;

               d. On December 7, 2007, the DEA issued an Order to Show Cause and Immediate
                  Suspension Order against the Cardinal Health Swedesboro, New Jersey
                  Distribution Center (“Swedesboro Facility”) for failure to maintain effective
                  controls against diversion of hydrocodone;

               e. On January 30, 2008, the DEA issued an Order to Show Cause and Immediate
                  Suspension Order against the Cardinal Health Stafford, Texas Distribution Center
                  (“Stafford Facility”) for failure to maintain effective controls against diversion of
                  hydrocodone;

               f. On May 2, 2008, McKesson Corporation entered into an Administrative
                  Memorandum of Agreement (“2008 MOA”) with the DEA which provided that

241
      Id.
242
    Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.

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              McKesson would “maintain a compliance program designed to detect and prevent
              the diversion of controlled substances, inform DEA of suspicious orders required
              by 21 C.F.R. § 1301.74(b), and follow the procedures established by its Controlled
              Substance Monitoring Program”;

           g. On September 30, 2008, Cardinal Health entered into a Settlement and Release
              Agreement and Administrative Memorandum of Agreement with the DEA related
              to its Auburn Facility, Lakeland Facility, Swedesboro Facility and Stafford Facility.
              The document also referenced allegations by the DEA that Cardinal failed to
              maintain effective controls against the diversion of controlled substances at its
              distribution facilities located in McDonough, Georgia (“McDonough Facility”),
              Valencia, California (“Valencia Facility”) and Denver, Colorado (“Denver
              Facility”);

           h. On February 2, 2012, the DEA issued an Order to Show Cause and Immediate
              Suspension Order against the Cardinal Health Lakeland, Florida Distribution
              Center (“Lakeland Facility”) for failure to maintain effective controls against
              diversion of oxycodone;

           i. On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to the
              DEA to resolve the civil penalty portion of the administrative action taken against
              its Lakeland, Florida Distribution Center; and

           j. On January 5, 2017, McKesson Corporation entered into an Administrative
              Memorandum Agreement with the DEA wherein it agreed to pay a $150,000,000
              civil penalty for violation of the 2008 MOA as well as failure to identify and report
              suspicious orders at its facilities in Aurora CO, Aurora IL, Delran NJ, LaCrosse
              WI, Lakeland FL, Landover MD, La Vista NE, Livonia MI, Methuen MA, Santa
              Fe Springs CA, Washington Courthouse OH and West Sacramento CA.

       431. These actions against the Distributor Defendants confirm that the Distributors knew

they had a duty to maintain effective controls against diversion, design and operate a system to

disclose suspicious orders, and to report suspicious orders to the DEA. These actions also

demonstrate, on information and belief, that the Manufacturer Defendants were aware of the

enforcement against their Distributors and the diversion of the prescription opioids and a

corresponding duty to report suspicious orders.




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         432. The pattern of racketeering activity alleged herein is continuing as of the date of this

Complaint and, upon information and belief, will continue into the future unless enjoined by this

Court.

         433. Many of the precise dates of Defendants’ criminal actions at issue herein were hidden

and cannot be alleged without access to Defendants’ books and records. Indeed, an essential part

of the successful operation of the Opioid Diversion Enterprise depended upon the secrecy of the

participants in that enterprise.

         434. Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, including consumers in this jurisdiction and the Plaintiff.

Defendants calculated and intentionally crafted the diversion scheme to increase and maintain

profits from unlawful sales of opioids, without regard to the effect such behavior would have on

this jurisdiction, its citizens or the Plaintiff. The Defendants were aware that Plaintiff and the

citizens of this jurisdiction rely on the Defendants to maintain a closed system of manufacturing

and distribution to protect against the non-medical diversion and use of their dangerously addictive

opioid drugs.

         435. By intentionally refusing to report and halt suspicious orders of their prescription

opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct constituting

a pattern of racketeering activity.

         436. It was foreseeable to Defendants that refusing to report and halt suspicious orders, as

required by the CSA and Code of Federal Regulations would harm Plaintiff by allowing the flow

of prescriptions opioids from appropriate medical channels into the illicit drug market.




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        437. The last racketeering incident occurred within five years of the commission of a prior

incident of racketeering.

                        D. DAMAGES

        438. The RICO Defendants’ violations of law and their pattern of racketeering activity

directly and proximately caused Plaintiff injury in its business and property because Plaintiff paid

for costs associated with the opioid epidemic, as described above in allegations expressly

incorporated herein by reference.

        439. Plaintiff’s injuries, and those of her citizens, were proximately caused by

Defendants’ racketeering activities. But for the RICO Defendants’ conduct, Plaintiff would not

have paid the law enforcement services and other expenditures required as a result of the plague

of drug-addicted residents.

        440. Plaintiff’s injuries and those of her citizens were directly caused by the RICO

Defendants’ racketeering activities.

        441. Plaintiff was most directly harmed and there is no other Plaintiff better suited to seek

a remedy for the economic harms at issue here.

        442. Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

attorney’s fees and all costs and expenses of suit and pre- and post-judgment interest.

                                COUNT III
         RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                          18 U.S.C. 1962(d), et seq.
                          (Against All Defendants)
        443. Plaintiff hereby incorporates by reference all other paragraphs of this Complaint as

if fully set forth herein, and further alleges as follows.




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       444. Plaintiff brings this claim on its own behalf against all RICO Defendants. At all

relevant times, the RICO Defendants were associated with the Opioid Diversion Enterprise and

agreed and conspired to violate 18 U.S.C. § 1962(c), that is, they agreed to conduct and participate,

directly and indirectly, in the conduct of the affairs of the Opioid Diversion Enterprise through a

pattern of racketeering activity in violation of 18 U.S.C. § 1962(d). Under Section 1962(d) it is

unlawful for “any person to conspire to violate” Section 1962(d), among other provisions. 18

U.S.C. § 1962(d).

       445. Defendants conspired to violate Section 1962(c), as alleged more fully above, by

conducting the affairs of the Opioid Diversion Enterprise through a pattern of racketeering activity,

as incorporated by reference below.

                         A. THE OPIOID DIVERSION ENTERPRISE.

       446. For efficiency and avoiding repetition, for purposes of this claim, Plaintiff

incorporates by reference the paragraphs set out above concerning the “Opioid Diversion

Enterprise.”

                         B. CONDUCT OF THE OPIOID DIVERSION ENTERPRISE.

       447. For efficiency and avoiding repetition, for purposes of this claim, Plaintiff

incorporates by reference the paragraphs set out above concerning the “Conduct of the Opioid

Diversion Enterprise.”

                         C. PATTERN OF RACKETEERING ACTIVITY.

       448. For efficiency and avoiding repetition, for purposes of this claim, Plaintiff

incorporates by reference the paragraphs set out above concerning the “Pattern of Racketeering

Activity.”




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                       D. DAMAGES.

       449. The RICO Defendants’ violations of law and their pattern of racketeering activity

directly and proximately caused Plaintiff injury in its business and property because Plaintiff paid

for costs associated with the opioid epidemic, as described above in allegations expressly

incorporated herein by reference.

       450. Plaintiff’s injuries, and those of her citizens, were proximately caused by the RICO

Defendants’ racketeering activities. But for the RICO Defendants’ conduct, Plaintiff would not

have paid the law enforcement services and other expenditures required as a result of the plague

of drug-addicted residents.

       451. Plaintiff’s injuries and those of her citizens were directly caused by the RICO

Defendants’ racketeering activities.

       452. Plaintiff was most directly harmed and there is no other Plaintiff better suited to seek

a remedy for the economic harms at issue here.

       453. Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

attorney’s fees and all costs and expenses of suit and pre- and post-judgment interest.

                                  COUNT IV
               NEGLIGENCE AND NEGLIGENT MISREPRESENTATION
                            (Against All Defendants)

       454. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       455. Plaintiff seeks economic damages which were the foreseeable result of Defendants’

intentional and/or unlawful actions and omissions.




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       456. Under State law, to establish actionable negligence, one must show in addition to the

existence of a duty, a breach of that duty, and injury resulting proximately therefrom and/or was

substantially caused thereby. All such essential elements exist here.

       457. Further, as Section 302B of the Restatement of Torts provides: “An act or an

omission may be negligent if the actor realizes or should realize that it involves an unreasonable

risk of harm to another through the conduct of the other or a third person which is intended to

cause harm, even though such conduct is criminal.”

       458. Each Defendant had an obligation to exercise reasonable care in manufacturing,

marketing, selling, and distributing highly dangerous opioid drugs to the State and Plaintiff’s

Community.

       459. Each Defendant had an obligation to exercise due care in manufacturing, marketing,

selling, and distributing highly dangerous opioid drugs in the State and Plaintiff’s Community.

       460. Each Defendant owed a duty to the Plaintiff, and to the public in the Plaintiff’s

Community, because the injury was foreseeable, and in fact foreseen, by the Defendants.

       461. Reasonably prudent manufacturers and distributors of prescription opioids would

have anticipated that the scourge of opioid addiction would wreak havoc on communities, and the

significant costs which would be imposed upon the governmental entities associated with those

communities. The closed system of opioid distribution whereby wholesale distributors are the

gatekeepers between manufacturers and pharmacies, and wherein all links in the chain have a duty

to prevent diversion, exists for the purpose of controlling dangerous substances such as opioids

and preventing diversion and abuse.

       462. Reasonably prudent manufacturers of pharmaceutical products would know that

aggressively pushing highly addictive opioids for chronic pain would result in the severe physical



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harm of addiction, foreseeably causing patients to seek increasing levels of opioids, frequently

turning to the illegal drug market as a result of a drug addiction that was foreseeable to the

Manufacturer Defendants.

       463. Moreover, Defendants were repeatedly warned by law enforcement of the

unlawfulness and consequences of their actions and omissions.

       464. The escalating amounts of addictive drugs flowing through Defendants’ businesses,

and the sheer volume of these prescription opioids, further alerted Defendants that the physical

harm of addiction was fueling increased consumption and that legitimate medical purposes were

not being served.

       465. As described above in allegations expressly incorporated herein, Distributor

Defendants breached their duties to exercise due care in the business of wholesale distribution of

dangerous opioids, which are Schedule II Controlled Substances, by failing to monitor for, failing

to report, and filling highly suspicious orders time and again. Because the very purpose of these

duties was to prevent the resulting harm – diversion of highly addictive drugs for non-medical

purposes – the causal connection between Defendants’ breach of duties and the ensuing harm was

entirely foreseeable.

       466. As described elsewhere in the Complaint in allegations expressly incorporated

herein, Distributor Defendants misrepresented their compliance with their duties under the law and

concealed their noncompliance and shipments of suspicious orders of opioids to Plaintiff’s

Community and destinations from which they knew opioids were likely to be diverted into

Plaintiff’s Community, in addition to other misrepresentations alleged and incorporated herein.

       467. As described elsewhere in the Complaint in allegations expressly incorporated

herein, Manufacturer Defendants breached their duties to exercise due care in the business of



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pharmaceutical manufacturers of dangerous opioids, which are Schedule II Controlled Substances,

and by misrepresenting the nature of the drugs and aggressively promoting them for chronic pain

for which they knew the drug were not safe or suitable, upon which the Plaintiff’s Community, its

residents, and Plaintiff reasonably relied.

       468. The Manufacturer Defendants misrepresented and concealed the addictive nature of

prescription opioids and its lack of suitability for chronic pain, in addition to other

misrepresentations alleged and incorporated herein.

       469. All Defendants breached their duties to prevent diversion and report and halt

suspicious orders, and all Defendants misrepresented their compliance with their legal duties.

       470. Defendants’ breaches were intentional and/or unlawful, and Defendants’ conduct

was willful, wanton, malicious, reckless, oppressive, and/or fraudulent.

       471. The      causal   connection      between   Defendants’   breaches   of   duties     and

misrepresentations and the ensuing harm was entirely foreseeable.

       472. As described above in allegations expressly incorporated herein, Defendants’

breaches of duty and misrepresentations caused, bears a causal connection with, and/or

proximately resulted in the damages sought herein.

       473. Defendants were selling dangerous drugs statutorily categorized as posing a high

potential for abuse, severe dependence and unreasonable risk of death or personal injury.

Defendants knowingly traded in drugs that presented a high degree of danger if prescribed

incorrectly or diverted to other than medical, scientific, or industrial channels. However,

Defendants breached their duties to monitor for, report, and halt suspicious orders, breached their

duties to prevent diversion, and, further, misrepresented what their duties were and their

compliance with their legal duties.



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        474. The Defendants failed to disclose the material facts that inter alia they were not in

compliance with laws and regulations requiring that they maintain a system to prevent diversion,

protect against addiction and severe harm, and specifically monitor, investigate, report, and refuse

suspicious orders. But for these material factual omissions, Defendants would not have been able

to sell opioids.

        475. As alleged herein, each Manufacturer Defendant wrongfully represented that the

opioid prescription medications they manufactured, marketed, and sold had characteristics, uses,

or benefits that they do not have. The Manufacturer Defendants also wrongfully misrepresented

that the opioids were safe and effective when such representations were untrue, false, and

misleading.

        476. Because of the dangerously addictive nature of these drugs, which the Manufacturer

Defendants concealed and misrepresented, they lacked medical value, and in fact caused addiction,

physical harm and overdose deaths.

        477. The Manufacturer Defendants made deceptive representations about the use of

opioids to treat chronic non-cancer pain. Each Manufacturer Defendant also omitted or concealed

material facts and failed to correct prior misrepresentations and omissions about the risks and

benefits of opioids. Each Defendant’s omissions rendered even their seemingly truthful statements

about opioids deceptive, and the Plaintiff’s Community, its residents, and Plaintiff reasonably

relied upon said misrepresentations.

        478. Defendants’ unlawful and/or intentional actions create a rebuttable presumption of

negligence under State law.

        479. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary losses)

resulting from Defendants’ actions and omissions which has created a substantial and unreasonable



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risk of death and personal injury in Plaintiff’s Community. Plaintiff does not seek damages for

physical personal injury or any physical damage to property caused by Defendants’ actions.

        480. Plaintiff seeks all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including inter alia injunctive relief, restitution, disgorgement of

profits, compensatory and punitive damages, and all damages allowed by law to be paid by the

Defendants, attorney fees and costs, and pre- and post-judgment interest.

                                    COUNT V
                   NEGLIGENCE BASED ON STATUTORY VIOLATION
                              (Against All Defendants)

        481. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

        482. Maryland law recognizes that negligence can be based on violation of a statutory or

regulatory duty. Rivers v. Hagner Mgmt. Corp., 182 Md. App. 632, 653, 959 A.2d 110, 122 (2008)

(citing Flaccomio v. Eysink, 129 Md. 367, 380, 100 A. 510 (1916)).

        483. A claim for negligence can be based on a breach of a statutory duty if the plaintiff

can show the violation of a statute designed to protect a specific class of persons, plaintiff is within

the class protected, and the violation proximately caused the injury because the harm suffered is

of a kind which the statute sought to prevent. Rivers, 182 Md. App. at 654, 959 A.2d at 122-23

(citing Brooks v. Lewin Realty III, Inc., 378 Md. 70, 79, 835 A.2d 616, 621 (2003)).

        484. Maryland’s minimum requirements for controlled substance manufacture and

wholesale drug distribution comply with applicable state and federal laws and regulations. MD.

CODE ANN., CRIM. LAW §§ 5-303(a) & 303(b)(2); MD. CODE REGS. 10.19.03.01.

        485. Each Defendant was required under Maryland law to first be registered by the

Maryland Department of Health (MD. CODE ANN., CRIM. LAW §§ 5-301, 5-303; MD. CODE REGS.



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10.19.03.02). To receive and maintain these licenses, each of the Defendants assumed a duty to

comply with state and federal laws and regulations. MD. CODE ANN., CRIM. LAW §§ 5-303(a) &

505(b)(2); MD. CODE REGS. 10.19.03.01.

       486. The federal laws and requirements which Maryland incorporates into its own laws

require Defendants to act as gatekeepers guarding against the diversion of the highly addictive,

dangerous opioid drugs. See, e.g., MD. CODE REGS. 10.19.03.12.

       487. The federal mandates incorporated into Maryland law require that Defendants must

maintain “effective control against diversion of particular controlled substances into other than

legitimate medical, scientific, and industrial channels.” 21 U.S.C. §§ 823(a)(1), (b)(1). These

federal regulations impose a non-delegable duty upon both manufacturers and distributors to

“design and operate a system to disclose to the registrant suspicious orders of controlled

substances. The registrant [distributor or manufacturer] shall inform the Field Division Office of

the Administration in his area of suspicious orders when discovered by the registrant. Suspicious

orders include orders of unusual size, orders deviating substantially from a normal pattern, and

orders of unusual frequency.” 21 C.F.R. § 1301.74(b).

       488. In addition to reporting all suspicious orders, distributors must also stop shipment on

any order which is flagged as suspicious and only ship orders which were flagged as potentially

suspicious if, after conducting due diligence, the distributor can determine that the order is not

likely to be diverted into illegal channels. See Southwood Pharm., Inc., 72 Fed. Reg. 36,487,

36,501 (Drug Enf’t Admin. July 3, 2007); Masters Pharm., Inc. v. Drug Enf’t Admin., 861 F.3d

206 (D.C. Cir. 2017). Regardless, all flagged orders must be reported. Id.

       489. Each Defendant was further required to register with the DEA, pursuant to the federal

Controlled Substance Act. See 21 U.S.C. § 823(b), (e); 28 C.F.R. § 0.100. Each Defendant is a



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“registrant” as a wholesale distributor and/or manufacturer in the chain of distribution of Schedule

II controlled substances with a duty to comply with all security requirements imposed under that

statutory scheme.

       490. Defendants violated § 5-902 of the Maryland Controlled Dangerous Substances Act,

which provides that, “Unless authorized by the registrant’s registration, a registrant may not

manufacture, distribute or dispense a controlled dangerous substance to another registrant or other

authorized person.” MD. CODE. ANN., CRIM. LAW § 5-902(b).

       491. Plaintiff is within the class intended to be protected by the public safety statutes and

regulations concerning controlled substances.

       492. Defendants’ violations of these public safety laws are prima facie evidence of

negligence. Each Defendant had a duty under, inter alia, these laws to maintain effective controls

against diversion of prescription opioids and to guard against, prevent, and report suspicious orders

of opioids. Defendants’ violations of the law constitute negligence. Defendants breached

mandatory, non-delegable legal duties and did not act reasonably under the circumstances.

       493. As described above in allegations expressly incorporated herein, Defendants

breached their duties to maintain effective controls against diversion of dangerously addictive

opioids, including violating public safety statutes and regulations requiring that as wholesale drug

distributors, Defendants could only distribute these dangerous drugs under a closed system – a

system Defendants were responsible for guarding.

       494. As described above in allegations expressly incorporated herein, Defendants’ breach

of statutory and regulatory duties caused, bears a causal connection with, is and was a substantial

factor contributing to, and/or proximately resulted in, harm and damages to Plaintiff.




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       495. The injuries and damages sustained are those which the Maryland statutes and

regulations were designed to prevent.

       496. Defendants’ violations of the Maryland statutes and public safety regulations cited

herein were and are a substantial factor in the injuries and damages sustained.

       497. It was foreseeable that Defendants’ breach of statutory and regulatory duties

described herein would result in the damages sustained.

       498. As described above in language expressly incorporated herein, Defendants’ breach

of statutory and regulatory duties caused, bears a causal connection with, and proximately resulted

in, harm and damages sought by the Plaintiff.

       499. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary losses)

resulting from Defendants’ negligence which has created a substantial and unreasonable risk of

death and personal injury in Plaintiff’s Community. Plaintiff does not seek damages for physical

personal injury or any physical damage to property caused by Defendants’ actions.

       500. Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including inter alia injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by the Distributor

Defendants, attorney fees and costs, and pre- and post-judgment interest.

                                           COUNT VI
                                      CIVIL CONSPIRACY
                                     (Against All Defendants)

       501. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       502. As set forth herein, Defendants engaged in a civil conspiracy to create a public

nuisance in conjunction with their unlawful marketing, sale, distribution and/or diversion of

opioids into the State and Plaintiff’s Community.
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        503. As set forth herein, Defendants engaged in a civil conspiracy to commit fraud and

misrepresentation in conjunction with their unlawful distribution and diversion of opioids into the

State and Plaintiff’s Community.

        504. Distributor and Manufacturer Defendants unlawfully failed to act to prevent

diversion and failed to monitor for, report, and prevent suspicious orders of opioids.

        505. The Manufacturer Defendants further unlawfully marketed opioids in the State and

Plaintiff’s Community in furtherance of that conspiracy.

        506. Defendants acted tortiously in agreement and/or in concert with each other and/or in

pursuit of a common design, and/or Defendants knew each other’s conduct constituted a breach of

their legal duties and provided substantial assistance and/or encouragement in the conduct.

        507. Defendants conspiracy is a continuing conspiracy, and the overt acts performed in

compliance with the conspiracy’s objective(s) are ongoing and/or have occurred within the last

year.

        508. Defendants’ conspiracy and acts in furtherance thereof are alleged in greater detail

earlier in the complaint, including, without limitation, in Plaintiff’s federal racketeering

allegations. Such allegations are incorporated herein.

        509. Defendants acted with agreement and a common understanding or design to commit

unlawful acts and/or lawful acts unlawfully, as alleged herein, and acted purposely, without a

reasonable or lawful excuse, to create the injuries alleged herein.

        510. Defendants acted with malice, purposely, intentionally, unlawfully, and without a

reasonably or lawful excuse.




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       511. Defendants’ conspiracy, and Defendants’ actions and omissions in furtherance

thereof, proximately caused and/or substantially contributed to the direct and foreseeable losses

alleged herein.

       512. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary losses)

resulting from Defendants’ civil conspiracy. Plaintiff does not seek damages for physical personal

injury or any physical damage to property caused by Defendants’ actions.

       513. Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including inter alia injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by the Distributor

Defendants, attorney fees and costs, and pre- and post-judgment interest.

                                    COUNT VII
                   FRAUD AND FRAUDULENT MISREPRESENTATION
                              (Against All Defendants)

       514. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       515. Defendants violated their general duty not to actively deceive, and have made

knowingly false statements and have omitted and/or concealed information which made statements

by Defendants knowingly false. Defendants acted intentionally and/or unlawfully.

       516. Each Defendant owed a duty to the Plaintiff, and to the public in the Plaintiff’s

Community, because the injury was foreseeable, and in fact foreseen, by the Defendants.

       517. As alleged herein, Defendants made false statements regarding their compliance with

state and federal law regarding their duties to prevent diversion, their duties to monitor, report and

halt suspicious orders, and/or concealed their noncompliance with these requirements.




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       518. As alleged herein, the Manufacturer Defendants engaged in false representations and

concealments of material fact regarding the use of opioids to treat chronic non-cancer pain.

       519. As alleged herein, Defendants knowingly and/or intentionally made representations

that were false. Defendants had a duty to disclose material facts and concealed them. These false

representations and concealed facts were material to the conduct and actions at issue. Defendants

made these false representations and concealed facts with knowledge of the falsity of their

representations, and did so with the intent of misleading Plaintiff, Plaintiff’s community, the

public, and persons on whom Plaintiff relied.

       520. These false representations and concealments were reasonably calculated to deceive

Plaintiff, Plaintiff’s Community, and the physicians who prescribed opioids for persons in

Plaintiff’s Community, were made with the intent to deceive, and did in fact deceive these persons,

Plaintiff, and Plaintiff’s Community.

       521. Plaintiff, Plaintiff’s Community, and the physicians who prescribed opioids

reasonably relied on these false representations and concealments of material fact.

       522. Plaintiff justifiably relied on Defendants’ representations and/or concealments, both

directly and indirectly. Plaintiff’s injuries were proximately caused by this reliance.

       523. The injuries alleged by Plaintiff herein were sustained as a direct and proximate cause

of Defendants’ fraudulent conduct.

       524. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary losses)

resulting from Defendants’ fraudulent activity, including fraudulent misrepresentations and

fraudulent concealment which has created a substantial and unreasonable risk of death and

personal injury in Plaintiff’s Community. Plaintiff does not seek damages for physical personal

injury or any physical damage to property caused by Defendants’ actions.



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       525. Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including inter alia injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by the Distributor

Defendants, attorney fees and costs, and pre- and post-judgment interest.

                                          COUNT VIII
                                    CONSTRUCTIVE FRAUD
                                     (Against All Defendants)

       526. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       527. A defendant commits constructive fraud against a plaintiff where the defendant

“breach[es] a legal or equitable duty” to the plaintiff in a way that “tend[s] to deceive others, to

violate public or private confidence, or to injure public interests.” Canaj, Inc. v. Baker & Div.

Phase III, LLC, 391 Md. 374, 421-22, 893 A.2d 1067, 1095 (2006) (quoting Md. Envtl. Trust v.

Gaynor, 370 Md. 89, 97, 803 A.2d 512, 516–17 (2002)); see also Scheve v. McPherson, 44 Md.

App. 398, 406-07, 408 A.2d 1071, 1077 (1979).

       528. Defendants owed a legal or equitable duty to the Plaintiff and Plaintiff’s Community

to provide accurate information to Plaintiff and Plaintiff’s Community. See SpinCycle, Inc. v.

Kalender, 186 F. Supp. 2d 585, 590–91 (D. Md. 2002) (citing Scheve, 408 A.2d at 1076).

Defendants gained the confidence of Plaintiff and Plaintiff’s Community, and purported to act and

inform Plaintiff and Plaintiff’s Community with the interests of people in Plaintiff’s Community

in mind. Thompson v. UBS Fin. Servs., Inc., 443 Md. 47, 70, 115 A.3d 125, 139 (2015) (citing

Buxton v. Buxton, 363 Md. 634, 654, 770 A.2d 152, 164 (2001)).

       529. Plaintiff and Plaintiff’s Community put their trust in Defendants to provide accurate

information and were influenced by the information provided.



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         530. Defendants breached their duty to provide accurate information by making false

statements and omitting and/or concealing information.

         531. As alleged herein, Defendants made false statements regarding their compliance with

state and federal law regarding their duties to prevent diversion, their duties to monitor, report and

halt suspicious orders, and/or concealed their noncompliance with these requirements.

         532. As alleged herein, the Manufacturer Defendants engaged in false representations and

concealments of material fact regarding the use of opioids to treat chronic non-cancer pain.

         533. As alleged herein, Defendants had a duty to disclose material facts and concealed

them. These false representations and concealed facts were material to the conduct and actions at

issue.

         534. These false representations and concealments had a tendency to deceive Plaintiff,

Plaintiff’s Community, and the physicians who prescribed opioids for persons in Plaintiff’s

Community, and did in fact deceive these persons, Plaintiff, and Plaintiff’s Community.

         535. These false representations and concealments injured the public interest.

         536. Plaintiff, Plaintiff’s Community, and the physicians who prescribed were influenced

by these false representations and concealments of material fact.

         537. The failure of Defendants to provide accurate information about suspicious orders

and the dangers of opioids amounts to constructive fraud under Maryland law.

         538. The injuries alleged by Plaintiff herein were sustained as a direct and proximate cause

of Defendants’ constructive fraud.

         539. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary losses)

resulting from Defendants’ constructive fraud which has created a substantial and unreasonable




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risk of death and personal injury in Plaintiff’s Community. Plaintiff does not seek damages for

physical personal injury or any physical damage to property caused by Defendants’ actions.

       540. Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including inter alia injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by the Defendants,

attorney fees and costs, and pre- and post-judgment interest.

                                     PUNITIVE DAMAGES

       541. Plaintiff re-alleges all paragraphs of this Complaint as if set forth fully herein.

       542. By engaging in the above-described intentional and/or unlawful acts or practices,

Defendants acted with actual malice, wantonly, and oppressively. Defendants acted with conscious

disregard to the rights of others and/or in a reckless, wanton, willful, or gross manner. Defendants

acted with a prolonged indifference to the adverse consequences of their actions and/or omissions.

Defendants acted with a conscious disregard for the rights and safety of others in a manner that

had a great probability of causing substantial harm. Defendants acted toward the Plaintiff with

fraud, oppression, and/or malice.

       543. Defendants were selling and/or manufacturing dangerous drugs statutorily

categorized as posing a high potential for abuse and severe dependence. Thus, Defendants

knowingly traded in drugs that presented a high degree of danger if prescribed incorrectly or

diverted to other than legitimate medical, scientific, or industrial channels. Because of the severe

level of danger posed by, and indeed visited upon the State and Plaintiff’s Community by, these

dangerous drugs, Defendants owed a high duty of care to ensure that these drugs were only used

for proper medical purposes. Defendants chose profit over prudence, and the safety of the

community, and an award of punitive damages is appropriate, as punishment and a deterrence.



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       544. By engaging in the above-described wrongful conduct, Defendants also engaged in

willful misconduct and exhibited an entire want of care that would raise the presumption of a

conscious indifference to consequences.

                                            RELIEF

       WHEREFORE, the Plaintiff respectfully prays that this Court grant the following relief:

       545. Entering Judgment in favor of the Plaintiff in a final order against each of the

Defendants;

       546. Enjoining the Defendants and their employees, officers, directors, agents, successors,

assignees, merged or acquired predecessors, parent or controlling entities, subsidiaries, and all

other persons acting in concert or participation with it, from engaging in unfair or deceptive

practices in violation of law and ordering temporary, preliminary or permanent injunction;

       547. Order that Defendants compensate the Plaintiff for past and future costs to abate the

ongoing public nuisance caused by the opioid epidemic;

       548. Order Defendants to fund an “abatement fund” for the purposes of abating the opioid

nuisance;

       549. Awarding actual damages, treble damages, injunctive and equitable relief, forfeiture

as deemed proper by the Court, and attorney fees and all costs and expenses of suit pursuant to

Plaintiff’s racketeering claims;

       550. Awarding the Plaintiff the damages caused by the opioid epidemic, including (A)

costs for providing medical care, additional therapeutic and prescription drug purchases, and other

treatments for patients suffering from opioid-related addiction or disease, including overdoses and

deaths; (B) costs for providing treatment, counseling, and rehabilitation services; (C) costs for

providing treatment of infants born with opioid-related medical conditions; (D) costs for providing



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care for children whose parents suffer from opioid-related disability or incapacitation; and (E)

costs associated with law enforcement and public safety relating to the opioid epidemic.

       551. Awarding judgment against the Defendants requiring Defendants to pay punitive

damages;

       552. Granting the Plaintiff

           1. The cost of investigation, reasonable attorneys’ fees, and all costs and expenses;

           2. Pre-judgment and post-judgment interest; and,

           3. All other relief as provided by law and/or as the Court deems appropriate and just.


 Dated: May 11, 2018                            Respectfully Submitted,

                                                CITY OF FROSTBURG,
                                                Plaintiff

                                                           /s/
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